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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                           PALM BEACH DIVISIION

   CARL CLARKE,
         Plaintiff,
   v.                                             Case No. 24-CV-81440-DAMIAN
   EQUIFAX INFORMATION SERVICES,
   LLC, EXPERIAN INFORMATION
   SOLUTIONS, INC., TRANS UNION LLC
   and CITIBANK, N.A.,
       Defendants.
   _____________________/

                      DECLARATION OF ANDREW GRAYOT

   I, Andrew Grayot, hereby declare as follows:

         1.     I am an employee of Citibank, N.A. (“Citibank”), a national bank

   located in Sioux Falls, South Dakota. Citibank issues credit card accounts to

   persons throughout the country, including the credit card at issue in this action.

         2.     I have worked with Citibank (or its affiliates) in different capacities for

   approximately 22 years. In connection with my employment, I have personal

   knowledge of the general business practices of Citibank with respect to its credit

   card accounts. My responsibilities include the preparation of declarations in

   connection with litigation involving Citibank, and I am authorized to provide this

   Declaration for Citibank. I have access to the business records relating to the credit

   card accounts issued by Citibank including, in particular, the records of

   cardmember accounts and the applicable card agreements.




                                       Exhibit "A"
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         3.    The exhibits to this declaration are all true and correct business

   records created and maintained by Citibank, or its affiliates, in the course of

   regularly conducted business activity, and as part of the regular practice of

   Citibank to create and maintain such records, and also were made at the time of

   the act, transaction, occurrence or event, or within a reasonable time thereafter.

   The statements set forth in this declaration are true and correct to the best of my

   knowledge, information, and belief.      Except where based upon information

   provided by persons working under my direction and supervision, the statements

   contained herein are based on my personal knowledge or review of Citibank’s

   records, including records pertaining to the Home Depot branded credit card

   accounts issued to plaintiff Carl Clarke (“Plaintiff”). If called as a witness, I am

   competent to testify to the statements contained herein. The exhibits have been

   redacted to exclude personal information.

         4.    I understand that Plaintiff has filed a lawsuit regarding Citibank’s

   purported conduct in connection with the reporting of one of his Home Depot

   branded credit card accounts. Citibank’s records reflect two Home Depot branded

   credit card accounts have been issued to Plaintiff. The first account, ending in

   7647, was issued by Citibank to Plaintiff on or about August 12, 2022 (“7647

   Account”). The second account, ending in 1307, was issued by Citibank to Plaintiff

   on or about August 14, 2023 (“1307 Account” or together with the 7647 Account,

   the “Accounts”). Based upon my review of Citibank’s records pertaining to the
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   Accounts and as discussed below, I have determined that both of the Accounts are

   subject to an arbitration agreement.

         5.    The Accounts are subject to written terms and conditions that are

   reflected in a Card Agreement, as amended from time to time.

         6.    Attached as Exhibit 1 is a copy of the Card Agreement provided to the

   Plaintiff at the time that he applied for the 7647 Account. Attached as Exhibit 2 is

   a copy of the Card Agreement provided to the Plaintiff at the time that he applied

   for the 1307 Account. The Card Agreements are substantially identical and contain

   the same arbitration provision.

         7.    I have reviewed Citibank’s records for the Accounts and confirmed

   that each of the Accounts were opened at a point of sale, in this case, a Home Depot

   store. Pursuant to Citibank’s regular business practices, the Card Agreements

   would have been provided to Plaintiff at the point of sale prior to his applications

   being processed.

         8.    As discussed and instructed in the Card Agreements, Plaintiff had the

   right to reject the arbitration provision contained in the Card Agreements as

   follows:

         Rules for rejecting this arbitration provision

         You may reject this arbitration provision by sending a written
         rejection notice to us at: P.O. Box 790340, St. Louis, MO 63179. Your
         rejection notice must be mailed within 45 days of account opening.
         Your rejection notice must state that you reject the arbitration
         provision and include your name, address, account number and
         personal signature. No one else may sign the rejection notice. Your
         rejection notice will not apply to the arbitration provision(s)
         governing any other account(s) that you have or had with us.
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         Rejection of this arbitration provision won’t affect your other rights or
         responsibilities under this Agreement, including use of the account.

         9.     Citibank’s records confirm that Plaintiff was provided with the Card

   Agreements for each of the Accounts but did not choose to reject the arbitration

   agreement for either of the Accounts.       I can determine this because it was

   Citibank’s regular practice to include a note in the computerized account records

   of those card members who chose to opt out. The records for the Accounts do not

   reflect any such note, and there is no indication in the records for either of the

   Accounts that Plaintiff ever notified Citibank that he was rejecting the arbitration

   provision.

         10.    Attached hereto as Exhibit 3 is a copy of the transaction detail

   reflected on the periodic billing statement for the 7647 Account for the period

   ending August 14, 2022. The transaction detail reflects charges Plaintiff made to

   the 7647 Account after receipt of the Card Agreement and acceptance of the

   arbitration provision.

         11.    Attached hereto as Exhibit 4 is a copy of the transaction detail

   reflected on the periodic billing statement for the 1307 Account for the period

   ending September 4, 2023. The transaction detail reflects charges Plaintiff made

   to the Account after receipt of the Card Agreement and acceptance of the

   arbitration provision.
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                           Exhibit “1”
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                                            Consumer Credit
                                            Brochure
                                                                              Job Number:
                                                                              HD220273

                                                                              Description:
                                                                              Consumer Applications –
                                                                              Bilingual Application




                           FINANCING
                                                                              SPECIFICATIONS:
                                                                              Flat size:
                                                                              7.75” x 8.375”
                                                                              Colors (this page):
                                                                                C M Y K




                           AVAILABLE
                                                                                 Pantone 165



                                                                              Tweyen Inc.




                           EVERY DAY
                                                                              320 W. Northwest Highway
                                                                              Arlington Heights, IL 60004
                                                                              (847) 749-0143




                           Get the card today!

                                                          72100 0622




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            Financing                                               Get the card
            available for your                                      and receive:
            everyday projects                                                       UP TO 24-MONTH FINANCING*
                                                                                    DURING SPECIAL PROMOTIONS
            and unplanned                                                           The more you spend, the longer
                                                                                    you may have to pay us back.

            purchases                                                              1-YEAR HASSLE-FREE RETURNS
                                                                                   credited back to your Home Depot card.†
                                                                                   That’s 4X longer for returns, just for being
                                                                                   a cardmember.
                     AVAILABLE EVERY DAY
                     No interest if paid in full within 6 months*                  SHOP IN-STORE
                     on purchases of $299 or more. Interest                        WITHOUT YOUR CARD
                     will be charged to your account from the                      With a valid ID, we can look up your
                     purchase date if the purchase balance                         account information at checkout.
                     is not paid in full within 6 months.
                                                                                    MANAGE YOUR
                                                                                    ACCOUNT YOUR WAY
                                                                                    View, manage, and pay your
                                                                                    account online.

                                                                                    FRAUD PROTECTION
                                                                                    GUARANTEE
                                                                                    $0 liability on unauthorized charges.

                                                                                    SAVE UP TO $100**
                                                                                    on your qualifying purchase when you
                                                                                    open a new credit card account with
                                                                                    The Home Depot. Limited time offer.

                                                                    *See Promotion Terms inside. †Subject to The Home Depot Return Policy exceptions.
                                                                    **Offer is for new accounts opened in store or online, is subject to credit approval
                                                                    and valid for a limited time. This offer is redeemable for either a $25 discount on a single-
                                                                    receipt purchase of $25 up to $299, a $50 discount on a single-receipt purchase of $300
                                                                    up to $999 or a $100 discount on a single-receipt purchase of $1,000 or more within 30
                                                                    days of your account open date at The Home Depot retail stores or homedepot.com when
                                                                    made exclusively with your The Home Depot Consumer Credit Card, The Home Depot
                                                                    Home Improver Card, the Pro Xtra Credit Card or The Home Depot Commercial Account.
                                                                    Valid in the U.S., U.S.V.I., Puerto Rico and Guam. Offer does not apply to prior purchases,
                                                                    The Home Depot Gift Cards or Certi!cates, third party gift cards, installation products or
                                                                    services purchased in home, Tool Rental or to Weber®, Bona®, Simplehuman®, Dacor®,
                                                                    Viking®, Fisher & Paykel®, Sharp Insight™, Delonghi®, Buckhaven, Lynx®, Alfresco™, OCI,
                                                                    Marvel®, Bertazzoni, Aga, Vent-A-Hood®, Samsung Chef Collection, Bosch Benchmark®
                                                                    Series, Liebherr, Zephyr, Miele, Signature Kitchen Suite, Jenn-Air®, Thermador®, JELD-
                                                                    WEN® Door Systems, Monogram products and trade styles. May not be combined with
                                                                    other discounts; ask an Associate for details.



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        EASY WAYS                                           THE HOME DEPOT
        TO APPLY                                         CONSUMER CREDIT CARD
                                                             IS WELCOME AT:
                         IN STORE
                         Ask an Associate for details.


                         ONLINE
                         homedepot.com/credit


                         MOBILE
                         homedepot.com/credit




                                                            homedecorators.com




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                                   THE HOME DEPOT CONSUMER CREDIT CARD DISCLOSURES                                                                                           • Please see the Card Agreement for important information.
                                                                                                                                                                             • Notice to Ohio Residents: The Ohio laws against discrimination
    Interest Rates and Interest Charges                                                                                                                                        require that all creditors make credit equally available to all creditworthy
    Annual Percentage Rate                                                                                                                                                     customers, and that credit reporting agencies maintain separate
    (APR) for Purchases
                                                 17.99%, 21.99%, 25.99%, or 26.99%,                                                                                            credit histories on each individual upon request. The Ohio Civil Rights
                                                 based on your creditworthiness.                                                                                               Commission administers compliance with this law.
                                                 See the Temporary Charge Pass for the purchase APR for your account.                                                        • Notice to Wisconsin Residents: No marital property agreement,
                                                                                                                                                                               unilateral statement, or court decree adversely affects our rights, unless
    How to Avoid Paying                          Your due date is at least 25 days after the close of each billing cycle.                                                      you give us a copy of such agreement, statement or court order before
    Interest on Purchases                        We will not charge you any interest on purchases if you pay your entire                                                       we grant you credit, or we have actual knowledge of its terms before your
                                                 balance by the due date each month.                                                                                           account is opened.

    Minimum Interest Charge                      If you are charged interest, the charge will be no less than $2.00.                                                                                    PROMOTION TERMS
                                                                                                                                                                             NO INTEREST IF PAID IN FULL WITHIN PROMOTIONAL PERIOD* on
    For Credit Card Tips from                    To learn more about factors to consider when applying for or using                                                          qualifying purchases. Interest will be charged to your account from the purchase
    the Consumer Financial                       a credit card, visit the website of the Consumer Financial Protection                                                       date if the purchase balance is not paid in full within the promotional period.
    Protection Bureau                            Bureau at http://www.consumer! nance.gov/learnmore
                                                                                                                                                                              *With credit approval for qualifying purchases made on The Home Depot
    Fees                                                                                                                                                                      Consumer Credit Card. APR: 17.99%- 26.99%. Minimum interest charge:
    Annual Fee                                   None                                                                                                                         $2. See card agreement for details including APR applicable to you. Offer
                                                                                                                                                                              valid for consumer accounts in good standing; 6 months everyday credit offer
    Penalty Fees                                                                                                                                                              is subject to change without notice; see store for details.
     • Late Payment                              Up to $40                                                                                                                   © 2022 Citibank, N.A.
  How We Will Calculate Your Balance: We use a method called “daily balance (including current
  transactions).” See the Card Agreement for more details.                                                                                                                     DEFERRED INTEREST PROMOTIONAL INFORMATION
  Billing Rights: Information on your rights to dispute transactions and how to exercise those rights is                                                                     From time to time as a The Home Depot Consumer Credit Cardholder, you may
  provided in the Card Agreement.                                                                                                                                            be offered special limited time only deferred interest promotional offers.
                                                                                                                                                                             Deferred interest promotional offers include the following types of offers:
  For more information call Citibank, N.A. at 1-800-677-0232 (TTY: Use 711 or other Relay Service). New
                                                                                                                                                                             • No Interest if paid in full within 6 months
  York residents may contact the New York State Department of Financial Services by telephone, 1-800-
                                                                                                                                                                             • No Interest if paid in full within 12 months
  342-3736 (TTY: Use 711 or other Relay Service), or visit its website, www.dfs.ny.gov, for free information
  on comparative credit card rates, fees and grace periods.                                                                                                                  • No Interest if paid in full within 18 months
                                                                                                                                                                             • No Interest if paid in full within 24 months
  Protections for Active Duty Service Members and Their Dependents: Please see the section of the Card                                                                       If the balance is not paid in full by the end of the promotional period, interest
  Agreement entitled “Protections for Active Duty Service Members and Their Dependents.”                                                                                     charges will be imposed from the purchase date at the purchase rate listed in The
                                                                                                                                                                             Home Depot Consumer Credit Card Disclosures you will be provided if you are
                                                                                                                                                                             approved for an account.
   ALL CREDIT IS GRANTED AND ACCOUNTS ARE OWNED BY CITIBANK, N.A. THIS OFFER IS SUBJECT
    TO FINAL REVIEW AND IN SOME INSTANCES CITIBANK MAY NOT OPEN AN ACCOUNT FOR YOU.                                                                                          These offers are not available all the time and may be limited to speci!c
                                                                                                                                                                             merchandise and/or have minimum payment and purchase requirements as
                                                            TERMS AND CONDITIONS OF OFFER                                                                                    disclosed in the offer.
  • This offer is only valid for new accounts. You must be at least 18 years of age (21 years of age in Puerto Rico). If you are married, you may apply for a separate
                                                                                                                                                                             Your card agreement, the terms of the offer and applicable law govern these
    account. Citibank, N.A. (“we” or “us”) is the issuer of your The Home Depot Consumer Credit Card account. Citibank, N.A. is located in Sioux Falls, SD. Credit
                                                                                                                                                                             transactions including increasing APRs and fees and termination of the
    card offers are intended for residents of, and this is not an offer for the credit card to individuals outside of, the United States and its Territories.
                                                                                                                                                                             promotional period.
  • To help the government !ght the funding of terrorism and money laundering activities, federal law requires all !nancial institutions to obtain, verify, and record
    information that identi!es each person who opens an account. This means that we will ask for your name, address, date of birth, and other information that               © 2022 Citibank, N.A.
    will allow us to identify you when you open an account. We may also ask to see your driver’s license or other identifying documents; and obtain identi!cation                                        Card Agreement
    information about you or any authorized user you add to your account.                                                                                                    This Card Agreement is your contract with us. It governs the use of your
  • We may gather information about you, including from your employer, your bank, credit bureaus, and others, to verify your identity and determine your                     card and account. The Home Depot Consumer Credit Card Disclosures and
    eligibility for credit, renewal of credit, and future extensions of credit. If you ask us, we will tell you whether or not we requested a credit bureau report and the   Temporary Charge Pass (“printout”) are part of this Agreement. Please read
    names and addresses of any credit bureaus that provided us with such reports.
                                                                                                                                                                             these documents carefully. Keep these documents for your records.
  • To receive a The Home Depot Consumer Credit Card, you must meet our applicable criteria bearing on creditworthiness. Your credit limit will be determined
    by the income you provided and a review of your debt, including the debt listed on your credit report. You will be informed of the amount of your credit limit                                        De!nitions
    when you receive your card. Some credit limits may be as low as $300.                                                                                                    account means the relationship established between you and us by this
  • You authorize us to share with The Home Depot and its af!liates experiential and transactional information regarding your activity with us.                              Agreement.



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      APR means an annual percentage rate.                                                                                          APRs
      authorized user means any person you allow to use your account.                             Regular Purchase APR. See printout.
      card means one or more cards or other access devices that we give you to get                Effect of APR Increases. If an APR increases, interest charges increase. Your
      credit under this Agreement. This includes account numbers.                                 minimum payment may increase as well.
      we, us, and our mean Citibank, N.A., the issuer of your account. Citibank, N.A.                                               Promotions
      is located in Sioux Falls, SD.                                                              We may offer promotional terms for all or a part of any balances. Any promotional
      you, your, and yours mean the person who applied to open the account. It also               terms may apply for a limited period of time. They will be governed by the terms
      means any other person responsible for complying with this Agreement.                       of the promotional offer and this Agreement. Your promotional terms will end
                                          Your Account                                            when the promotional period expires or, to the extent permitted by law, if you
      You agree to use your account in accordance with this Agreement. You must                   make a late payment. The promotional offer will tell you if we require a separate
      pay us for all amounts due on your account. This Agreement is binding on you                minimum payment on the promotional balance.
      unless you close your account within 30 days after receiving the card and you               If a promotional offer is a deferred interest offer, no interest charges will be
      have not used or authorized use of the card. Your account must only be used                 imposed on the deferred interest balance if you pay the balance in full by
      for lawful transactions.                                                                    the end of the promotional period for that deferred interest balance. We will
      Authorized Users. You may request cards for authorized users. You must pay                  impose interest charges on the deferred interest balance at the APR for regular
      us for any charges they make even if you did not intend to be responsible for               purchases from the date of purchase if you do not pay the balance in full by the
      those charges. You agree that they may receive information about the account,               end of the promotional period.
      subject to any limitations we impose. You must tell us if you no longer want them                                  Interest Charges Based on APRs
      to use your account.                                                                        Interest Charges. We impose interest charges when we apply APRs to your
      Joint Accounts. If this is a joint account, each of you is responsible individually         account balances. We do this every day by using a daily periodic rate. To get a
      and together for all amounts owed. Each of you is responsible even if the account           daily periodic rate, we divide the APR by 365.
      is used by only one of you. You will continue to be liable for the entire balance of        When Interest Charges Begin. We begin to impose interest charges the !rst day
      the account, even if your co-applicant is ordered by a court to pay us. You will            we add a charge to a daily balance. The charges we add to a daily balance include
      remain liable to us if your co-applicant fails to pay as ordered by the court. Your         purchases, interest charges and fees. We continue to impose interest charges until
      account status will continue to be reported to the credit bureau under each of              we credit your account with full payment of the total amount you owe us.
      your names. The delivery of notices or billing statements to either of you serves           Grace Period on Purchases. You can avoid interest charges on purchases.
      as delivery to each of you. We may rely on instructions given by either of you. We          This is called a grace period on purchases. The grace period is at least 25 days.
      are not liable to either of you for relying upon such instructions.                         To get a grace period on purchases, you must pay the New Balance by the
      Credit Limit. Your initial credit limit is on the printout. After that, your credit limit   payment due date every billing cycle. If you do not, you will not get a grace period
      appears on your billing statement. The full amount of your credit limit is available        until you pay the New Balance for two billing cycles in a row.
      to use where the card is honored. We may reduce or increase your credit limit at            If you have a balance subject to a deferred interest promotion and that promotion
      any time for any reason as permitted by law. We will notify you of any change,              does not expire before the payment due date, that balance (an “excluded
      but the change may take effect before you receive the notice. You should always             balance”) is excluded from the amount you must pay in full to get a grace period
      keep your total balance below the credit limit. However, if the total balance goes          on a purchase balance other than an excluded balance. However, you must still
      over your credit limit you still must pay us. If your account has a credit balance,         pay any separately required payment on the excluded promotional balance. In
      we may reduce the credit balance by any new charges on your account. You may                billing cycles in which payments are allocated to deferred interest balances !rst,
      not maintain a credit balance in excess of your credit limit.                               the deferred interest balance will be reduced before any other balance on the
      Billing Statement. Your billing statement shows the New Balance. This is the                account. However, you will continue to get a grace period on purchases, other
      total amount you owe us on the Statement Closing Date. To determine the New                 than an excluded balance so long as you pay the New Balance less any excluded
      Balance, we begin with the total balance at the start of the billing cycle. We add          balance, plus any separately required payment on an excluded balance, in full by
      any purchases. We subtract any credits or payments. We then add any interest                the payment due date each billing cycle.
      charges or fees and make other adjustments.                                                 In addition, certain promotional offers may take away the grace period on
      Your billing statement also shows your transactions; the Minimum Payment Due                purchases. Other promotional offers not described above may also allow you
      and payment due date; your credit limit; and your interest charges and fees. On             to have a grace period on purchases without having to pay all or a portion of
      the billing statement, a regular purchase balance will appear under the heading             the promotional balance by the payment due date. If either is the case, the
      “regular revolve credit plan.”                                                              promotional offer will describe what happens.
      We deliver a billing statement to only one address. You must notify Customer                Calculation of Interest Charges – Daily Balance Method (Including
      Service of a change in address. We may stop sending you statements if we                    Current Transactions). We calculate interest charges each billing cycle. To
      deem your account uncollectible or start collection proceedings; but we may                 do this:
      continue to add interest and fees as permitted by law.



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        • We start with each of your different balances. These balances include, for               prior billing cycles on a deferred interest balance that ended during the
            example, regular purchases and different promotional balances. (When                   billing cycle covered by the statement.
            we calculate interest charges, we treat each deferred interest transaction       The Calculated New Balance equals the New Balance on the billing statement
            separately even if it has the same terms as another deferred interest            less balances subject to the Promotion Calculation and less any balances
            transaction.)                                                                    subject to either of two types of promotional terms. The !rst type are terms that
        • We calculate the daily balance for each of your different balances. To get a       do not require a minimum payment. The second type are terms that require an
            daily balance, we start with the balance as of the end of the previous day.      additional amount as part of the Minimum Payment Due.
            We add any interest charge on the previous day’s balance. (This results          If you have a deferred interest transaction balance subject to the Promotion
            in daily compounding of interest charges.) We add any new charges. We            Calculation, the Promotion Calculation will equal 1% of this balance during
            then subtract any new credits or payments.                                       the promotion period. (The result is rounded up to the nearest cent.) After the
        • We multiply each daily balance by the daily periodic rate that applies to it.      promotion period, any such remaining promotional balance will be included in
            We do this for each day in the billing cycle. This gives us the daily interest   the Calculated New Balance. The Promotion Calculation will apply if, based on
            charges for each of your different balances.                                     the amount of the transaction as shown on the !rst statement that displays the
        • We add up all the daily interest charges. The sum is the total interest            transaction and the dollar amount in the Minimum Payment Due calculation
            charge for the billing cycle.                                                    in effect at the time of the transaction, we determined that paying such dollar
        • You authorize us to round interest charges to the nearest cent.                    amount each billing cycle would result in repayment of the promotional balance
                                                                                             before the end of the promotion period.
      When we calculate daily balances, we add a purchase as of the Transaction
      Date. The Transaction Date is shown on the billing statement. We subtract a            The Minimum Payment Due may re!ect adjustments to the New Balance. The
      payment or credit as of the day it is credited to the account and then make other      Minimum Payment Due is never more than the Calculated New Balance plus two
      adjustments. We treat a credit balance as a balance of zero.                           amounts. The !rst is any amount required by a promotional offer. The second is
                                                                                             any amount required by the Promotion Calculation.
      Minimum Interest Charge. If we charge you interest, the charge will be no
      less than $2. We add the charge to the regular purchase balance or allocate it         Application of Payments. Payments in excess of the Minimum Payment Due
      among one or more of the balances that accrues interest.                               are applied in accordance with law. This means that we will generally apply
                                                                                             payments in excess of the Minimum Payment Due to higher APR balances !rst.
      Balance Subject to Interest Rate. Your statement shows a Balance Subject
                                                                                             However, excess payments received before a deferred interest promotion expires
      to Interest Rate. It shows this for each different balance. The Balance Subject
                                                                                             are applied to the deferred interest promotional balance !rst in the last two billing
      to Interest Rate is the average of the daily balances during the billing cycle. A
                                                                                             cycles of the promotional period. And, if the expiration date of a deferred interest
      billing cycle begins on the day after the Statement Closing Date of the previous
                                                                                             promotion is before the payment due date in the billing cycle in which the deferred
      billing cycle. It includes the Statement Closing Date of the current billing cycle.
                                                                                             interest promotion expires, excess payments received before the deferred interest
                                           Fees                                              promotion expires are applied to the deferred interest promotional balance !rst in
      Late Fee. We may add a late fee for each billing cycle in which you have a past        the last three billing cycles of the promotional period. Payments equal to or less
      due payment. For late fee purposes, you have a past due payment any time you           than the Minimum Payment Due and credits are applied at our discretion and
      fail to pay the Minimum Payment Due by the payment due date. The fee will              you authorize us to apply payments and credits in a way that is most favorable or
      be $29; or $40 for any additional past due payment during the next six billing         convenient for us. This may include applying such payments and credits to lower
      cycles after a past due payment. However, the fee will not exceed the amount           APR balances !rst.
      permitted by law. We add this fee to the regular purchase balance.
                                                                                             Payment Instructions. We credit your payments in accordance with our
                                         Payments                                            payment instructions on the billing statement. You must pay us in U.S. dollars.
      Making Payments. You may pay all or part of your account balance at any                To do so, you must use a check, similar instrument, or electronic debit that
      time. However, you must pay at least the Minimum Payment Due by the payment            is drawn on and honored by a bank in the U.S. Do not send cash. We can
      due date each billing cycle. The sooner you pay the New Balance, the less you          accept late or partial payments, or payments that re!ect “paid in full” or other
      will pay in interest charges.                                                          restrictive endorsements, without losing our rights. We also reserve the right to
      We calculate the Minimum Payment Due as follows. We begin with any past due            accept payments made in foreign currency and instruments drawn on funds on
      amount. We add any amount speci!ed in a promotional offer. We add any amount           deposit outside the U.S. If we do, we select the currency conversion rate. We
      required by the Promotion Calculation. We also add the largest of the following:       will then credit your account in U.S. dollars after deducting any costs incurred in
        • The Calculated New Balance if it is less than $29;                                 processing your payment. Or we may bill you separately for these costs.
        • $29 if the Calculated New Balance is at least $29; or                              Optional Pay by Phone Service. You may use our optional Pay by Phone Service
        • 1% of the Calculated New Balance plus the amount of your billed interest           to make your payment by phone. To do so, call us to request the service. You agree
           charges on that balance, any minimum interest charge allocated to that            to pay us the Pay by Phone fee shown in the Pay by Phone section on the back of
           balance, and any applicable late fee. (The result is rounded up to the            the billing statement when a representative of ours helps expedite your payment.
           nearest dollar.) However, we subtract interest charges that accrued during        Our representatives are trained to tell you this amount when you use this service.




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                                      Credit Reporting                                        prior notice to you. We may also reissue a different card at any time. You must
      We may report information about your account to credit bureaus. Late payments,          return any card to us upon request.
      missed payments, or other defaults on your account may be re!ected in your                Protections for Active Duty Service Members and Their Dependents
      credit report. We may report account information in your name and the names of          Protections. Federal law provides important protections to members of the
      authorized users. We may also obtain follow-up credit reports on you.                   Armed Forces and their dependents relating to extensions of consumer credit.
      If you think we reported incorrect information to a credit bureau, write us at          In general, the cost of consumer credit to a member of the Armed Forces and his
      the Customer Service address on the billing statement. We will investigate the          or her dependent may not exceed an annual percentage rate of 36 percent. This
      matter. We will then tell you if we agree or disagree with you. If we agree with        rate must include, as applicable to the credit transaction or account: The costs
      you, we will contact each credit bureau to which we reported and request a              associated with credit insurance premiums; fees for ancillary products sold in
      correction. If we disagree with you, we will tell you that.                             connection with the credit transaction; any application fee charged (other than
                                  Information Sharing                                         certain application fees for speci!ed credit transactions or accounts); and any
      You authorize us to share information about you as permitted by law. This               participation fee charged (other than certain participation fees for a credit card
      includes information we get from you and others. It also includes information           account). You are entitled to these protections if you are a Covered Borrower,
      about your transactions with us. Please see our Privacy Notice for details about        as de!ned below.
      our information sharing practices.                                                      Covered Borrower. You are a Covered Borrower if, in connection with the
                             Changes to this Agreement                                        opening of your account, we determine you are an active duty member of the
      We may change the rates, fees, and terms of this Agreement from time                    Armed Forces (including active Guard and Reserve duty) or a dependent of an
      to time as permitted by law. The changes may add, replace, or remove                    active duty member. You will cease to be a Covered Borrower if we determine
      provisions of this Agreement. We will give you advance written notice of                you are no longer an active duty member of the Armed Forces (including active
      the changes and a right to opt out to the extent required by law.                       Guard and Reserve duty) or a dependent of an active duty member.
                                                                                              Oral Disclosures. If you are a Covered Borrower, you may obtain information
                                           Default
                                                                                              related to your account, including information about these protections and your
      You default under this Agreement if you fail to pay the Minimum Payment Due by
                                                                                              payment obligation, by calling 1-877-625-6379 (TTY: Use 711 or other Relay
      its due date; go over your credit limit; pay by a check or similar instrument that
                                                                                              Service).
      is not honored or that we must return because it cannot be processed; pay by
                                                                                              Arbitration. The section of the Card Agreement entitled “ARBITRATION”
      electronic debit that is returned unpaid; !le for bankruptcy; or fail to comply with
                                                                                              does not apply if you are a Covered Borrower at the time your account
      the terms of this Agreement. If you default, we may close your account and, to
                                                                                              is opened.
      the extent permitted by law, demand immediate payment of the total balance.
                                                                                                                       ARBITRATION
            Refusal of the Card, Closed Accounts, and Related Provisions
                                                                                              PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY.
      Refusal of the Card. We do not guarantee approval of transactions. We are
      not liable for transactions that are not approved. That is true even if you have        THIS SECTION PROVIDES THAT DISPUTES MAY BE RESOLVED BY
      enough credit. We may limit the number of transactions approved in one day. If          BINDING ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO
      we detect unusual or suspicious activity, we may suspend your credit privileges.        TO COURT, HAVE A JURY TRIAL OR INITIATE OR PARTICIPATE IN A
                                                                                              CLASS ACTION. IN ARBITRATION, DISPUTES ARE RESOLVED BY AN
      Preauthorized Charges. We may suspend any automatic or other
      preauthorized card charges you arrange with a third party. We may do this if you        ARBITRATOR, NOT A JUDGE OR JURY. ARBITRATION PROCEDURES
      default; if the card is lost or stolen; or we change your account for any reason.       ARE SIMPLER AND MORE LIMITED THAN IN COURT. THIS ARBITRATION
      If we do this, you are responsible for paying the third party directly if you wish to   PROVISION IS GOVERNED BY THE FEDERAL ARBITRATION ACT (FAA),
                                                                                              AND SHALL BE INTERPRETED IN THE BROADEST WAY THE LAW WILL
      do so. You are also responsible for reinstating the preauthorized charges if you
                                                                                              ALLOW.
      wish to do so and we permit it.
      Lost or Stolen Cards or Account Numbers. You must call us if any card or                                                  Covered claims
      account number is lost or stolen. You must also call us if you think someone            • You or we may arbitrate any claim, dispute or controversy between you and
      used or may use them without permission. When you call, we may require you                   us arising out of or related to your account, a previous related account or
      to provide information to help our investigation. We may require you to provide              our relationship (called “Claims”).
      this information in writing. For example, we may ask you to identify any charges        • If arbitration is chosen by any party, neither you nor we will have the
      that were not made by you or someone authorized by you. We may also ask you                  right to litigate that Claim in court or have a jury trial on that Claim.
      to con!rm that you received no bene!t from those charges.                               Except as stated below, all Claims are subject to arbitration, no matter what legal
      Closing Your Account. You may close your account by notifying us in writing             theory they’re based on or what remedy (damages, or injunctive or declaratory
      or over the phone. If you close your account, you must still repay the total            relief) they seek, including Claims based on contract, tort (including intentional
      balance in accordance with this Agreement. We may also close your account or            tort), fraud, agency, your or our negligence, statutory or regulatory provisions,
      suspend account privileges at any time for any reason. We may do this without           or any other sources of law; Claims made as counterclaims, cross-claims, third-
                                                                                              party claims, interpleaders or otherwise; Claims made regarding past, present,



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      or future conduct; and Claims made independently or with other claims. This             award shall decide the rights and obligations only of the parties named in the
      also includes Claims made by or against anyone connected with us or you or              arbitration, and shall not have any bearing on any other person or dispute.
      claiming through us or you, or by someone making a claim through us or you,
                                                                                                                   Paying for arbitration fees
      such as a co-applicant, authorized user, employee, agent, representative or an
                                                                                           • We will pay your share of the arbitration fee for an arbitration of Claims of
      af!liated/parent/subsidiary company.
                                                                                             $75,000 or less if they are unrelated to debt collection. Otherwise, arbitration
                                    Arbitration limits                                       fees will be allocated according to the applicable AAA Rules. If we prevail,
      • Individual Claims !led in a small claims court are not subject to arbitration,       we may not recover our arbitration fees, unless the arbitrator decides your
        as long as the matter stays in small claims court.                                   Claim was frivolous. All parties are responsible for their own attorney’s fees,
      • We won’t initiate arbitration to collect a debt from you unless you choose to        expert fees and any other expenses, unless the arbitrator awards such fees
        arbitrate or assert a Claim against us. If you assert a Claim against us, we         or expenses to you or us based on applicable law.
        can choose to arbitrate, including actions to collect a debt from you. You may                                    The !nal award
        arbitrate on an individual basis Claims brought against you, including Claims      • Any award by an arbitrator is !nal unless a party appeals it in writing to
        to collect a debt.                                                                   the AAA within 30 days of notice of the award. The arbitration appeal shall
      • Claims brought as part of a class action, private attorney general or other          be determined by a panel of 3 arbitrators. The panel will consider all facts
        representative action can be arbitrated only on an individual basis. The             and legal issues anew based on the same evidence presented in the prior
        arbitrator has no authority to arbitrate any claim on a class or representative      arbitration, and will make decisions based on a majority vote. Arbitration
        basis and may award relief only on an individual basis. If arbitration is chosen     fees for the arbitration appeal shall be allocated according to the applicable
        by any party, neither you nor we may pursue a Claim as part of a class               AAA Rules. An award by a panel on appeal is !nal. A !nal award is subject
        action or other representative action. Claims of 2 or more persons may not           to judicial review as provided by applicable law.
        be combined in the same arbitration. However, applicants, co-applicants,
                                                                                                                 Survival and Severability of Terms
        authorized users on a single account and/or related accounts, or corporate
                                                                                           This arbitration provision shall survive changes in this Agreement and termination
        af!liates are here considered as one person.
                                                                                           of the account or the relationship between you and us, including the bankruptcy
                                  How arbitration works                                    of any party and any sale of your account, or amounts owed on your account, to
      • Arbitration shall be conducted by the American Arbitration Association             another person or entity. If any part of this arbitration provision is deemed invalid
        (“AAA”) according to this arbitration provision and the applicable AAA             or unenforceable, the other terms shall remain in force, except that there can be
        arbitration rules in effect when the claim is !led (“AAA Rules”), except where     no arbitration of a class or representative Claim. This arbitration provision may
        those rules con!ict with this arbitration provision. You can obtain copies of      not be amended, severed or waived, except as provided in this Agreement or in
        the AAA Rules at the AAA’s website (www.adr.org) or by calling 800-778-            a written agreement between you and us.
        7879 (TTY: Use 711 or other Relay Service). You or we may choose to have
                                                                                                          Rules for rejecting this arbitration provision
        a hearing, appear at any hearing by phone or other electronic means, and/or
                                                                                           You may reject this arbitration provision by sending a written rejection notice to
        be represented by counsel. Any in-person hearing will be held in the same
                                                                                           us at: P.O. Box 790340, St. Louis, MO 63179. Your rejection notice must be
        city as the U.S. District Court closest to your billing address.                   mailed within 45 days of account opening. Your rejection notice must state that
      • Arbitration may be requested any time, even where there is a pending               you reject the arbitration provision and include your name, address, account
        lawsuit, unless a trial has begun or a !nal judgment entered. Neither you          number and personal signature. No one else may sign the rejection notice. Your
        nor we waive the right to arbitrate by !ling or serving a complaint, answer,       rejection notice will not apply to the arbitration provision(s) governing any other
        counterclaim, motion, or discovery in a court lawsuit. To choose arbitration,      account(s) that you have or had with us. Rejection of this arbitration provision
        a party may !le a motion to compel arbitration in a pending matter and/or          won’t affect your other rights or responsibilities under this Agreement, including
        commence arbitration by submitting the required AAA forms and requisite            use of the account.
        !ling fees to the AAA.
                                                                                                            Governing Law and Enforcing our Rights
      • The arbitration shall be conducted by a single arbitrator in accord with this
        arbitration provision and the AAA Rules, which may limit discovery. The            Governing Law. Federal law and the law of South Dakota, where we are
        arbitrator shall not apply any federal or state rules of civil procedure for       located, govern the terms and enforcement of this Agreement.
        discovery, but the arbitrator shall honor claims of privilege recognized at        Enforcing this Agreement. We will not lose our rights under this Agreement
        law and shall take reasonable steps to protect account information and             because we delay in enforcing them or fail to enforce them.
        other con!dential information of either party if requested to do so. The           Collection Costs. To the extent permitted by law, you are liable to us for our
        arbitrator shall apply applicable substantive law consistent with the FAA and      legal costs if we refer collection of your account to a lawyer who is not our
        applicable statute of limitations, and may award damages or other relief           salaried employee. These costs may include reasonable attorneys’ fees. They
        under applicable law.                                                              may also include costs and expenses of any legal action.
      • The arbitrator shall make any award in writing and, if requested by you or us,     Assignment. We may assign any or all of our rights and obligations under this
        may provide a brief statement of the reasons for the award. An arbitration         Agreement to a third party.



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                                 For Further Information                                      report you as delinquent without also reporting that you are questioning your bill.
      Call us toll-free for further information. Call the toll-free Customer Service          We must tell you the name of anyone to whom we reported you as delinquent,
      telephone number shown on the billing statement or on the back of your card.            and we must let those organizations know when the matter has been settled
      You can also call local or toll-free Directory Assistance to get our telephone          between us.
      number.                                                                                 If we do not follow all of the rules above, you do not have to pay the !rst $50 of
                                   Your Billing Rights:                                       the amount you question even if your bill is correct.
                          Keep this Document for Future Use                                      Your Rights If You Are Dissatis!ed With Your Credit Card Purchases
      This notice tells you about your rights and our responsibilities under the Fair         If you are dissatis!ed with the goods or services that you have purchased with
      Credit Billing Act.                                                                     your credit card, and you have tried in good faith to correct the problem with
                   What To Do If You Find A Mistake On Your Statement                         the merchant, you may have the right not to pay the remaining amount due on
      If you think there is an error on your statement, write to us at the address for        the purchase.
      billing inquiries and correspondence shown on the front of your statement.              To use this right, all of the following must be true:
      In your letter, give us the following information:                                         1. The purchase must have been made in your home state or within 100
         • Account information: Your name and account number.                                       miles of your current mailing address, and the purchase price must
         • Dollar amount: The dollar amount of the suspected error.                                 have been more than $50. (Note: Neither of these are necessary if your
                                                                                                    purchase was based on an advertisement we mailed to you, or if we own
         • Description of problem: If you think there is an error on your bill, describe
                                                                                                    the company that sold you the goods or services.)
            what you believe is wrong and why you believe it is a mistake.
                                                                                                 2. You must have used your credit card for the purchase. Purchases made
      You must contact us:
                                                                                                    with cash advances from an ATM or with a check that accesses your
         • Within 60 days after the error appeared on your statement.
                                                                                                    credit card account do not qualify.
         • At least 3 business days before an automated payment is scheduled,
                                                                                                 3. You must not yet have fully paid for the purchase.
            if you want to stop payment on the amount you think is wrong.
                                                                                              If all of the criteria above are met and you are still dissatis!ed with the purchase,
      You must notify us of any potential errors in writing. You may call us, but if you
                                                                                              contact us in writing at the address for billing inquiries and correspondence
      do we are not required to investigate any potential errors and you may have to
                                                                                              shown on the front of your statement.
      pay the amount in question.
                                                                                              While we investigate, the same rules apply to the disputed amount as discussed
                      What Will Happen After We Receive Your Letter                           above. After we !nish our investigation, we will tell you our decision. At that
      When we receive your letter, we must do two things:                                     point, if we think you owe an amount and you do not pay, we may report you
         1. Within 30 days of receiving your letter, we must tell you that we received        as delinquent.
            your letter. We will also tell you if we have already corrected the error.        © 2022 Citibank, N.A.
         2. Within 90 days of receiving your letter, we must either correct the error or
            explain to you why we believe the bill is correct.
      While we investigate whether or not there has been an error:
         • We cannot try to collect the amount in question, or report you as
            delinquent on that amount.
         • The charge in question may remain on your statement, and we may
            continue to charge you interest on that amount.
         • While you do not have to pay the amount in question, you are responsible
            for the remainder of your balance.
         • We can apply any unpaid amount against your credit limit.
      After we !nish our investigation, one of two things will happen:
         • If we made a mistake: You will not have to pay the amount in question
            or any interest or other fees related to that amount.
         • If we do not believe there was a mistake: You will have to pay the amount
            in question, along with applicable interest and fees. We will send you a
            statement of the amount you owe and the date payment is due. We may
            then report you as delinquent if you do not pay the amount we think you
            owe.
      If you receive our explanation but still believe your bill is wrong, you must write
      to us within 10 days telling us that you still refuse to pay. If you do so, we cannot
                                                                                                                                                                      72100 0622



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                                                                                    PNHDEX 03/21
         FACTS                 WHAT DOES CITIBANK DO WITH                                             Who we are
                               YOUR PERSONAL INFORMATION?                                             Who is providing This notice is provided by the retail partner cards group of Citibank,
         Why?                  Financial companies choose how they share your personal                this notice?     N.A., the bank that issues your credit card.
                               information. Federal law gives consumers the right to limit some
                               but not all sharing. Federal law also requires us to tell you how we   What we do
                               collect, share, and protect your personal information. Please read     How does              To protect your personal information from unauthorized access
                               this notice carefully to understand what we do.                        Citibank protect      and use, we use security measures to comply with federal law.
                                                                                                      my personal           These measures include computer safeguards and secured !les
         What?                 The types of personal information we collect and share depend          information?          and buildings.
                               on the product or service you have with us. This information can
                               include:                                                               How does              We collect your personal information, for example, when you
                               • Social Security number and income                                    Citibank collect      • provide account information or give us your contact information
                               • account balances and employment information                          my personal           • provide employment information or apply for a loan
                               • credit history and transaction history                               information?          • use your credit or debit card
                                                                                                                            We also collect your personal information from others, such as
                                                                                                                            credit bureaus, af!liates, or other companies.
         How?                  All !nancial companies need to share customers’ personal               Why can’t I limit Federal law gives you the right to limit only
                               information to run their everyday business. In the section             all sharing?
                               below, we list the reasons !nancial companies can share their                            • sharing for af!liates’ everyday business purposes – information
                               customers’ personal information; the reasons Citibank chooses to                            about your creditworthiness
                               share; and whether you can limit this sharing.                                           • af!liates from using your information to market to you
                                                                                                                        • sharing for nonaf!liates to market to you.
                                                                                                                        State laws and individual companies may give you additional rights
         Reasons we can share your                        Does Citibank         Can you limit                           to limit sharing. See below for more on your rights under state law.
         personal information                                share?             this sharing?
                                                                                                      What happens Your choices will apply to everyone on your account.
         For our everyday business purposes –                                                         when I limit
         such as to process your transactions,                                                        sharing for an
         maintain your account(s), respond to court              Yes                   No             account I hold
         orders and legal investigations, or report to                                                jointly with
         credit bureaus                                                                               someone else?
         For our marketing purposes –                            Yes                   No
         to offer our products and services to you                                                    De!nitions
         For joint marketing with                                                                     Af!liates       Companies related by common ownership or control. They can be
         other !nancial companies                                Yes                   No                             !nancial and non!nancial companies.
         For our af!liates’ everyday business                                                                         • Our af!liates include companies such as Citigroup Global
         purposes – information about your                       Yes                   No                               Markets Inc.
         transactions and experiences                                                                 Nonaf!liates    Companies not related by common ownership or control. They can
         For our af!liates’ everyday business                                                                         be !nancial and non!nancial companies.
         purposes – information about your                       Yes                  Yes                             • Nonaf!liates we share with can include companies engaged
         creditworthiness                                                                                               in direct marketing and the selling of consumer products and
         For our af!liates to market to you                      Yes                  Yes                               services.
         For our nonaf!liates to market to you                   Yes                  Yes             Joint marketing A formal agreement between nonaf!liated !nancial companies
                                                                                                                      that together market !nancial products and services to you.
         To limit              Call 1-877-491-0607 – our menu will prompt you through your                            • Our joint marketing partners include insurance companies and
         our sharing           choice(s). (TTY: Use 711 or other Relay Service)                                         other !nancial companies.
                               Please note:
                               If you are a new customer, we can begin sharing your informa-          Other important information
                               tion 30 days from the date we sent this notice. When you are no        For Vermont Residents: We will not disclose information about your creditworthiness
                               longer our customer, we continue to share your information as          to our af!liates and will not disclose your personal information, !nancial information, credit
                               described in this notice.                                              report, or health information to nonaf!liated third parties to market to you, other than
                               However, you can contact us any time to limit our sharing.             as permitted by Vermont law, unless you authorize us to make those disclosures. For
                                                                                                      additional information concerning our privacy policies call 1-877-491-0607. For Speech
         Questions?            Call 1-877-491-0607 or call the Customer Service number on             and Hearing Impaired Customers TTY: Use 711 or other Relay Service.
                               the back of your credit card or on your billing statement.             For California Residents: We will not share information we collect about you with
                               (TTY: Use 711 or other Relay Service)                                  nonaf!liated third parties, except as permitted by California law, such as to process your
                                                                                                      transactions or to maintain your account.
                                                                                                      We may share your personal information, as permitted by law, with the retailer whose
                                                                                                      name is on your card and with the companies related to the retailer. You cannot limit
                                                                                                      this sharing.
                                                                                                      Citi acquires and uses services provided by third parties that collect and analyze customer
                                                                                                      data. This information may be used to service your accounts and for marketing purposes.
                                                                                                      For additional information about our privacy practices please go to www.citi.com/Privacy.
                                                                                                                          Important Information about Credit Reporting
                                                                                                      We may report information about your account to credit bureaus. Late payments, missed
                                                                                                      payments or other defaults on your account may be re!ected in your credit report.



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   6/6/22 1:43 PM                                                                                                                                                           72100 0622 (RPL) vf.indd 20-21
                                                                                       SPPHDEX 03/21
     DATOS                ¿QUÉ HACE CITIBANK CON SU INFORMACIÓN PERSONAL?                              Quiénes somos
                                                                                                       ¿Quién proporciona          Este aviso es proporcionado por el grupo de tarjetas de socios
     ¿Por qué?            Las compañías !nancieras deciden cómo comparten la información               este aviso?                 minoristas de Citibank, N.A., el banco que emite su tarjeta de crédito.
                          personal de usted. La ley federal les otorga a los consumidores el
                          derecho de limitar una parte, pero no la totalidad, de la información que    Qué hacemos
                          se comparte. La ley federal también nos exige que le informemos a usted      ¿De qué modo          A !n de proteger su información personal contra el acceso y el uso
                          cómo recopilamos, compartimos y protegemos su información personal.          Citibank protege      no autorizados, utilizamos medidas de seguridad para cumplir con la
                          Por favor, lea este aviso con detenimiento para entender lo que hacemos.     mi información        ley federal. Estas medidas incluyen resguardos para computadoras, y
                                                                                                       personal?             archivos y edi!cios protegidos.
     ¿Qué?                Los tipos de información personal que recopilamos y compartimos              ¿De qué modo          Recopilamos su información personal, por ejemplo, cuando usted
                          dependen del producto o servicio que le proporcionemos. Esta información     Citibank recopila     • proporciona información sobre su cuenta o nos proporciona su
                          puede incluir:                                                               mi información           información de contacto
                                                                                                       personal?             • proporciona información sobre su empleo o solicita un préstamo
                          • Número de Seguro Social e ingresos
                          • saldos de sus cuentas e información sobre su empleo                                              • utiliza su tarjeta de crédito o de débito
                          • historial de crédito e historial de transacciones                                                También recopilamos su información personal de terceros, como
                                                                                                                             agencias de informes de crédito, a!liadas u otras compañías.
                                                                                                       ¿Por qué no puedo     La ley federal le otorga el derecho de limitar únicamente
     ¿Cómo?               Todas las compañías !nancieras necesitan compartir la información            limitar totalmente la • que se comparta información a los !nes de las actividades
                          personal de sus clientes para llevar a cabo sus actividades comerciales      información que se
                          diarias. En la sección a continuación, enumeramos las razones por                                     comerciales diarias de las a!liadas – información sobre su solvencia
                                                                                                       comparte?                crediticia
                          las cuales las compañías !nancieras pueden compartir la información                                • que las a!liadas utilicen su información para ofrecerle sus productos
                          personal de sus clientes; las razones por las cuales Citibank decide                                  y servicios a usted
                          compartirla; y si usted puede limitar que se comparta.                                             • que las compañías no a!liadas le ofrezcan sus productos
                                                                                                                                y servicios.
     Razones por las cuales podemos compartir                        ¿Citibank  ¿Puede usted                                 Las leyes estatales y las compañías individuales pueden ofrecerle
     su información personal                                         comparte     limitar la                                 derechos adicionales para limitar la información que se comparte.
                                                                   información? información                                  Consulte a continuación para obtener más detalles sobre sus derechos
                                                                                    que se                                   en virtud de la ley estatal.
                                                                                 comparte?             ¿Qué sucede cuando Sus opciones se aplicarán a todas las personas en su cuenta.
                                                                                                       limito la información
     A los !nes de nuestras actividades comerciales                                                    que se comparte
     diarias – tales como procesar sus transacciones,                                                  para una cuenta
     administrar su(s) cuenta(s), responder órdenes judiciales e          Sí                No         que tengo en forma
     investigaciones legales, o informar a agencias de informes                                        conjunta con otra
     de crédito                                                                                        persona?
     Para nuestros !nes de mercadeo – con el objetivo de                  Sí                No
     ofrecerle nuestros productos y servicios a usted                                                  De!niciones
     Con !nes de mercadeo conjunto con otras                                                           A!liadas                    Compañías relacionadas por medio de propiedad o control común.
     compañías !nancieras                                                 Sí                No                                     Pueden ser compañías !nancieras y no !nancieras.
                                                                                                                                   • Nuestras afiliadas incluyen compañías como Citigroup Global Markets Inc.
     A los !nes de las actividades comerciales diarias de
     nuestras a!liadas – información sobre sus transacciones              Sí                No         No a!liadas                 Compañías no relacionadas por medio de propiedad o control común.
     y experiencias                                                                                                                Pueden ser compañías !nancieras y no !nancieras.
                                                                                                                                   • Las compañías no a!liadas con las que compartimos información
     A los !nes de las actividades comerciales diarias                                                                               pueden incluir compañías que participan en actividades de mercadeo
     de nuestras a!liadas – información sobre su solvencia                Sí                Sí                                       directo y en la venta de productos y servicios para el consumidor.
     crediticia                                                                                        Mercadeo conjunto           Un acuerdo formal entre compañías !nancieras no a!liadas que
     Para que nuestras a!liadas le ofrezcan sus                           Sí                Sí                                     comercializan en conjunto productos y servicios !nancieros para usted.
     productos y servicios                                                                                                         • Nuestros socios de mercadeo conjunto incluyen compañías de seguros
     Para que las compañías no a!liadas le ofrezcan sus                                                                              y otras compañías !nancieras.
     productos y servicios                                                Sí                Sí
                                                                                                       Otra información importante
     Para limitar la Llame al 1-877-491-0607 – nuestro menú le orientará a través de su(s)             Para los residentes de Vermont: No divulgaremos información sobre su solvencia crediticia a
     información que opción (opciones). (TTY: Use el 711 u otro servicio de relé).                     nuestras a!liadas y no divulgaremos su información personal, información !nanciera, informe de crédito
     se comparte                                                                                       o información de salud a terceros no a!liados para que comercialicen con usted, salvo que lo permita la
                     Tenga en cuenta lo siguiente:                                                     ley de Vermont, a menos que usted nos autorice a hacerlo. Si desea obtener información adicional en
                     Si usted es un cliente nuevo, podemos comenzar a compartir su                     relación con nuestras políticas de privacidad, llame al 1-877-491-0607. Para clientes con de!ciencias
                     información 30 días después de la fecha en que se envió este aviso.               auditivas y del habla TTY: Use el 711 u otro servicio de relé.
                     Cuando usted deje de ser nuestro cliente, continuaremos compartiendo              Para los residentes de California: No compartiremos la información personal que recopilamos
                     su información según lo descrito en este aviso.                                   sobre usted con terceros no a!liados, excepto según lo permitido por la ley de California, como por
                     Sin embargo, puede comunicarse con nosotros en cualquier momento                  ejemplo, para procesar sus transacciones o administrar su cuenta.
                     para limitar la información que compartimos.
                                                                                                       Podemos compartir su información personal, según lo permitido por ley, con el comercio cuyo
     ¿Tiene               Llame al 1-877-491-0607 o al número de Servicio al Cliente que se            nombre aparece en su tarjeta y con las compañías relacionadas con el comercio. Usted no puede
     preguntas?           encuentra al dorso de su tarjeta de crédito o en su estado de facturación.   limitar que compartamos esta información.
                          (TTY: Use el 711 u otro servicio de relé).                                   Citi adquiere y utiliza servicios proporcionados por terceros que recopilan y analizan datos de clientes.
                                                                                                       Esta información puede utilizarse para administrar sus cuentas y para !nes de mercadeo. Para
                                                                                                       obtener información adicional sobre nuestras prácticas de privacidad, visite www.citi.com/Privacy.
                                                                                                                               Información importante sobre Informes de Crédito
                                                                                                       Podremos reportar información sobre su cuenta a agencias de informes de crédito. Es posible que
                                                                                                       los pagos con demora, los pagos no efectuados u otros incumplimientos en su cuenta se re!ejen
                                                                                                       en su informe de crédito.
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                             Para Obtener Más Información                                 Una vez que !nalicemos nuestra investigación, sucederá una de dos cosas:
       Para obtener más información, llámenos sin cargo. Llame sin cargo al número         • Si hemos cometido un error: Usted no tendrá la obligación de pagar el
       de teléfono de Servicio al Cliente que !gura en el estado de facturación o al         monto en cuestión ni ningún tipo de intereses u otros cargos relacionados
       dorso de su tarjeta. También puede llamar localmente o sin cargo a la Asistencia      con dicho monto.
       de Directorio para obtener nuestro número de teléfono.                              • Si consideramos que no se ha producido un error: Usted tendrá la obligación
                               Sus Derechos de Facturación:                                  de pagar el monto en cuestión, junto con los intereses y cargos aplicables.
                        Conserve este Documento para Uso Futuro                              Le enviaremos un estado de cuenta del monto que usted adeuda y la fecha
       Este aviso le informa sobre sus derechos y nuestras responsabilidades conforme        de vencimiento de pago. Posteriormente podremos reportarle a usted como
       a la Ley de Facturación Justa de Crédito “Fair Credit Billing Act”.                   deudor moroso si usted no paga el monto que consideramos que adeuda.
           Qué Hacer Si Usted Encuentra un Error en Su Estado de Cuenta                   Si usted recibe nuestra explicación pero igualmente considera que su factura es
                                                                                          errónea, deberá escribirnos en un plazo de 10 días para indicarnos que continúa
       Si usted considera que existe un error en su estado de cuenta, escríbanos a la
                                                                                          negándose a pagar. En ese caso, no podremos reportarle como deudor moroso
       dirección para consultas sobre facturación y correspondencia que se indica en
                                                                                          sin reportar también que usted cuestiona su factura. Deberemos informarle a
       el frente de su estado de cuenta.
                                                                                          usted el nombre de cualquier persona o entidad a la cual le reportemos a usted
       En su carta, proporciónenos la siguiente información:                              como deudor moroso, y deberemos informarles a dichas entidades cuando el
        • Información de la cuenta: Su nombre y número de cuenta.                         asunto se haya solucionado entre nosotros.
        • Monto en dólares: El monto en dólares del presunto error.                       Si no cumplimos con todas las reglas que se indican arriba, usted no tendrá la
        • Descripción del problema: Si usted considera que existe un error en su          obligación de pagar los primeros $50 del monto que usted cuestione, aunque
          factura, describa lo que usted considera erróneo y el motivo por el cual        su factura sea correcta.
          considera que se trata de un error.                                                             Sus derechos si usted no está satisfecho
       Usted deberá comunicarse con nosotros:                                                              con sus compras con tarjeta de crédito
        • En un plazo de 60 días a partir de la fecha en que el error haya aparecido      Si usted no está satisfecho con los productos o servicios que ha comprado con
          en su estado de cuenta.                                                         su tarjeta de crédito, y ha intentado de buena fe corregir el problema con el
                                                                                          comerciante, podría tener el derecho de no pagar el monto restante adeudado
        • Como mínimo 3 días hábiles antes de la fecha en que se encuentre
                                                                                          sobre la compra.
          programado un pago automatizado si usted desea suspender el pago del
          monto que considere erróneo.                                                    Para utilizar este derecho, deberán cumplirse los siguientes requisitos:
       Deberá noti!carnos de cualquier posible error por escrito. Podrá llamarnos por      1. La compra deberá haberse realizado en el estado donde usted resida o en
       teléfono, pero en ese caso no tendremos la obligación de investigar ningún             un radio de 100 millas de su dirección postal actual, y el precio de la compra
       posible error y usted podría quedar obligado a pagar el monto en cuestión.             deberá haber sido superior a $50. (Nota: Ninguno de estos requisitos será
                                                                                              necesario si su compra se realizó sobre la base de un anuncio que nosotros
                    Qué Sucederá Después de que Recibamos Su Carta                            le enviamos a usted por correo postal, o si la compañía que le vendió a
       Cuando recibamos su carta, deberemos hacer dos cosas:                                  usted los productos o servicios es de nuestra propiedad).
        1. En un plazo de 30 días a partir de la recepción de su carta, deberemos          2. Usted deberá haber utilizado su tarjeta de crédito para la compra. No son
           informarle que recibimos su carta. También le informaremos si ya hemos             elegibles las compras efectuadas con adelantos en efectivo a través de
           corregido el error.                                                                un cajero automático o mediante un cheque que acceda a su cuenta de
        2. En un plazo de 90 días a partir de la recepción de su carta, deberemos             tarjeta de crédito.
           corregir el error o explicarle a usted por qué consideramos que la factura      3. Usted no deberá haber pagado aún la totalidad de la compra.
           es correcta.                                                                   Si se cumplen todos los criterios que se indican arriba y usted continúa
       Mientras investigamos si se ha producido o no un error:                            insatisfecho con la compra, comuníquese con nosotros por escrito a la dirección
        • No podremos intentar cobrar el monto en cuestión, ni reportarle a usted         para consultas sobre facturación y correspondencia que se indica en el frente
          como deudor moroso sobre dicho monto.                                           de su estado de facturación.
        • El cargo en cuestión podrá permanecer en su estado de cuenta, y podemos         Durante nuestra investigación, se aplican al monto en disputa las mismas
          continuar cobrándole intereses sobre dicho monto.                               reglas que se indican arriba. Una vez que !nalicemos nuestra investigación, le
                                                                                          informaremos nuestra decisión. En ese momento, si consideramos que usted
        • Si bien usted no tendrá la obligación de pagar el monto en cuestión, será
                                                                                          adeuda un monto y usted no efectúa el pago, podremos reportarle como deudor
          responsable del resto de su saldo.
                                                                                          moroso.
        • Podremos aplicar cualquier monto sin pagar contra su límite de crédito.
                                                                                          © 2022 Citibank, N.A.
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                                Cómo Funciona el Arbitraje                                                                El Laudo De!nitivo
       • El arbitraje será llevado a cabo por la Asociación Americana de Arbitraje          • Cualquier laudo otorgado por un árbitro es de!nitivo, a menos que una de las
         (American Arbitration Association, AAA) de acuerdo con esta disposición              partes lo apele por escrito ante la AAA dentro de los 30 días posteriores a
         sobre arbitraje y las correspondientes reglas de arbitraje de la AAA vigentes        la noti!cación del laudo. La apelación del arbitraje será determinada por un
         en el momento en que se presente el reclamo (“Reglas de la AAA”), excepto            panel de 3 árbitros. El panel volverá a considerar todos los hechos y cuestiones
         en los casos en que dichas reglas entren en con!icto con esta disposición            legales desde el principio sobre la base de la misma evidencia presentada en el
         sobre arbitraje. Usted podrá obtener copias de las Reglas de la AAA en el            arbitraje anterior, y tomará decisiones sobre la base de un voto mayoritario. Los
         website de la AAA (www.adr.org) o llamando al 800-778-7879 (TTY: Use                 cargos por arbitraje correspondientes a la apelación del arbitraje se asignarán
         el 711 u otro servicio de relé). Usted o nosotros podremos optar por tener           de acuerdo con las correspondientes Reglas de la AAA. El laudo otorgado por
         una audiencia, presentarnos en cualquier audiencia por teléfono o por otros          un panel de apelación es de!nitivo. Un laudo de!nitivo está sujeto a revisión
         medios electrónicos, y/o ser representados por un asesor legal. Cualquier            judicial según lo dispuesto por la ley aplicable.
         audiencia en persona se realizará en la misma ciudad correspondiente al
                                                                                                              Validez y Divisibilidad de los Términos
         Tribunal de Distrito de EE. UU. más cercano a su dirección de facturación.
                                                                                            Esta disposición sobre arbitraje seguirá siendo válida aun después de que se
       • El arbitraje se podrá solicitar en cualquier momento, incluso en los casos en
                                                                                            hagan modi!caciones en este Contrato y de la cancelación de la cuenta o de
         que exista una acción judicial pendiente, a menos que ya haya comenzado
                                                                                            la relación entre usted y nosotros, lo cual incluye la quiebra de cualquiera de las
         un juicio o que se haya emitido un fallo de!nitivo. Ni usted ni nosotros
                                                                                            partes y cualquier venta de su cuenta, o montos adeudados en su cuenta, a otra
         renunciamos al derecho de arbitraje al presentar o noti!car una demanda,
                                                                                            persona o entidad. Si se determina que alguna de las partes de esta disposición
         respuesta, reconvención, moción o descubrimiento de pruebas en una
                                                                                            sobre arbitraje no es válida o su cumplimiento no es exigible, los demás términos
         acción judicial. Para elegir el arbitraje, una de las partes podrá presentar una
                                                                                            continuarán en vigencia, con la excepción de que no podrá realizarse el arbitraje
         moción para imponer el arbitraje en un caso pendiente y/o iniciar un arbitraje
                                                                                            de un Reclamo mediante una acción de clase o representativa. Esta disposición
         mediante la presentación de los formularios requeridos de la AAA y el pago
                                                                                            sobre arbitraje no se podrá enmendar, separar ni eximir a excepción de lo
         a la AAA de los cargos de presentación requeridos.
                                                                                            dispuesto en este Contrato o en un acuerdo por escrito entre usted y nosotros.
       • El arbitraje será llevado a cabo por un solo árbitro de conformidad con esta
         disposición sobre arbitraje y las Reglas de la AAA, que pueden limitar el                   Reglas para Rechazar esta Disposición sobre Arbitraje
         descubrimiento de pruebas. El árbitro no aplicará ninguna regla federal o          Usted puede rechazar esta disposición sobre arbitraje enviándonos una
         estatal de procedimiento civil para el descubrimiento de pruebas, pero el          noti!cación de rechazo por escrito a: P.O. Box 790340, St. Louis, MO 63179.
         árbitro hará lugar a reclamos de privilegio reconocidos por la ley y tomará        Su noti!cación de rechazo debe enviarse por correo postal en un plazo de 45
         medidas razonables para proteger información sobre cuentas y otro tipo de          días desde la fecha de apertura de la cuenta. Su noti!cación de rechazo debe
         información con!dencial de cualquiera de las partes si así se lo solicita. El      indicar que usted rechaza la disposición sobre arbitraje e incluir su nombre,
         árbitro aplicará la ley sustantiva aplicable conforme a la FAA y a los estatutos   dirección, número de cuenta y !rma personal. Ninguna otra persona puede
         de limitaciones aplicables, y tendrá el poder de otorgar compensación por          !rmar la noti!cación de rechazo. Su noti!cación de rechazo no se aplicará a
         daños y perjuicios o compensación de otro tipo en virtud de la ley aplicable.      la(s) disposición (disposiciones) sobre arbitraje que rija(n) cualquier otra cuenta
       • El árbitro efectuará cualquier laudo por escrito y, si usted o nosotros se lo      que tenga o haya tenido con nosotros. El rechazo de esta disposición sobre
         solicitamos, podrá suministrar una breve declaración de los motivos de dicho       arbitraje no afectará sus demás derechos o responsabilidades en virtud de este
         laudo. El laudo de un arbitraje determinará los derechos y las obligaciones        Contrato, lo cual incluye el uso de la cuenta.
         únicamente de las partes mencionadas en el arbitraje, y no tendrá ninguna                        Ley Aplicable y Ejercicio de Nuestros Derechos
         relación con ninguna otra persona o disputa.                                       Ley Aplicable. Los términos y el cumplimiento de este Contrato están regidos
                             Pago de los Cargos de Arbitraje                                por las leyes federales y las leyes de South Dakota, donde estamos ubicados.
       • Pagaremos la parte del cargo por arbitraje que le corresponda a usted por          Cumplimiento de este Contrato. La demora u omisión por parte nuestra en
         un arbitraje de Reclamos de $75,000 o menos si no se relacionan con el             el ejercicio de nuestros derechos de conformidad con este Contrato no implica
         cobro de deudas. De lo contrario, los cargos de arbitraje se asignarán de          que perdamos dichos derechos.
         acuerdo con las Reglas de la AAA correspondientes. Si el arbitraje resulta a       Costos por Gestión de Cobro. En la medida en que lo permita la ley, usted
         favor nuestro, no podremos recuperar nuestros cargos por arbitraje a menos         será responsable ante nosotros por nuestros costos legales si derivamos el
         que el árbitro decida que su Reclamo era infundado. Todas las partes serán         cobro de su cuenta a un abogado que no sea empleado asalariado nuestro.
         responsables de sus propios honorarios de abogados, honorarios de peritos          Estos costos podrán incluir honorarios razonables de abogados. También
         y cualquier otro gasto, a menos que el árbitro le otorgue a usted o a nosotros     podrán incluir los costos y gastos de cualquier acción legal.
         dichos cargos o gastos de acuerdo con la ley aplicable.                            Cesión. Podremos ceder a un tercero la totalidad o cualquiera de nuestros
                                                                                            derechos y obligaciones de conformidad con este Contrato.
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       contribuir con nuestra investigación. Podremos solicitarle que suministre esta     SON MÁS SENCILLOS Y MÁS LIMITADOS QUE EN UN TRIBUNAL. ESTA
       información por escrito. Por ejemplo, podremos solicitarle que identi!que todos    DISPOSICIÓN SOBRE ARBITRAJE ESTÁ REGIDA POR LA LEY FEDERAL DE
       los cargos que no hayan sido realizados por usted ni por ninguna persona           ARBITRAJE “FEDERAL ARBITRATION ACT” (FAA), Y SE INTERPRETARÁ
       autorizada por usted. También podremos solicitarle que con!rme no haber            EN EL SENTIDO MÁS AMPLIO QUE PERMITA LA LEY.
       recibido bene!cio de dichos cargos.
                                                                                                                       Reclamos Cubiertos
       Cierre de Su Cuenta. Usted podrá cerrar su cuenta noti!cándonos por escrito
                                                                                          • Usted o nosotros podemos someter a arbitraje cualquier reclamo, disputa o
       o por teléfono. Si usted cierra su cuenta, de todos modos deberá pagar el saldo
                                                                                            controversia entre usted y nosotros que surja de o se relacione con su cuenta, una
       total de conformidad con este Contrato. También podremos cerrar su cuenta
                                                                                            cuenta relacionada anterior o nuestra relación (denominados los “Reclamos”).
       o suspender los privilegios de la cuenta en cualquier momento y por cualquier
       motivo. Podremos hacerlo sin suministrarle a usted un aviso previo. También        • Si cualquiera de las partes elige la opción de arbitraje, ni usted
       podremos volver a emitir una tarjeta diferente en cualquier momento. Usted           ni nosotros tendremos el derecho de litigar dicho Reclamo en un
       deberá devolvernos cualquier tarjeta a pedido nuestro.                               tribunal o tener un juicio por jurado sobre dicho Reclamo.
                                                                                          A excepción de lo que se indica a continuación, todos los Reclamos estarán
                          Protecciones para los miembros en
                                                                                          sujetos a arbitraje, sin importar cuál es la teoría legal en la que se basen ni qué
                          servicio activo y sus dependientes
                                                                                          tipo de recurso (daños y perjuicios, o interdicto o sentencia declaratoria) procuren
       Protecciones. La ley federal brinda protecciones importantes a los miembros        obtener, lo cual incluye Reclamos basados en contratos, extracontractuales
       de las Fuerzas Armadas y a sus dependientes en relación con el otorgamiento de     (incluida la culpa extracontractual intencional), fraude, representación de
       crédito para el consumidor. En general, el costo del crédito para el consumidor    agencia, negligencia por parte suya o nuestra, disposiciones estatutarias o
       para un miembro de las Fuerzas Armadas y su dependiente no puede superar           regulatorias o cualquier otra fuente de derecho; Reclamos efectuados como
       una tasa de porcentaje anual del 36 por ciento. Esta tasa debe incluir, según      reconvenciones, contrademandas, reclamos de terceros, interpelaciones o de
       corresponda a la cuenta o la transacción de crédito, lo siguiente: Los costos      otro modo; Reclamos efectuados con respecto a conductas pasadas, presentes
       asociados con las primas del seguro de crédito; los cargos por productos           o futuras; y Reclamos efectuados en forma independiente o con otros reclamos.
       complementarios que se vendan en relación con la transacción de crédito;           Esto también incluye Reclamos efectuados por o contra cualquier persona
       cualquier cargo por solicitud cobrado (salvo determinados cargos por solicitud     conectada con nosotros o con usted, o que reclame a través de nosotros o de
       para cuentas o transacciones de crédito especi!cadas); y cualquier cargo por       usted, o por alguien que efectúe un reclamo a través de nosotros o de usted,
       participación cobrado (salvo determinados cargos por participación para una        como por ejemplo un co-solicitante, un usuario autorizado, un empleado, un
       cuenta de tarjeta de crédito). Usted tiene derecho a estas protecciones si es un   agente, un representante o una compañía a!liada/matriz/subsidiaria.
       Prestatario Cubierto, según se de!ne a continuación.
                                                                                                                       Límites del Arbitraje
       Prestatario Cubierto. Usted es un Prestatario Cubierto si, en relación con la
       apertura de su cuenta, determinamos que es un miembro en servicio activo           • Los Reclamos individuales presentados en un tribunal para casos de cuantía
       de las Fuerzas Armadas (incluido el servicio activo en la Guardia y la Reserva)      menor no están sujetos a arbitraje, siempre y cuando el caso permanezca en
       o un dependiente de un miembro en servicio activo. Usted dejará de ser un            dicho tribunal para casos de cuantía menor.
       Prestatario Cubierto si determinamos que ya no es un miembro en servicio           • No iniciaremos un arbitraje para cobrarle a usted una deuda a menos que
       activo de las Fuerzas Armadas (incluido el servicio activo en la Guardia y la        usted decida someter a arbitraje o presentar un Reclamo contra nosotros.
       Reserva) o un dependiente de un miembro en servicio activo.                          Si usted presenta un Reclamo contra nosotros, podremos decidir someterlo
       Divulgaciones Verbales. Si usted es un Prestatario Cubierto, podrá obtener           a arbitraje, lo cual incluye acciones para cobrarle a usted una deuda. Usted
       información relacionada con su cuenta, incluida información sobre estas              podrá someter a arbitraje en forma individual Reclamos presentados en
       protecciones y su obligación de pago, llamando al 1-877-625-6379 (TTY: Use           contra de usted, lo cual incluye Reclamos para el cobro de una deuda.
       el 711 u otro servicio de relé).                                                   • Los Reclamos presentados como parte de una acción de clase, procurador
       Arbitraje. La sección del Contrato de Tarjeta titulada “ARBITRAJE”                   general privado u otra acción representativa podrán someterse al arbitraje
       no se aplica si usted es un Prestatario Cubierto en el momento de la                 únicamente en forma individual. El árbitro no tiene autoridad para arbitrar
       apertura de su cuenta.                                                               ningún reclamo sobre la base de acción de clase o representativa y podrá
                                                                                            otorgar compensación únicamente en forma individual. Si cualquiera de
                                        ARBITRAJE                                           las partes elige la opción de arbitraje, ni usted ni nosotros podremos llevar
       POR FAVOR, LEA CON DETENIMIENTO ESTA DISPOSICIÓN DEL CONTRATO.                       adelante un Reclamo como parte de una acción de clase u otra acción
       ESTA SECCIÓN ESTABLECE QUE LAS DISPUTAS PODRÁN RESOLVERSE                            representativa. Los Reclamos de 2 o más personas no podrán combinarse
       POR MEDIO DE ARBITRAJE VINCULANTE. EL ARBITRAJE REEMPLAZA                            en el mismo arbitraje. Sin embargo, los solicitantes, co-solicitantes, usuarios
       EL DERECHO DE RECURRIR A UN TRIBUNAL, DE TENER UN JUICIO POR                         autorizados en una misma cuenta y/o cuentas relacionadas, o a!liados
       JURADO, O DE INICIAR O PARTICIPAR EN UNA ACCIÓN DE CLASE. EN                         corporativos se consideran aquí como una sola persona.
       UN ARBITRAJE, LAS DISPUTAS SON RESUELTAS POR UN ÁRBITRO, NO
       POR UN JUEZ O UN JURADO. LOS PROCEDIMIENTOS DE ARBITRAJE
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       de facturación daría lugar al pago del saldo promocional antes de la !nalización   Si usted considera que hemos suministrado información incorrecta a una
       del período promocional.                                                           agencia de informes de crédito, escríbanos a la dirección postal de Servicio
       El Pago Mínimo Adeudado puede re!ejar ajustes al Nuevo Saldo. El Pago Mínimo       al Cliente que se indica en el estado de facturación. Investigaremos el asunto.
       Adeudado nunca es superior al Nuevo Saldo Calculado más dos montos. El             Luego le comunicaremos si estamos de acuerdo o en desacuerdo con usted.
       primero es cualquier monto requerido por una oferta promocional. El segundo        Si estamos de acuerdo con usted, nos comunicaremos con cada agencia de
       es cualquier monto requerido por el Cálculo de la Promoción.                       informes de crédito a la que hayamos suministrado informes y solicitaremos una
                                                                                          corrección. Si estamos en desacuerdo con usted, se lo informaremos.
       Aplicación de Pagos. Los pagos que excedan el Pago Mínimo Adeudado se
       aplican de conformidad con la ley. Esto signi!ca que generalmente aplicaremos                              Intercambio de Información
       los pagos que excedan el Pago Mínimo Adeudado primero a los saldos con             Usted nos autoriza a compartir información sobre su persona según lo permitido
       tasas APR más altas. Sin embargo, los pagos excedentes recibidos antes del         por la ley. Esto incluye información suministrada por usted y por terceros.
       vencimiento de una promoción de intereses diferidos se aplican primero al saldo    También incluye información sobre sus transacciones con nosotros. Por favor,
       promocional de intereses diferidos en los últimos dos ciclos de facturación del    consulte nuestro Aviso de Privacidad para conocer los detalles sobre nuestras
       período promocional. Además, si la fecha de vencimiento de una promoción           prácticas de intercambio de información.
       de intereses diferidos es anterior a la fecha de vencimiento de pago del ciclo
       de facturación en el cual venza la promoción de intereses diferidos, los pagos                           Modi!caciones a este Contrato
       excedentes recibidos antes del vencimiento de la promoción de intereses            Podremos modi!car las tasas, los cargos y los términos de este Contrato
       diferidos se aplican primero al saldo promocional de intereses diferidos en los    ocasionalmente según lo permitido por la ley. Las modi!caciones
       últimos tres ciclos de facturación del período promocional. Los pagos que sean     podrán agregar, reemplazar o eliminar disposiciones de este Contrato.
       menores o iguales al Pago Mínimo Adeudado y los créditos se aplican a nuestro      Le suministraremos a usted en forma anticipada un aviso por escrito
       criterio y usted nos autoriza a aplicar pagos y créditos de la manera que nos      con respecto a las modi!caciones y al derecho de exclusión en la
       resulte más favorable o conveniente. Esto puede incluir la aplicación de dichos    medida en que lo exija la ley.
       pagos y créditos en primer lugar a los saldos con tasas APR más bajas.                                            Incumplimiento
       Instrucciones de Pago. Acreditamos sus pagos de conformidad con nuestras           Usted incurrirá en incumplimiento de este Contrato si no efectúa el Pago Mínimo
       instrucciones de pago que se indican en el estado de facturación. Usted deberá     Adeudado en o antes de la fecha de vencimiento; si excede su límite de crédito;
       pagarnos en dólares estadounidenses. Para hacerlo, deberá usar un cheque,          si paga mediante un cheque o instrumento similar que no sea aceptado o que
       instrumento similar o débito electrónico librado y aceptado por un banco en        nosotros debamos devolver porque no puede ser procesado; si paga mediante
       Estados Unidos. No envíe dinero en efectivo. Podremos aceptar pagos con            un débito electrónico que se devuelva sin pagar; si se declara en quiebra; o si no
       demora o parciales, o pagos que re!ejen endosos de “pagado en su totalidad”        cumple con los términos de este Contrato. Si usted incurre en incumplimiento,
       u otro tipo de endosos restrictivos, sin perder nuestros derechos. También nos
                                                                                          podremos cerrar su cuenta y, en la medida en que lo permita la ley, exigir el
       reservamos el derecho de aceptar pagos realizados en moneda extranjera e           pago inmediato del saldo total.
       instrumentos librados sobre fondos en depósito fuera de EE. UU. Si lo hacemos,
       seleccionaremos la tasa de conversión de moneda. Luego acreditaremos su                           Denegación de la Tarjeta, Cuentas Cerradas
       cuenta en dólares después de deducir los costos incurridos en el procesamiento                          y Disposiciones Relacionadas
       de su pago. O bien, podremos facturarle dichos costos en forma separada.           Denegación de la Tarjeta. No garantizamos la aprobación de las
       Servicio Opcional de Pago por Teléfono (Pay by Phone). Usted puede                 transacciones. No asumiremos ninguna responsabilidad por las transacciones
       utilizar nuestro Servicio opcional de Pago por Teléfono (Pay by Phone) para        que no sean aprobadas. Esto se aplicará aunque usted tenga crédito su!ciente.
       efectuar sus pagos por teléfono. Para hacerlo, llámenos a !n de solicitar el       Podremos limitar el número de transacciones aprobadas en un mismo día.
       servicio. Usted acepta pagarnos el cargo correspondiente al Pago por Teléfono      Si detectamos actividad inusual o sospechosa, podremos suspender sus
       (Pay by Phone) que se indica en la sección titulada Pago por Teléfono (Pay by      privilegios de crédito.
       Phone) que !gura al dorso del estado de facturación cuando un representante        Cargos Previamente Autorizados. Podremos suspender cualquier cargo
       nuestro ayude a acelerar su pago. Nuestros representantes están capacitados        automático u otro cargo de tarjeta previamente autorizado que usted disponga
       para informarle de este monto cuando usted utilice este servicio.                  con un tercero. Podremos hacer esto si usted incurre en incumplimiento; si se
                                   Informes de Crédito                                    pierde o le roban la tarjeta; o si modi!camos su cuenta por cualquier motivo. Si
                                                                                          lo hacemos, usted será responsable de pagarle al tercero directamente si así lo
       Podremos reportar información sobre su cuenta a agencias de informes de            desea. Usted también será responsable de restablecer los cargos previamente
       crédito. Es posible que los pagos con demora, los pagos no efectuados u otros      autorizados si así lo desea y si lo permitimos.
       incumplimientos en su cuenta se re!ejen en su informe de crédito. Podremos
       proporcionar información de la cuenta en su nombre y en nombre de usuarios         Pérdida o Robo de Tarjetas o Números de Cuenta. Usted deberá llamarnos
       autorizados. También podemos obtener informes de crédito de seguimiento            en caso de pérdida o robo de cualquier tarjeta o número de cuenta. También
       sobre su persona.                                                                  deberá llamarnos si cree que alguien los ha utilizado o podría utilizarlos sin
                                                                                          permiso. Cuando llame, podremos solicitarle que suministre información para
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       vencimiento de pago en cada ciclo de facturación. Si no lo hace, no obtendrá           Saldo Sujeto a Tasa de Interés. Su estado de cuenta indica un Saldo Sujeto
       un período de gracia hasta que pague el Nuevo Saldo durante dos ciclos de              a Tasa de Interés. Indica esto para cada saldo diferente. El Saldo Sujeto a Tasa
       facturación consecutivos.                                                              de Interés es el promedio de los saldos diarios durante el ciclo de facturación.
       Si usted tiene un saldo sujeto a una promoción de intereses diferidos y dicha          Un ciclo de facturación comienza el día posterior a la Fecha de Cierre del Estado
       promoción no vence antes de la fecha de vencimiento de pago, ese saldo (un             de Cuenta del ciclo de facturación anterior. Incluye la Fecha de Cierre del Estado
       “saldo excluido”) queda excluido del monto que usted debe pagar en su totalidad        de Cuenta del ciclo de facturación actual.
       para obtener un período de gracia sobre un saldo de compras, que no sea un                                                 Cargos
       saldo excluido. Sin embargo, de todos modos deberá efectuar cualquier pago
                                                                                              Cargo por Demora. Podremos agregar un cargo por demora por cada ciclo de
       requerido por separado sobre el saldo promocional excluido. En los ciclos de
                                                                                              facturación en el que usted tenga un pago vencido. A los !nes del cargo por
       facturación en los cuales los pagos se asignan primero a los saldos de intereses
                                                                                              demora, usted tendrá un pago vencido toda vez que no efectúe el Pago Mínimo
       diferidos, el saldo de intereses diferidos se reducirá antes que cualquier otro
                                                                                              Adeudado en o antes de la fecha de vencimiento de pago. El cargo será de $29,
       saldo en la cuenta. No obstante, usted seguirá obteniendo un período de
                                                                                              o de $40 por cualquier pago vencido adicional durante los siguientes seis ciclos
       gracia para compras, que no sea un saldo excluido, siempre y cuando pague
                                                                                              de facturación posteriores a un pago vencido. Sin embargo, el cargo no superará
       el Nuevo Saldo menos cualquier saldo excluido, más cualquier pago requerido
                                                                                              el monto permitido por ley. Sumamos este cargo al saldo de compras regulares.
       por separado sobre un saldo excluido, en su totalidad en o antes de la fecha de
       vencimiento de pago en cada ciclo de facturación.                                                                           Pagos
       Además, algunas ofertas promocionales podrán eliminar el período de gracia             Cómo Efectuar Pagos. Usted puede pagar la totalidad o una parte del saldo
       para compras. Otras ofertas promocionales que no se describen arriba también           de su cuenta en cualquier momento. Sin embargo, en cada ciclo de facturación,
       podrán permitirle obtener un período de gracia para compras sin tener que pagar        usted debe pagar al menos el Pago Mínimo Adeudado en o antes de la fecha de
       la totalidad o parte del saldo promocional en o antes de la fecha de vencimiento de    vencimiento de pago. Cuanto antes pague el Nuevo Saldo, menos deberá pagar
       pago. En cualquiera de los dos casos, la oferta promocional describirá los detalles.   en cargos por intereses.
       Cálculo de Cargos por Intereses: Método de Saldo Diario (Incluidas las                 Calculamos el Pago Mínimo Adeudado de la siguiente manera. Comenzamos con
       Transacciones Actuales). Calculamos los cargos por intereses en cada ciclo             cualquier monto vencido. Sumamos cualquier monto especi!cado en una oferta
       de facturación. Para hacerlo:                                                          promocional. Sumamos cualquier monto requerido por el Cálculo de la Promoción.
        • Comenzamos con cada uno de sus saldos diferentes. Estos saldos incluyen,            También sumamos una de las siguientes opciones, la que sea mayor:
          por ejemplo, compras regulares y diferentes saldos promocionales.                    • El Nuevo Saldo Calculado, si es inferior a $29;
          (Cuando calculamos los cargos por intereses, consideramos por separado               • $29 si el Nuevo Saldo Calculado es de $29 como mínimo; o bien
          cada transacción con intereses diferidos, incluso si tiene los mismos
                                                                                               • El 1% del Nuevo Saldo Calculado más el monto de sus cargos por intereses
          términos que otra transacción con intereses diferidos).
                                                                                                 facturados sobre dicho saldo, todo cargo mínimo por intereses asignado a
        • Calculamos el saldo diario para cada uno de sus saldos diferentes. Para                dicho saldo y todos los cargos por demora correspondientes. (El resultado
          obtener un saldo diario, comenzamos con el saldo a partir de la !nalización            se redondea hacia arriba hasta el dólar más cercano). Sin embargo,
          del día anterior. Sumamos todos los cargos por intereses al saldo del día              restamos los cargos por intereses que se hayan acumulado durante
          anterior. (Esto da como resultado la capitalización diaria de los cargos por           ciclos de facturación anteriores sobre un saldo de intereses diferidos que
          intereses). Sumamos todos los cargos nuevos. Luego restamos todos los                  haya !nalizado durante el ciclo de facturación cubierto por el estado de
          créditos o pagos nuevos.                                                               facturación.
        • Multiplicamos cada saldo diario por la tasa periódica diaria que se le aplica.      El Nuevo Saldo Calculado es equivalente al Nuevo Saldo que se indica en el
          Hacemos esto para cada día del ciclo de facturación. Esto nos da los cargos         estado de facturación menos cualquier saldo sujeto al Cálculo de la Promoción
          por intereses diarios correspondientes a cada uno de sus saldos diferentes.         y menos cualquier saldo sujeto a cualquiera de los dos tipos de términos
        • Sumamos todos los cargos por intereses diarios. La suma es el cargo total           promocionales. El primer tipo corresponde a términos que no requieren un
          por intereses correspondiente al ciclo de facturación.                              pago mínimo. El segundo tipo corresponde a términos que requieren un monto
        • Usted nos autoriza a redondear los cargos por intereses al centavo más              adicional como parte del Pago Mínimo Adeudado.
          cercano.                                                                            Si usted tiene un saldo de una transacción con intereses diferidos sujeto al
       Cuando calculamos saldos diarios, agregamos una compra en la Fecha de Transacción.     Cálculo de la Promoción, el Cálculo de la Promoción será equivalente al 1% de
       La Fecha de Transacción se indica en el estado de facturación. Restamos un pago        este saldo durante el período promocional. (El resultado se redondea hacia arriba
       o un crédito el día en que se acredita a la cuenta y luego realizamos otros ajustes.   hasta el centavo más cercano). Después del período promocional, cualquier
       Consideramos un saldo acreedor o a favor como saldo de cero.                           saldo promocional restante se incluirá en el Nuevo Saldo Calculado. El Cálculo
                                                                                              de la Promoción se aplicará si, sobre la base del monto de la transacción según
       Cargo mínimo por intereses. Si le cobramos a usted intereses, el cargo
                                                                                              se indica en el primer estado de cuenta donde aparece la transacción y el monto
       no será inferior a $2. Sumamos el cargo al saldo de compras regulares o lo             en dólares en el cálculo del Pago Mínimo Adeudado vigente en el momento de
       distribuimos entre uno o más de los saldos que acumulen intereses.                     la transacción, determinamos que pagar dicho monto en dólares en cada ciclo
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                                         De!niciones                                         Estado de Facturación. Su estado de facturación indica el Nuevo Saldo. Este
       Cuenta signi!ca la relación establecida entre usted y nosotros mediante este          es el monto total que usted nos adeuda en la Fecha de Cierre del Estado de
       Contrato.                                                                             Cuenta. Para determinar el Nuevo Saldo, comenzamos con el saldo total al
                                                                                             comienzo del ciclo de facturación. Sumamos todas las compras. Restamos
       APR signi!ca una tasa de porcentaje anual.
                                                                                             todos los créditos o pagos. Luego sumamos todos los cargos por intereses u
       Usuario Autorizado signi!ca cualquier persona a quien usted le permita                otros cargos y realizamos otros ajustes.
       utilizar su cuenta.
                                                                                             Su estado de facturación también indica sus transacciones, el Pago Mínimo
       Tarjeta signi!ca una o más tarjetas u otros instrumentos de acceso que                Adeudado y la fecha de vencimiento de pago, su límite de crédito y sus cargos
       nosotros le proporcionemos a usted para obtener crédito en virtud de este             por intereses y otros cargos. En el estado de facturación, un saldo de compras
       Contrato. Esto incluye los números de cuenta.                                         regulares aparecerá bajo el título “plan de crédito rotativo regular”.
       Nosotros, nos y nuestro(a) o nuestros(as) hacen referencia a Citibank, N.A.,          Entregamos un estado de facturación a una sola dirección. Usted deberá
       el emisor de su cuenta. Citibank, N.A. está ubicado en Sioux Falls, SD.               noti!car cualquier cambio de dirección a Servicio al Cliente. Podremos dejar
       usted, su(s) y suyo(a) o suyos(as) hacen referencia a la persona que solicite         de enviarle estados de cuenta si consideramos su cuenta como incobrable
       la apertura de la cuenta. También hacen referencia a cualquier otra persona           o iniciamos procedimientos de cobro, pero podremos continuar agregando
       responsable de cumplir con este Contrato.                                             intereses y cargos según lo permita la ley.
                                          Su Cuenta                                                                Tasas de Porcentaje Anual (APR)
       Usted acepta utilizar su cuenta de conformidad con este Contrato. Usted               Tasa APR para Compras Regulares. Ver la impresión.
       deberá pagarnos todos los montos adeudados en su cuenta. Este Contrato es             Efecto de los Aumentos de la Tasa APR. Si aumenta una tasa APR,
       vinculante para usted, a menos que usted cierre su cuenta en un plazo de 30           aumentan los cargos por intereses. Su pago mínimo también podría aumentar.
       días después de recibir la tarjeta y que no haya utilizado ni autorizado el uso de
       la tarjeta. Su cuenta deberá utilizarse únicamente para transacciones legales.                                         Promociones
       Usuarios Autorizados. Usted podrá solicitar tarjetas para usuarios                    Podremos ofrecer términos de tiempo promocionales para la totalidad o parte de
       autorizados. Usted deberá pagarnos los cargos que ellos generen aunque no             cualquier saldo. Todos los términos promocionales podrán aplicarse durante un
       haya tenido la intención de ser responsable de dichos cargos. Usted acepta            período limitado. Dichos términos promocionales se regirán por los términos de
       que ellos podrán recibir información sobre la cuenta, con sujeción a cualquier        la oferta promocional y de este Contrato. Sus términos promocionales !nalizarán
       limitación que nosotros impongamos. Deberá informarnos si ya no desea que             cuando venza el período promocional, o bien en la medida en que lo permita la
       ellos utilicen su cuenta.                                                             ley, si usted efectúa un pago con demora. La oferta promocional le informará en
                                                                                             caso de que exijamos un pago mínimo por separado sobre el saldo promocional.
       Cuentas Conjuntas. Si ésta es una cuenta conjunta, cada uno de ustedes es
       responsable en forma individual y conjunta de todos los montos adeudados.             Si una oferta promocional es una oferta de intereses diferidos, no se impondrán
       Cada uno de ustedes es responsable aunque la cuenta sea utilizada por uno solo        cargos por intereses sobre el saldo de intereses diferidos si usted paga el
       de ustedes. Usted continuará siendo responsable de la totalidad del saldo de la       saldo en su totalidad en o antes de la !nalización del período promocional
       cuenta, aun si un tribunal le ordena a su co-solicitante que nos pague. Usted         correspondiente a dicho saldo de intereses diferidos. Impondremos cargos por
       continuará siendo responsable ante nosotros si su co-solicitante no paga según        intereses sobre el saldo de intereses diferidos a la tasa APR para compras
       lo ordenado por el tribunal. El estatus de su cuenta continuará siendo reportado      regulares desde la fecha de compra si usted no paga el saldo en su totalidad en
       a la agencia de informes de crédito con cada uno de los nombres de ustedes.           o antes de la !nalización del período promocional.
       La entrega de avisos o estados de facturación a cualquiera de ustedes sirve                          Cargos por Intereses Basados en Tasas APR
       como entrega a cada uno de ustedes. Podremos basarnos en instrucciones
                                                                                             Cargos por Intereses. Imponemos cargos por intereses cuando aplicamos
       suministradas por cualquiera de ustedes. No seremos responsables ante
                                                                                             tasas APR a los saldos de su cuenta. Lo hacemos todos los días usando una
       ninguno de ustedes por ampararnos en dichas instrucciones.                            tasa periódica diaria. Para obtener una tasa periódica diaria, dividimos la tasa
       Límite de Crédito. Su límite de crédito inicial se indica en la copia impresa.        APR por 365.
       Posteriormente, su límite de crédito aparece en su estado de facturación. El
                                                                                             Cuándo Comienzan los Cargos por Intereses. Comenzamos a imponer cargos
       monto total de su límite de crédito está disponible para utilizarlo donde se acepte
                                                                                             por intereses el primer día en que agregamos un cargo a un saldo diario. Los cargos
       la tarjeta. Podremos reducir o aumentar su límite de crédito en cualquier momento     que agregamos a un saldo diario incluyen compras, cargos por intereses y otros
       y por cualquier razón, según lo permita la ley. Le noti!caremos a usted sobre         cargos. Continuamos imponiendo cargos por intereses hasta que acreditamos a su
       cualquier cambio, pero éste podría entrar en vigencia antes de que reciba el aviso.
                                                                                             cuenta el pago completo del monto total que usted nos adeuda.
       Usted deberá mantener siempre su saldo total por debajo del límite de crédito. Sin
       embargo, si el saldo total excede su límite de crédito, aun así deberá pagarnos. Si   Período de Gracia para Compras. Usted puede evitar los cargos por
       su cuenta tiene un saldo acreedor o a favor, podremos reducir el saldo acreedor       intereses sobre las compras. Esto se denomina período de gracia para compras.
       o a favor en la cantidad de cualquier nuevo cargo en su cuenta. Usted no podrá        El período de gracia es de por lo menos 25 días. Para obtener un período de
       mantener un saldo acreedor o a favor que exceda su límite de crédito.                 gracia para compras, deberá pagar el Nuevo Saldo en o antes de la fecha de
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                                                                                                    DIVULGACIONES DE LA TARJETA DE CRÉDITO THE HOME DEPOT PARA EL CONSUMIDOR                                                                                         •   Usted nos autoriza a compartir con The Home Depot y sus a!liadas, su
                                                                                                                                                                                                                                                                         información de experiencia y de transacciones con nosotros.
                                                                                              Tasas de interés y Cargos por intereses                                                                                                                                •   Por favor vea el Contrato de la Tarjeta para información importante.
                                                                                              Tasa de Porcentaje Anual
                                                                                              (APR) para compras
                                                                                                                                                 17.99%, 21.99%, 25.99%, ó 26.99%,                                                                                   •   Noti!cación a los Residentes de Ohio: Las leyes del estado de Ohio
                                                                                                                                                                                                                                                                         en contra del discrimen requieren que todo acreedor haga disponible el
                                                                                                                                                 según su solvencia crediticia. Consulte el pase provisorio para cargos                                                  crédito equitativamente a favor de todo cliente solvente, y que las agencias
                                                                                                                                                 para conocer la tasa APR sobre compras para su cuenta.                                                                  de crédito mantengan historiales de crédito separados sobre cada individuo
                                                                                                                                                                                                                                                                         según solicitado. La Comisión para los Derechos Civiles del Estado de Ohio
                                                                                              Cómo evitar el pago de                             Su fecha de vencimiento es como mínimo 25 días después del cierre                                                       (“Ohio Civil Rights Commission”) vela por el cumplimiento de esta ley.
                                                                                              intereses sobre las compras                        de cada ciclo de facturación. No le cobraremos intereses sobre                                                      •   Noti!cación a los Residentes de Wisconsin: Ningún acuerdo de
                                                                                                                                                 compras si usted paga la totalidad de su saldo en o antes de la                                                         propiedad matrimonial, declaración unilateral o decisión de la corte afectará
                                                                                                                                                                                                                                                                         adversamente nuestros derechos, a menos que usted nos provea copia de
                                                                                                                                                 fecha de vencimiento cada mes.                                                                                          dicho acuerdo, declaración u orden de la corte antes de que le brindemos el
                                                                                              Cargo mínimo por intereses                         Si le cobran intereses, el cargo mínimo no será inferior a $2.00.                                                       crédito, o de que tengamos conocimiento de sus términos antes de que su
                                                                                                                                                                                                                                                                         cuenta sea abierta.
                                                                                              Para orientación sobre tarjetas                    Para obtener más información sobre los factores que deben
                                                                                                                                                                                                                                                                                          TÉRMINOS DE LA PROMOCIÓN
                                                                                              de crédito de la Oficina de                        considerarse al solicitar o utilizar una tarjeta de crédito, visite el                                              SIN INTERESES SI LA TOTALIDAD DEL PAGO SE EFECTÚA DENTRO DEL
                                                                                              Protección Financiera para                         website de la Oficina de Protección Financiera para el Consumidor                                                   PERÍODO PROMOCIONAL* en compras elegibles. Se cargarán a su cuenta
                                                                                              el Consumidor                                      ingresando en http://www.consumerfinance.gov/learnmore                                                              intereses a partir de la fecha de la compra si el saldo de compras no se paga
                                                                                                                                                                                                                                                                     en su totalidad dentro del periodo promocional.
                                                                                              Cargos                                                                                                                                                                  *Con aprobación de crédito para compras elegibles realizadas con la Tarjeta de
                                                                                              Cuota anual                                        Ninguna                                                                                                              Crédito The Home Depot para el Consumidor. Tasa APR: desde 17.99% hasta
                                                                                                                                                                                                                                                                      26.99%. Cargo mínimo por intereses: $2. Vea más detalles en el contrato de
                                                                                              Cargos por penalidad                                                                                                                                                    tarjeta, incluida la tasa APR aplicable a usted. Oferta válida para cuentas del
                                                                                               • Pago con demora                                 Hasta $40                                                                                                            consumidor en buenos términos; la oferta de crédito de todos los días de 6 meses
                                                                                                                                                                                                                                                                      está sujeta a cambio sin previo aviso; consulte detalles en la tienda.
                                                                                          Cómo calcularemos su saldo: Utilizamos un método denominado “saldo diario (incluidas las transacciones
                                                                                                                                                                                                                                                                     © 2022 Citibank, N.A.
                                                                                          actuales)”. Consulte el Contrato de la Tarjeta para obtener más detalles.
                                                                                          Derechos de facturación: El Contrato de la Tarjeta proporciona información sobre sus derechos a disputar
                                                                                          transacciones y cómo ejercer dichos derechos.                                                                                                                                   Información Promocional de Intereses Diferidos
                                                                                          Para obtener más información llame a Citibank, N.A. al 1-800-677-0232 (TTY: Use el 711 u otro servicio de                                                                  Ocasionalmente, por ser tarjetahabiente de la Tarjeta de Crédito The Home
                                                                                                                                                                                                                                                                     Depot para el Consumidor, podemos ofrecerle ofertas promocionales de
                                                                                          relé). Los residentes de Nueva York podrán comunicarse con el Departamento de Servicios Financieros del                                                                    intereses diferidos especiales solo por tiempo limitado.
                                                                                          Estado de Nueva York por teléfono al 1-800-342-3736 (TTY: Use el 711 u otro servicio de relé) o visitar su                                                                 Las ofertas promocionales de intereses diferidos incluyen los siguientes tipos
                                                                                          website, www.dfs.ny.gov, para obtener sin cargo información sobre comparación de tasas, cargos y períodos                                                                  de ofertas:
                                                                                          de gracia de tarjetas de crédito.                                                                                                                                          • Sin intereses si la totalidad del pago se efectúa en un plazo de 6 meses
                                                                                                                                                                                                                                                                     • Sin intereses si la totalidad del pago se efectúa en un plazo de 12 meses
                                                                                          Protecciones para los miembros en servicio activo y sus dependientes: Consulte la sección del Contrato de                                                                  • Sin intereses si la totalidad del pago se efectúa en un plazo de 18 meses
                                                                                          Tarjeta titulada “Protecciones para los miembros en servicio activo y sus dependientes”.                                                                                   • Sin intereses si la totalidad del pago se efectúa en un plazo de 24 meses
                                                                                                                                                                                                                                                                     Si el saldo no se paga en su totalidad en o antes de la !nalización del período
                                                                                          CITIBANK, N.A. OTORGA TODO CRÉDITO Y ES PROPIETARIO DE LAS CUENTAS. ESTA OFERTA ESTÁ                                                                                       promocional, se impondrán cargos por intereses a partir de la fecha de la compra
                                                                                                                                                                                                                                                                     a la tasa para compras indicada en las Divulgaciones de la Tarjeta de Crédito The
                                                                                          SUJETA A UNA REVISIÓN FINAL Y, EN ALGUNOS CASOS, ES POSIBLE QUE CITIBANK NO ABRA UNA                                                                                       Home Depot para el Consumidor que se le proporcionarán si recibe la aprobación
                                                                                          CUENTA A SU NOMBRE.                                                                                                                                                        para una cuenta.
                                                                                                                                                   TÉRMINOS Y CONDICIONES DE LA OFERTA                                                                               Estas ofertas no se encuentran disponibles todo el tiempo y pueden limitarse
                                                                                                                                                                                                                                                                     a mercancías especí!cas y/o pueden tener requisitos de compra y de pago
                                                                                          •   Esta oferta es válida para cuentas nuevas únicamente. Debe tener por lo menos 18 años de edad (21 años, si es en Puerto Rico). Si está casado, puede solicitar
                                                                                                                                                                                                                                                                     mínimo que se divulgarán en la oferta.
                                                                                              una cuenta separada. Citibank, N.A. (“nosotros” o “nos”) es el emisor de su cuenta de la Tarjeta de Crédito The Home Depot para el Consumidor. Citibank, N.A.
                                                                                              está localizado en Sioux Falls, SD. Las ofertas de tarjeta de crédito están destinadas para los residentes de los Estados Unidos y sus territorios, y esto no es una   Su contrato de tarjeta, los términos de la oferta y la ley aplicable rigen estas
                                                                                              oferta de la tarjeta de crédito para personas afuera de estos.                                                                                                         transacciones, incluidos los aumentos de las tasas APR y los cargos, así como
                                                                                                                                                                                                                                                                     también la !nalización del período promocional.
                                                                                          •   Para ayudar al gobierno a combatir el !nanciamiento del terrorismo y las actividades de lavado de dinero, las leyes federales exigen a todas las instituciones
                                                                                              !nancieras obtener, veri!car y registrar la información que identi!ca a cada persona que abre una cuenta. Esto signi!ca que le pediremos su nombre, dirección,         © 2022 Citibank, N.A.
                                                                                              fecha de nacimiento y otra información que nos permitirá identi!carle cuando abra una cuenta. También podremos pedirle ver su licencia de conducir u otros                                       Contrato de Tarjeta
                                                                                              documentos que permitan su identi!cación, y obtener información de identi!cación acerca de usted o de cualquier usuario autorizado que agregue a su cuenta.
                                                                                          •   Podemos recopilar información sobre usted, incluyendo de su empleador, su banco, agencias de crédito, y otros, para veri!car su identidad y determinar su              Este Contrato de Tarjeta constituye su contrato con nosotros. Rige el uso de
                                                                                              elegibilidad para obtener crédito, renovación de crédito y extensiones futuras de crédito. Si nos pregunta, le informaremos si hemos solicitado o no un informe de     su tarjeta y de su cuenta. The Home Depot para el Consumidor y el Pase
                                                                                              las agencias de crédito, y los nombres y direcciones de cualquier agencia de crédito que nos proveyera con dichos informes.                                            Provisional para Cargos (“impresión”) forman parte de este Contrato. Lea estos
                                                                                          •   Para recibir una Tarjeta de Crédito The Home Depot para el Consumidor, usted deberá cumplir con nuestros criterios de solvencia crediticia. Su límite de crédito se    documentos con atención. Conserve estos documentos para sus registros.
                                                                                              determinará mediante los ingresos que suministró y una revisión de su deuda, incluida la deuda indicada en su informe de crédito. Se le informará el monto de su
                                                                                              límite de crédito cuando reciba la tarjeta. Algunos límites de crédito podrán ser de tan solo $300.
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                                                                                      6/6/22 1:43 PM                                                                  72100 0622 (RPL) vf.indd 36-37
                                                                                            MANERAS FÁCILES
                                                                                            DE PRESENTAR                                      LA TARJETA DE CRÉDITO
                                                                                            LA SOLICITUD                                      THE HOME DEPOT PARA
                                                                                                                                                EL CONSUMIDOR ES
                                                                                                       EN LA TIENDA                                ACEPTADA EN:
                                                                                                       Pregunte los detalles a un Asociado.
                                                                                                       POR INTERNET
                                                                                                       homedepot.com/credit
                                                                                                       POR DISPOSITIVO MÓVIL
                                                                                                       homedepot.com/credit
                                                                                                                                                 homedecorators.com
   6/6/22 1:43 PM                                                                                                             72100 0622 (RPL) vf.indd 38-39
         Financiamiento                                          Obtenga la tarjeta
         disponible para sus                                     y reciba:
         proyectos de todos los                                                  FINANCIAMIENTO HASTA
                                                                                 24 MESES* DURANTE LAS
         días y para compras                                                     PROMOCIONES ESPECIALES
                                                                                 Cuanto más gaste, más tiempo
                                                                                 podrá tener para pagarnos.
         inesperadas
                                                                                 1 AÑO DE DEVOLUCIONES
                                                                                 SIN COMPLICACIONES
                                                                                 que se acreditan a su tarjeta Home
                    DISPONIBLE TODOS LOS DÍAS                                    Depot.† Eso equivale a 4 veces más
                    Sin intereses si la totalidad del pago                       tiempo para hacer devoluciones, por
                    se efectúa en un plazo de 6 meses*                           el solo hecho de ser tarjetahabiente.
                    en compras de $299 o más. Se cargarán                        COMPRE EN LA
                    a su cuenta intereses a partir de la fecha                   TIENDA SIN SU TARJETA
                    de la compra si el saldo de compras no                       Con una identi!cación válida,
                    se paga en su totalidad en un plazo de                       podemos buscar la información
                                                                                 de su cuenta en la línea de cajas.
                    6 meses.
                                                                                 ADMINISTRE SU CUENTA
                                                                                 A SU MANERA
                                                                                 Vea, administre y pague su
                                                                                 cuenta por Internet.
                                                                                 PROTECCIÓN CONTRA
                                                                                 FRAUDE GARANTIZADA
                                                                                 $0 de responsabilidad en
                                                                                 compras no autorizadas.
                                                                                 AHORRE HASTA $100**
                                                                                 en su compra elegible cuando
                                                                                 abra una nueva cuenta de tarjeta
                                                                                 de crédito con The Home Depot.
                                                                                 Oferta por tiempo limitado.
                                                                 *Consulte en el interior los Términos de la Promoción. †Sujeto a la Política de Devoluciones
                                                                 de The Home Depot. **La oferta es para cuentas nuevas que se abran en la tienda,
                                                                 está sujeta a aprobación de crédito y es válida por tiempo limitado. Esta oferta es
                                                                 canjeable en una compra de un solo recibo por un descuento de $25 en una compra de
                                                                 $25 hasta $299; por un descuento de $50 en una compra de $300 hasta $999; o por un
                                                                 descuento de $100 en una compra de $1,000 o mas dentro de los 30 dias posteriores
                                                                 a la fecha de apertura de su cuenta realizada en tiendas al detalle The Home Depot o
                                                                 en homedepot.com con su Tarjeta de Credito The Home Depot para el Consumidor, la
                                                                 Tarjeta The Home Depot Home Improver, la Tarjeta de Crédito de Pro Xtra, o la Cuenta
                                                                 Comercial The Home Depot. Válida en EE. UU., las Islas Vírgenes de EE. UU., Puerto
                                                                 Rico y Guam. La oferta no se aplica a compras anteriores, a Tarjetas de Regalo de The
                                                                 Home Depot, a Tarjetas o Certi!cados de Regalo de terceros, a productos o servicios de
                                                                 instalación adquiridos en el hogar, a Alquiler de Herramientas, ni a productos y estilos
                                                                 de comercialización Weber®, Bona®, Simplehuman®, Dacor®, Viking®, Fisher & Paykel®,
                                                                 Sharp Insight™, Delonghi®, Buckhaven, Lynx®, Alfresco™, OCI, Marvel®, Bertazzoni, Aga,
                                                                 Vent-A-Hood®, Samsung Chef Collection, Bosch Benchmark® Series, Liebherr, Zephyr,
                                                                 Miele, Signature Kitchen Suite, Jenn-Air®, Thermador®, JELD-WEN® Door Systems y
                                                                 Monogram. No se puede combinar con otros descuentos; pregunte los detalles a un
                                                                 Asociado.
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                             72100 0622




                                             hoy mismo!
                                             ¡Obtenga la tarjeta




                              TODOS LOS DÍAS
                              DISPONIBLE
                              FINANCIAMIENTO
                             para el Consumidor
                             Folleto de Crédito

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                            Exhibit “2”
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                                            Consumer Credit
                                            Brochure
                                                                              Job Number:
                                                                              HD220273

                                                                              Description:
                                                                              Consumer Applications –
                                                                              Bilingual Application




                           FINANCING
                                                                              SPECIFICATIONS:
                                                                              Flat size:
                                                                              7.75” x 8.375”
                                                                              Colors (this page):
                                                                                C M Y K




                           AVAILABLE
                                                                                 Pantone 165



                                                                              Tweyen Inc.




                           EVERY DAY
                                                                              320 W. Northwest Highway
                                                                              Arlington Heights, IL 60004
                                                                              (847) 749-0143




                           Get the card today!

                                                          72100 0622




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            Financing                                               Get the card
            available for your                                      and receive:
            everyday projects                                                       UP TO 24-MONTH FINANCING*
                                                                                    DURING SPECIAL PROMOTIONS
            and unplanned                                                           The more you spend, the longer
                                                                                    you may have to pay us back.

            purchases                                                              1-YEAR HASSLE-FREE RETURNS
                                                                                   credited back to your Home Depot card.†
                                                                                   That’s 4X longer for returns, just for being
                                                                                   a cardmember.
                     AVAILABLE EVERY DAY
                     No interest if paid in full within 6 months*                  SHOP IN-STORE
                     on purchases of $299 or more. Interest                        WITHOUT YOUR CARD
                     will be charged to your account from the                      With a valid ID, we can look up your
                     purchase date if the purchase balance                         account information at checkout.
                     is not paid in full within 6 months.
                                                                                    MANAGE YOUR
                                                                                    ACCOUNT YOUR WAY
                                                                                    View, manage, and pay your
                                                                                    account online.

                                                                                    FRAUD PROTECTION
                                                                                    GUARANTEE
                                                                                    $0 liability on unauthorized charges.

                                                                                    SAVE UP TO $100**
                                                                                    on your qualifying purchase when you
                                                                                    open a new credit card account with
                                                                                    The Home Depot. Limited time offer.

                                                                    *See Promotion Terms inside. †Subject to The Home Depot Return Policy exceptions.
                                                                    **Offer is for new accounts opened in store or online, is subject to credit approval
                                                                    and valid for a limited time. This offer is redeemable for either a $25 discount on a single-
                                                                    receipt purchase of $25 up to $299, a $50 discount on a single-receipt purchase of $300
                                                                    up to $999 or a $100 discount on a single-receipt purchase of $1,000 or more within 30
                                                                    days of your account open date at The Home Depot retail stores or homedepot.com when
                                                                    made exclusively with your The Home Depot Consumer Credit Card, The Home Depot
                                                                    Home Improver Card, the Pro Xtra Credit Card or The Home Depot Commercial Account.
                                                                    Valid in the U.S., U.S.V.I., Puerto Rico and Guam. Offer does not apply to prior purchases,
                                                                    The Home Depot Gift Cards or Certi!cates, third party gift cards, installation products or
                                                                    services purchased in home, Tool Rental or to Weber®, Bona®, Simplehuman®, Dacor®,
                                                                    Viking®, Fisher & Paykel®, Sharp Insight™, Delonghi®, Buckhaven, Lynx®, Alfresco™, OCI,
                                                                    Marvel®, Bertazzoni, Aga, Vent-A-Hood®, Samsung Chef Collection, Bosch Benchmark®
                                                                    Series, Liebherr, Zephyr, Miele, Signature Kitchen Suite, Jenn-Air®, Thermador®, JELD-
                                                                    WEN® Door Systems, Monogram products and trade styles. May not be combined with
                                                                    other discounts; ask an Associate for details.



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        EASY WAYS                                           THE HOME DEPOT
        TO APPLY                                         CONSUMER CREDIT CARD
                                                             IS WELCOME AT:
                         IN STORE
                         Ask an Associate for details.


                         ONLINE
                         homedepot.com/credit


                         MOBILE
                         homedepot.com/credit




                                                            homedecorators.com




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                                   THE HOME DEPOT CONSUMER CREDIT CARD DISCLOSURES                                                                                           • Please see the Card Agreement for important information.
                                                                                                                                                                             • Notice to Ohio Residents: The Ohio laws against discrimination
    Interest Rates and Interest Charges                                                                                                                                        require that all creditors make credit equally available to all creditworthy
    Annual Percentage Rate                                                                                                                                                     customers, and that credit reporting agencies maintain separate
    (APR) for Purchases
                                                 17.99%, 21.99%, 25.99%, or 26.99%,                                                                                            credit histories on each individual upon request. The Ohio Civil Rights
                                                 based on your creditworthiness.                                                                                               Commission administers compliance with this law.
                                                 See the Temporary Charge Pass for the purchase APR for your account.                                                        • Notice to Wisconsin Residents: No marital property agreement,
                                                                                                                                                                               unilateral statement, or court decree adversely affects our rights, unless
    How to Avoid Paying                          Your due date is at least 25 days after the close of each billing cycle.                                                      you give us a copy of such agreement, statement or court order before
    Interest on Purchases                        We will not charge you any interest on purchases if you pay your entire                                                       we grant you credit, or we have actual knowledge of its terms before your
                                                 balance by the due date each month.                                                                                           account is opened.

    Minimum Interest Charge                      If you are charged interest, the charge will be no less than $2.00.                                                                                    PROMOTION TERMS
                                                                                                                                                                             NO INTEREST IF PAID IN FULL WITHIN PROMOTIONAL PERIOD* on
    For Credit Card Tips from                    To learn more about factors to consider when applying for or using                                                          qualifying purchases. Interest will be charged to your account from the purchase
    the Consumer Financial                       a credit card, visit the website of the Consumer Financial Protection                                                       date if the purchase balance is not paid in full within the promotional period.
    Protection Bureau                            Bureau at http://www.consumer! nance.gov/learnmore
                                                                                                                                                                              *With credit approval for qualifying purchases made on The Home Depot
    Fees                                                                                                                                                                      Consumer Credit Card. APR: 17.99%- 26.99%. Minimum interest charge:
    Annual Fee                                   None                                                                                                                         $2. See card agreement for details including APR applicable to you. Offer
                                                                                                                                                                              valid for consumer accounts in good standing; 6 months everyday credit offer
    Penalty Fees                                                                                                                                                              is subject to change without notice; see store for details.
     • Late Payment                              Up to $40                                                                                                                   © 2022 Citibank, N.A.
  How We Will Calculate Your Balance: We use a method called “daily balance (including current
  transactions).” See the Card Agreement for more details.                                                                                                                     DEFERRED INTEREST PROMOTIONAL INFORMATION
  Billing Rights: Information on your rights to dispute transactions and how to exercise those rights is                                                                     From time to time as a The Home Depot Consumer Credit Cardholder, you may
  provided in the Card Agreement.                                                                                                                                            be offered special limited time only deferred interest promotional offers.
                                                                                                                                                                             Deferred interest promotional offers include the following types of offers:
  For more information call Citibank, N.A. at 1-800-677-0232 (TTY: Use 711 or other Relay Service). New
                                                                                                                                                                             • No Interest if paid in full within 6 months
  York residents may contact the New York State Department of Financial Services by telephone, 1-800-
                                                                                                                                                                             • No Interest if paid in full within 12 months
  342-3736 (TTY: Use 711 or other Relay Service), or visit its website, www.dfs.ny.gov, for free information
  on comparative credit card rates, fees and grace periods.                                                                                                                  • No Interest if paid in full within 18 months
                                                                                                                                                                             • No Interest if paid in full within 24 months
  Protections for Active Duty Service Members and Their Dependents: Please see the section of the Card                                                                       If the balance is not paid in full by the end of the promotional period, interest
  Agreement entitled “Protections for Active Duty Service Members and Their Dependents.”                                                                                     charges will be imposed from the purchase date at the purchase rate listed in The
                                                                                                                                                                             Home Depot Consumer Credit Card Disclosures you will be provided if you are
                                                                                                                                                                             approved for an account.
   ALL CREDIT IS GRANTED AND ACCOUNTS ARE OWNED BY CITIBANK, N.A. THIS OFFER IS SUBJECT
    TO FINAL REVIEW AND IN SOME INSTANCES CITIBANK MAY NOT OPEN AN ACCOUNT FOR YOU.                                                                                          These offers are not available all the time and may be limited to speci!c
                                                                                                                                                                             merchandise and/or have minimum payment and purchase requirements as
                                                            TERMS AND CONDITIONS OF OFFER                                                                                    disclosed in the offer.
  • This offer is only valid for new accounts. You must be at least 18 years of age (21 years of age in Puerto Rico). If you are married, you may apply for a separate
                                                                                                                                                                             Your card agreement, the terms of the offer and applicable law govern these
    account. Citibank, N.A. (“we” or “us”) is the issuer of your The Home Depot Consumer Credit Card account. Citibank, N.A. is located in Sioux Falls, SD. Credit
                                                                                                                                                                             transactions including increasing APRs and fees and termination of the
    card offers are intended for residents of, and this is not an offer for the credit card to individuals outside of, the United States and its Territories.
                                                                                                                                                                             promotional period.
  • To help the government !ght the funding of terrorism and money laundering activities, federal law requires all !nancial institutions to obtain, verify, and record
    information that identi!es each person who opens an account. This means that we will ask for your name, address, date of birth, and other information that               © 2022 Citibank, N.A.
    will allow us to identify you when you open an account. We may also ask to see your driver’s license or other identifying documents; and obtain identi!cation                                        Card Agreement
    information about you or any authorized user you add to your account.                                                                                                    This Card Agreement is your contract with us. It governs the use of your
  • We may gather information about you, including from your employer, your bank, credit bureaus, and others, to verify your identity and determine your                     card and account. The Home Depot Consumer Credit Card Disclosures and
    eligibility for credit, renewal of credit, and future extensions of credit. If you ask us, we will tell you whether or not we requested a credit bureau report and the   Temporary Charge Pass (“printout”) are part of this Agreement. Please read
    names and addresses of any credit bureaus that provided us with such reports.
                                                                                                                                                                             these documents carefully. Keep these documents for your records.
  • To receive a The Home Depot Consumer Credit Card, you must meet our applicable criteria bearing on creditworthiness. Your credit limit will be determined
    by the income you provided and a review of your debt, including the debt listed on your credit report. You will be informed of the amount of your credit limit                                        De!nitions
    when you receive your card. Some credit limits may be as low as $300.                                                                                                    account means the relationship established between you and us by this
  • You authorize us to share with The Home Depot and its af!liates experiential and transactional information regarding your activity with us.                              Agreement.



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      APR means an annual percentage rate.                                                                                          APRs
      authorized user means any person you allow to use your account.                             Regular Purchase APR. See printout.
      card means one or more cards or other access devices that we give you to get                Effect of APR Increases. If an APR increases, interest charges increase. Your
      credit under this Agreement. This includes account numbers.                                 minimum payment may increase as well.
      we, us, and our mean Citibank, N.A., the issuer of your account. Citibank, N.A.                                               Promotions
      is located in Sioux Falls, SD.                                                              We may offer promotional terms for all or a part of any balances. Any promotional
      you, your, and yours mean the person who applied to open the account. It also               terms may apply for a limited period of time. They will be governed by the terms
      means any other person responsible for complying with this Agreement.                       of the promotional offer and this Agreement. Your promotional terms will end
                                          Your Account                                            when the promotional period expires or, to the extent permitted by law, if you
      You agree to use your account in accordance with this Agreement. You must                   make a late payment. The promotional offer will tell you if we require a separate
      pay us for all amounts due on your account. This Agreement is binding on you                minimum payment on the promotional balance.
      unless you close your account within 30 days after receiving the card and you               If a promotional offer is a deferred interest offer, no interest charges will be
      have not used or authorized use of the card. Your account must only be used                 imposed on the deferred interest balance if you pay the balance in full by
      for lawful transactions.                                                                    the end of the promotional period for that deferred interest balance. We will
      Authorized Users. You may request cards for authorized users. You must pay                  impose interest charges on the deferred interest balance at the APR for regular
      us for any charges they make even if you did not intend to be responsible for               purchases from the date of purchase if you do not pay the balance in full by the
      those charges. You agree that they may receive information about the account,               end of the promotional period.
      subject to any limitations we impose. You must tell us if you no longer want them                                  Interest Charges Based on APRs
      to use your account.                                                                        Interest Charges. We impose interest charges when we apply APRs to your
      Joint Accounts. If this is a joint account, each of you is responsible individually         account balances. We do this every day by using a daily periodic rate. To get a
      and together for all amounts owed. Each of you is responsible even if the account           daily periodic rate, we divide the APR by 365.
      is used by only one of you. You will continue to be liable for the entire balance of        When Interest Charges Begin. We begin to impose interest charges the !rst day
      the account, even if your co-applicant is ordered by a court to pay us. You will            we add a charge to a daily balance. The charges we add to a daily balance include
      remain liable to us if your co-applicant fails to pay as ordered by the court. Your         purchases, interest charges and fees. We continue to impose interest charges until
      account status will continue to be reported to the credit bureau under each of              we credit your account with full payment of the total amount you owe us.
      your names. The delivery of notices or billing statements to either of you serves           Grace Period on Purchases. You can avoid interest charges on purchases.
      as delivery to each of you. We may rely on instructions given by either of you. We          This is called a grace period on purchases. The grace period is at least 25 days.
      are not liable to either of you for relying upon such instructions.                         To get a grace period on purchases, you must pay the New Balance by the
      Credit Limit. Your initial credit limit is on the printout. After that, your credit limit   payment due date every billing cycle. If you do not, you will not get a grace period
      appears on your billing statement. The full amount of your credit limit is available        until you pay the New Balance for two billing cycles in a row.
      to use where the card is honored. We may reduce or increase your credit limit at            If you have a balance subject to a deferred interest promotion and that promotion
      any time for any reason as permitted by law. We will notify you of any change,              does not expire before the payment due date, that balance (an “excluded
      but the change may take effect before you receive the notice. You should always             balance”) is excluded from the amount you must pay in full to get a grace period
      keep your total balance below the credit limit. However, if the total balance goes          on a purchase balance other than an excluded balance. However, you must still
      over your credit limit you still must pay us. If your account has a credit balance,         pay any separately required payment on the excluded promotional balance. In
      we may reduce the credit balance by any new charges on your account. You may                billing cycles in which payments are allocated to deferred interest balances !rst,
      not maintain a credit balance in excess of your credit limit.                               the deferred interest balance will be reduced before any other balance on the
      Billing Statement. Your billing statement shows the New Balance. This is the                account. However, you will continue to get a grace period on purchases, other
      total amount you owe us on the Statement Closing Date. To determine the New                 than an excluded balance so long as you pay the New Balance less any excluded
      Balance, we begin with the total balance at the start of the billing cycle. We add          balance, plus any separately required payment on an excluded balance, in full by
      any purchases. We subtract any credits or payments. We then add any interest                the payment due date each billing cycle.
      charges or fees and make other adjustments.                                                 In addition, certain promotional offers may take away the grace period on
      Your billing statement also shows your transactions; the Minimum Payment Due                purchases. Other promotional offers not described above may also allow you
      and payment due date; your credit limit; and your interest charges and fees. On             to have a grace period on purchases without having to pay all or a portion of
      the billing statement, a regular purchase balance will appear under the heading             the promotional balance by the payment due date. If either is the case, the
      “regular revolve credit plan.”                                                              promotional offer will describe what happens.
      We deliver a billing statement to only one address. You must notify Customer                Calculation of Interest Charges – Daily Balance Method (Including
      Service of a change in address. We may stop sending you statements if we                    Current Transactions). We calculate interest charges each billing cycle. To
      deem your account uncollectible or start collection proceedings; but we may                 do this:
      continue to add interest and fees as permitted by law.



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        • We start with each of your different balances. These balances include, for               prior billing cycles on a deferred interest balance that ended during the
            example, regular purchases and different promotional balances. (When                   billing cycle covered by the statement.
            we calculate interest charges, we treat each deferred interest transaction       The Calculated New Balance equals the New Balance on the billing statement
            separately even if it has the same terms as another deferred interest            less balances subject to the Promotion Calculation and less any balances
            transaction.)                                                                    subject to either of two types of promotional terms. The !rst type are terms that
        • We calculate the daily balance for each of your different balances. To get a       do not require a minimum payment. The second type are terms that require an
            daily balance, we start with the balance as of the end of the previous day.      additional amount as part of the Minimum Payment Due.
            We add any interest charge on the previous day’s balance. (This results          If you have a deferred interest transaction balance subject to the Promotion
            in daily compounding of interest charges.) We add any new charges. We            Calculation, the Promotion Calculation will equal 1% of this balance during
            then subtract any new credits or payments.                                       the promotion period. (The result is rounded up to the nearest cent.) After the
        • We multiply each daily balance by the daily periodic rate that applies to it.      promotion period, any such remaining promotional balance will be included in
            We do this for each day in the billing cycle. This gives us the daily interest   the Calculated New Balance. The Promotion Calculation will apply if, based on
            charges for each of your different balances.                                     the amount of the transaction as shown on the !rst statement that displays the
        • We add up all the daily interest charges. The sum is the total interest            transaction and the dollar amount in the Minimum Payment Due calculation
            charge for the billing cycle.                                                    in effect at the time of the transaction, we determined that paying such dollar
        • You authorize us to round interest charges to the nearest cent.                    amount each billing cycle would result in repayment of the promotional balance
                                                                                             before the end of the promotion period.
      When we calculate daily balances, we add a purchase as of the Transaction
      Date. The Transaction Date is shown on the billing statement. We subtract a            The Minimum Payment Due may re!ect adjustments to the New Balance. The
      payment or credit as of the day it is credited to the account and then make other      Minimum Payment Due is never more than the Calculated New Balance plus two
      adjustments. We treat a credit balance as a balance of zero.                           amounts. The !rst is any amount required by a promotional offer. The second is
                                                                                             any amount required by the Promotion Calculation.
      Minimum Interest Charge. If we charge you interest, the charge will be no
      less than $2. We add the charge to the regular purchase balance or allocate it         Application of Payments. Payments in excess of the Minimum Payment Due
      among one or more of the balances that accrues interest.                               are applied in accordance with law. This means that we will generally apply
                                                                                             payments in excess of the Minimum Payment Due to higher APR balances !rst.
      Balance Subject to Interest Rate. Your statement shows a Balance Subject
                                                                                             However, excess payments received before a deferred interest promotion expires
      to Interest Rate. It shows this for each different balance. The Balance Subject
                                                                                             are applied to the deferred interest promotional balance !rst in the last two billing
      to Interest Rate is the average of the daily balances during the billing cycle. A
                                                                                             cycles of the promotional period. And, if the expiration date of a deferred interest
      billing cycle begins on the day after the Statement Closing Date of the previous
                                                                                             promotion is before the payment due date in the billing cycle in which the deferred
      billing cycle. It includes the Statement Closing Date of the current billing cycle.
                                                                                             interest promotion expires, excess payments received before the deferred interest
                                           Fees                                              promotion expires are applied to the deferred interest promotional balance !rst in
      Late Fee. We may add a late fee for each billing cycle in which you have a past        the last three billing cycles of the promotional period. Payments equal to or less
      due payment. For late fee purposes, you have a past due payment any time you           than the Minimum Payment Due and credits are applied at our discretion and
      fail to pay the Minimum Payment Due by the payment due date. The fee will              you authorize us to apply payments and credits in a way that is most favorable or
      be $29; or $40 for any additional past due payment during the next six billing         convenient for us. This may include applying such payments and credits to lower
      cycles after a past due payment. However, the fee will not exceed the amount           APR balances !rst.
      permitted by law. We add this fee to the regular purchase balance.
                                                                                             Payment Instructions. We credit your payments in accordance with our
                                         Payments                                            payment instructions on the billing statement. You must pay us in U.S. dollars.
      Making Payments. You may pay all or part of your account balance at any                To do so, you must use a check, similar instrument, or electronic debit that
      time. However, you must pay at least the Minimum Payment Due by the payment            is drawn on and honored by a bank in the U.S. Do not send cash. We can
      due date each billing cycle. The sooner you pay the New Balance, the less you          accept late or partial payments, or payments that re!ect “paid in full” or other
      will pay in interest charges.                                                          restrictive endorsements, without losing our rights. We also reserve the right to
      We calculate the Minimum Payment Due as follows. We begin with any past due            accept payments made in foreign currency and instruments drawn on funds on
      amount. We add any amount speci!ed in a promotional offer. We add any amount           deposit outside the U.S. If we do, we select the currency conversion rate. We
      required by the Promotion Calculation. We also add the largest of the following:       will then credit your account in U.S. dollars after deducting any costs incurred in
        • The Calculated New Balance if it is less than $29;                                 processing your payment. Or we may bill you separately for these costs.
        • $29 if the Calculated New Balance is at least $29; or                              Optional Pay by Phone Service. You may use our optional Pay by Phone Service
        • 1% of the Calculated New Balance plus the amount of your billed interest           to make your payment by phone. To do so, call us to request the service. You agree
           charges on that balance, any minimum interest charge allocated to that            to pay us the Pay by Phone fee shown in the Pay by Phone section on the back of
           balance, and any applicable late fee. (The result is rounded up to the            the billing statement when a representative of ours helps expedite your payment.
           nearest dollar.) However, we subtract interest charges that accrued during        Our representatives are trained to tell you this amount when you use this service.




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                                      Credit Reporting                                        prior notice to you. We may also reissue a different card at any time. You must
      We may report information about your account to credit bureaus. Late payments,          return any card to us upon request.
      missed payments, or other defaults on your account may be re!ected in your                Protections for Active Duty Service Members and Their Dependents
      credit report. We may report account information in your name and the names of          Protections. Federal law provides important protections to members of the
      authorized users. We may also obtain follow-up credit reports on you.                   Armed Forces and their dependents relating to extensions of consumer credit.
      If you think we reported incorrect information to a credit bureau, write us at          In general, the cost of consumer credit to a member of the Armed Forces and his
      the Customer Service address on the billing statement. We will investigate the          or her dependent may not exceed an annual percentage rate of 36 percent. This
      matter. We will then tell you if we agree or disagree with you. If we agree with        rate must include, as applicable to the credit transaction or account: The costs
      you, we will contact each credit bureau to which we reported and request a              associated with credit insurance premiums; fees for ancillary products sold in
      correction. If we disagree with you, we will tell you that.                             connection with the credit transaction; any application fee charged (other than
                                  Information Sharing                                         certain application fees for speci!ed credit transactions or accounts); and any
      You authorize us to share information about you as permitted by law. This               participation fee charged (other than certain participation fees for a credit card
      includes information we get from you and others. It also includes information           account). You are entitled to these protections if you are a Covered Borrower,
      about your transactions with us. Please see our Privacy Notice for details about        as de!ned below.
      our information sharing practices.                                                      Covered Borrower. You are a Covered Borrower if, in connection with the
                             Changes to this Agreement                                        opening of your account, we determine you are an active duty member of the
      We may change the rates, fees, and terms of this Agreement from time                    Armed Forces (including active Guard and Reserve duty) or a dependent of an
      to time as permitted by law. The changes may add, replace, or remove                    active duty member. You will cease to be a Covered Borrower if we determine
      provisions of this Agreement. We will give you advance written notice of                you are no longer an active duty member of the Armed Forces (including active
      the changes and a right to opt out to the extent required by law.                       Guard and Reserve duty) or a dependent of an active duty member.
                                                                                              Oral Disclosures. If you are a Covered Borrower, you may obtain information
                                           Default
                                                                                              related to your account, including information about these protections and your
      You default under this Agreement if you fail to pay the Minimum Payment Due by
                                                                                              payment obligation, by calling 1-877-625-6379 (TTY: Use 711 or other Relay
      its due date; go over your credit limit; pay by a check or similar instrument that
                                                                                              Service).
      is not honored or that we must return because it cannot be processed; pay by
                                                                                              Arbitration. The section of the Card Agreement entitled “ARBITRATION”
      electronic debit that is returned unpaid; !le for bankruptcy; or fail to comply with
                                                                                              does not apply if you are a Covered Borrower at the time your account
      the terms of this Agreement. If you default, we may close your account and, to
                                                                                              is opened.
      the extent permitted by law, demand immediate payment of the total balance.
                                                                                                                       ARBITRATION
            Refusal of the Card, Closed Accounts, and Related Provisions
                                                                                              PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY.
      Refusal of the Card. We do not guarantee approval of transactions. We are
      not liable for transactions that are not approved. That is true even if you have        THIS SECTION PROVIDES THAT DISPUTES MAY BE RESOLVED BY
      enough credit. We may limit the number of transactions approved in one day. If          BINDING ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO
      we detect unusual or suspicious activity, we may suspend your credit privileges.        TO COURT, HAVE A JURY TRIAL OR INITIATE OR PARTICIPATE IN A
                                                                                              CLASS ACTION. IN ARBITRATION, DISPUTES ARE RESOLVED BY AN
      Preauthorized Charges. We may suspend any automatic or other
      preauthorized card charges you arrange with a third party. We may do this if you        ARBITRATOR, NOT A JUDGE OR JURY. ARBITRATION PROCEDURES
      default; if the card is lost or stolen; or we change your account for any reason.       ARE SIMPLER AND MORE LIMITED THAN IN COURT. THIS ARBITRATION
      If we do this, you are responsible for paying the third party directly if you wish to   PROVISION IS GOVERNED BY THE FEDERAL ARBITRATION ACT (FAA),
                                                                                              AND SHALL BE INTERPRETED IN THE BROADEST WAY THE LAW WILL
      do so. You are also responsible for reinstating the preauthorized charges if you
                                                                                              ALLOW.
      wish to do so and we permit it.
      Lost or Stolen Cards or Account Numbers. You must call us if any card or                                                  Covered claims
      account number is lost or stolen. You must also call us if you think someone            • You or we may arbitrate any claim, dispute or controversy between you and
      used or may use them without permission. When you call, we may require you                   us arising out of or related to your account, a previous related account or
      to provide information to help our investigation. We may require you to provide              our relationship (called “Claims”).
      this information in writing. For example, we may ask you to identify any charges        • If arbitration is chosen by any party, neither you nor we will have the
      that were not made by you or someone authorized by you. We may also ask you                  right to litigate that Claim in court or have a jury trial on that Claim.
      to con!rm that you received no bene!t from those charges.                               Except as stated below, all Claims are subject to arbitration, no matter what legal
      Closing Your Account. You may close your account by notifying us in writing             theory they’re based on or what remedy (damages, or injunctive or declaratory
      or over the phone. If you close your account, you must still repay the total            relief) they seek, including Claims based on contract, tort (including intentional
      balance in accordance with this Agreement. We may also close your account or            tort), fraud, agency, your or our negligence, statutory or regulatory provisions,
      suspend account privileges at any time for any reason. We may do this without           or any other sources of law; Claims made as counterclaims, cross-claims, third-
                                                                                              party claims, interpleaders or otherwise; Claims made regarding past, present,



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      or future conduct; and Claims made independently or with other claims. This             award shall decide the rights and obligations only of the parties named in the
      also includes Claims made by or against anyone connected with us or you or              arbitration, and shall not have any bearing on any other person or dispute.
      claiming through us or you, or by someone making a claim through us or you,
                                                                                                                   Paying for arbitration fees
      such as a co-applicant, authorized user, employee, agent, representative or an
                                                                                           • We will pay your share of the arbitration fee for an arbitration of Claims of
      af!liated/parent/subsidiary company.
                                                                                             $75,000 or less if they are unrelated to debt collection. Otherwise, arbitration
                                    Arbitration limits                                       fees will be allocated according to the applicable AAA Rules. If we prevail,
      • Individual Claims !led in a small claims court are not subject to arbitration,       we may not recover our arbitration fees, unless the arbitrator decides your
        as long as the matter stays in small claims court.                                   Claim was frivolous. All parties are responsible for their own attorney’s fees,
      • We won’t initiate arbitration to collect a debt from you unless you choose to        expert fees and any other expenses, unless the arbitrator awards such fees
        arbitrate or assert a Claim against us. If you assert a Claim against us, we         or expenses to you or us based on applicable law.
        can choose to arbitrate, including actions to collect a debt from you. You may                                    The !nal award
        arbitrate on an individual basis Claims brought against you, including Claims      • Any award by an arbitrator is !nal unless a party appeals it in writing to
        to collect a debt.                                                                   the AAA within 30 days of notice of the award. The arbitration appeal shall
      • Claims brought as part of a class action, private attorney general or other          be determined by a panel of 3 arbitrators. The panel will consider all facts
        representative action can be arbitrated only on an individual basis. The             and legal issues anew based on the same evidence presented in the prior
        arbitrator has no authority to arbitrate any claim on a class or representative      arbitration, and will make decisions based on a majority vote. Arbitration
        basis and may award relief only on an individual basis. If arbitration is chosen     fees for the arbitration appeal shall be allocated according to the applicable
        by any party, neither you nor we may pursue a Claim as part of a class               AAA Rules. An award by a panel on appeal is !nal. A !nal award is subject
        action or other representative action. Claims of 2 or more persons may not           to judicial review as provided by applicable law.
        be combined in the same arbitration. However, applicants, co-applicants,
                                                                                                                 Survival and Severability of Terms
        authorized users on a single account and/or related accounts, or corporate
                                                                                           This arbitration provision shall survive changes in this Agreement and termination
        af!liates are here considered as one person.
                                                                                           of the account or the relationship between you and us, including the bankruptcy
                                  How arbitration works                                    of any party and any sale of your account, or amounts owed on your account, to
      • Arbitration shall be conducted by the American Arbitration Association             another person or entity. If any part of this arbitration provision is deemed invalid
        (“AAA”) according to this arbitration provision and the applicable AAA             or unenforceable, the other terms shall remain in force, except that there can be
        arbitration rules in effect when the claim is !led (“AAA Rules”), except where     no arbitration of a class or representative Claim. This arbitration provision may
        those rules con!ict with this arbitration provision. You can obtain copies of      not be amended, severed or waived, except as provided in this Agreement or in
        the AAA Rules at the AAA’s website (www.adr.org) or by calling 800-778-            a written agreement between you and us.
        7879 (TTY: Use 711 or other Relay Service). You or we may choose to have
                                                                                                          Rules for rejecting this arbitration provision
        a hearing, appear at any hearing by phone or other electronic means, and/or
                                                                                           You may reject this arbitration provision by sending a written rejection notice to
        be represented by counsel. Any in-person hearing will be held in the same
                                                                                           us at: P.O. Box 790340, St. Louis, MO 63179. Your rejection notice must be
        city as the U.S. District Court closest to your billing address.                   mailed within 45 days of account opening. Your rejection notice must state that
      • Arbitration may be requested any time, even where there is a pending               you reject the arbitration provision and include your name, address, account
        lawsuit, unless a trial has begun or a !nal judgment entered. Neither you          number and personal signature. No one else may sign the rejection notice. Your
        nor we waive the right to arbitrate by !ling or serving a complaint, answer,       rejection notice will not apply to the arbitration provision(s) governing any other
        counterclaim, motion, or discovery in a court lawsuit. To choose arbitration,      account(s) that you have or had with us. Rejection of this arbitration provision
        a party may !le a motion to compel arbitration in a pending matter and/or          won’t affect your other rights or responsibilities under this Agreement, including
        commence arbitration by submitting the required AAA forms and requisite            use of the account.
        !ling fees to the AAA.
                                                                                                            Governing Law and Enforcing our Rights
      • The arbitration shall be conducted by a single arbitrator in accord with this
        arbitration provision and the AAA Rules, which may limit discovery. The            Governing Law. Federal law and the law of South Dakota, where we are
        arbitrator shall not apply any federal or state rules of civil procedure for       located, govern the terms and enforcement of this Agreement.
        discovery, but the arbitrator shall honor claims of privilege recognized at        Enforcing this Agreement. We will not lose our rights under this Agreement
        law and shall take reasonable steps to protect account information and             because we delay in enforcing them or fail to enforce them.
        other con!dential information of either party if requested to do so. The           Collection Costs. To the extent permitted by law, you are liable to us for our
        arbitrator shall apply applicable substantive law consistent with the FAA and      legal costs if we refer collection of your account to a lawyer who is not our
        applicable statute of limitations, and may award damages or other relief           salaried employee. These costs may include reasonable attorneys’ fees. They
        under applicable law.                                                              may also include costs and expenses of any legal action.
      • The arbitrator shall make any award in writing and, if requested by you or us,     Assignment. We may assign any or all of our rights and obligations under this
        may provide a brief statement of the reasons for the award. An arbitration         Agreement to a third party.



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                                 For Further Information                                      report you as delinquent without also reporting that you are questioning your bill.
      Call us toll-free for further information. Call the toll-free Customer Service          We must tell you the name of anyone to whom we reported you as delinquent,
      telephone number shown on the billing statement or on the back of your card.            and we must let those organizations know when the matter has been settled
      You can also call local or toll-free Directory Assistance to get our telephone          between us.
      number.                                                                                 If we do not follow all of the rules above, you do not have to pay the !rst $50 of
                                   Your Billing Rights:                                       the amount you question even if your bill is correct.
                          Keep this Document for Future Use                                      Your Rights If You Are Dissatis!ed With Your Credit Card Purchases
      This notice tells you about your rights and our responsibilities under the Fair         If you are dissatis!ed with the goods or services that you have purchased with
      Credit Billing Act.                                                                     your credit card, and you have tried in good faith to correct the problem with
                   What To Do If You Find A Mistake On Your Statement                         the merchant, you may have the right not to pay the remaining amount due on
      If you think there is an error on your statement, write to us at the address for        the purchase.
      billing inquiries and correspondence shown on the front of your statement.              To use this right, all of the following must be true:
      In your letter, give us the following information:                                         1. The purchase must have been made in your home state or within 100
         • Account information: Your name and account number.                                       miles of your current mailing address, and the purchase price must
         • Dollar amount: The dollar amount of the suspected error.                                 have been more than $50. (Note: Neither of these are necessary if your
                                                                                                    purchase was based on an advertisement we mailed to you, or if we own
         • Description of problem: If you think there is an error on your bill, describe
                                                                                                    the company that sold you the goods or services.)
            what you believe is wrong and why you believe it is a mistake.
                                                                                                 2. You must have used your credit card for the purchase. Purchases made
      You must contact us:
                                                                                                    with cash advances from an ATM or with a check that accesses your
         • Within 60 days after the error appeared on your statement.
                                                                                                    credit card account do not qualify.
         • At least 3 business days before an automated payment is scheduled,
                                                                                                 3. You must not yet have fully paid for the purchase.
            if you want to stop payment on the amount you think is wrong.
                                                                                              If all of the criteria above are met and you are still dissatis!ed with the purchase,
      You must notify us of any potential errors in writing. You may call us, but if you
                                                                                              contact us in writing at the address for billing inquiries and correspondence
      do we are not required to investigate any potential errors and you may have to
                                                                                              shown on the front of your statement.
      pay the amount in question.
                                                                                              While we investigate, the same rules apply to the disputed amount as discussed
                      What Will Happen After We Receive Your Letter                           above. After we !nish our investigation, we will tell you our decision. At that
      When we receive your letter, we must do two things:                                     point, if we think you owe an amount and you do not pay, we may report you
         1. Within 30 days of receiving your letter, we must tell you that we received        as delinquent.
            your letter. We will also tell you if we have already corrected the error.        © 2022 Citibank, N.A.
         2. Within 90 days of receiving your letter, we must either correct the error or
            explain to you why we believe the bill is correct.
      While we investigate whether or not there has been an error:
         • We cannot try to collect the amount in question, or report you as
            delinquent on that amount.
         • The charge in question may remain on your statement, and we may
            continue to charge you interest on that amount.
         • While you do not have to pay the amount in question, you are responsible
            for the remainder of your balance.
         • We can apply any unpaid amount against your credit limit.
      After we !nish our investigation, one of two things will happen:
         • If we made a mistake: You will not have to pay the amount in question
            or any interest or other fees related to that amount.
         • If we do not believe there was a mistake: You will have to pay the amount
            in question, along with applicable interest and fees. We will send you a
            statement of the amount you owe and the date payment is due. We may
            then report you as delinquent if you do not pay the amount we think you
            owe.
      If you receive our explanation but still believe your bill is wrong, you must write
      to us within 10 days telling us that you still refuse to pay. If you do so, we cannot
                                                                                                                                                                      72100 0622



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                                                                                    PNHDEX 03/21
         FACTS                 WHAT DOES CITIBANK DO WITH                                             Who we are
                               YOUR PERSONAL INFORMATION?                                             Who is providing This notice is provided by the retail partner cards group of Citibank,
         Why?                  Financial companies choose how they share your personal                this notice?     N.A., the bank that issues your credit card.
                               information. Federal law gives consumers the right to limit some
                               but not all sharing. Federal law also requires us to tell you how we   What we do
                               collect, share, and protect your personal information. Please read     How does              To protect your personal information from unauthorized access
                               this notice carefully to understand what we do.                        Citibank protect      and use, we use security measures to comply with federal law.
                                                                                                      my personal           These measures include computer safeguards and secured !les
         What?                 The types of personal information we collect and share depend          information?          and buildings.
                               on the product or service you have with us. This information can
                               include:                                                               How does              We collect your personal information, for example, when you
                               • Social Security number and income                                    Citibank collect      • provide account information or give us your contact information
                               • account balances and employment information                          my personal           • provide employment information or apply for a loan
                               • credit history and transaction history                               information?          • use your credit or debit card
                                                                                                                            We also collect your personal information from others, such as
                                                                                                                            credit bureaus, af!liates, or other companies.
         How?                  All !nancial companies need to share customers’ personal               Why can’t I limit Federal law gives you the right to limit only
                               information to run their everyday business. In the section             all sharing?
                               below, we list the reasons !nancial companies can share their                            • sharing for af!liates’ everyday business purposes – information
                               customers’ personal information; the reasons Citibank chooses to                            about your creditworthiness
                               share; and whether you can limit this sharing.                                           • af!liates from using your information to market to you
                                                                                                                        • sharing for nonaf!liates to market to you.
                                                                                                                        State laws and individual companies may give you additional rights
         Reasons we can share your                        Does Citibank         Can you limit                           to limit sharing. See below for more on your rights under state law.
         personal information                                share?             this sharing?
                                                                                                      What happens Your choices will apply to everyone on your account.
         For our everyday business purposes –                                                         when I limit
         such as to process your transactions,                                                        sharing for an
         maintain your account(s), respond to court              Yes                   No             account I hold
         orders and legal investigations, or report to                                                jointly with
         credit bureaus                                                                               someone else?
         For our marketing purposes –                            Yes                   No
         to offer our products and services to you                                                    De!nitions
         For joint marketing with                                                                     Af!liates       Companies related by common ownership or control. They can be
         other !nancial companies                                Yes                   No                             !nancial and non!nancial companies.
         For our af!liates’ everyday business                                                                         • Our af!liates include companies such as Citigroup Global
         purposes – information about your                       Yes                   No                               Markets Inc.
         transactions and experiences                                                                 Nonaf!liates    Companies not related by common ownership or control. They can
         For our af!liates’ everyday business                                                                         be !nancial and non!nancial companies.
         purposes – information about your                       Yes                  Yes                             • Nonaf!liates we share with can include companies engaged
         creditworthiness                                                                                               in direct marketing and the selling of consumer products and
         For our af!liates to market to you                      Yes                  Yes                               services.
         For our nonaf!liates to market to you                   Yes                  Yes             Joint marketing A formal agreement between nonaf!liated !nancial companies
                                                                                                                      that together market !nancial products and services to you.
         To limit              Call 1-877-491-0607 – our menu will prompt you through your                            • Our joint marketing partners include insurance companies and
         our sharing           choice(s). (TTY: Use 711 or other Relay Service)                                         other !nancial companies.
                               Please note:
                               If you are a new customer, we can begin sharing your informa-          Other important information
                               tion 30 days from the date we sent this notice. When you are no        For Vermont Residents: We will not disclose information about your creditworthiness
                               longer our customer, we continue to share your information as          to our af!liates and will not disclose your personal information, !nancial information, credit
                               described in this notice.                                              report, or health information to nonaf!liated third parties to market to you, other than
                               However, you can contact us any time to limit our sharing.             as permitted by Vermont law, unless you authorize us to make those disclosures. For
                                                                                                      additional information concerning our privacy policies call 1-877-491-0607. For Speech
         Questions?            Call 1-877-491-0607 or call the Customer Service number on             and Hearing Impaired Customers TTY: Use 711 or other Relay Service.
                               the back of your credit card or on your billing statement.             For California Residents: We will not share information we collect about you with
                               (TTY: Use 711 or other Relay Service)                                  nonaf!liated third parties, except as permitted by California law, such as to process your
                                                                                                      transactions or to maintain your account.
                                                                                                      We may share your personal information, as permitted by law, with the retailer whose
                                                                                                      name is on your card and with the companies related to the retailer. You cannot limit
                                                                                                      this sharing.
                                                                                                      Citi acquires and uses services provided by third parties that collect and analyze customer
                                                                                                      data. This information may be used to service your accounts and for marketing purposes.
                                                                                                      For additional information about our privacy practices please go to www.citi.com/Privacy.
                                                                                                                          Important Information about Credit Reporting
                                                                                                      We may report information about your account to credit bureaus. Late payments, missed
                                                                                                      payments or other defaults on your account may be re!ected in your credit report.



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                                                                                       SPPHDEX 03/21
     DATOS                ¿QUÉ HACE CITIBANK CON SU INFORMACIÓN PERSONAL?                              Quiénes somos
                                                                                                       ¿Quién proporciona          Este aviso es proporcionado por el grupo de tarjetas de socios
     ¿Por qué?            Las compañías !nancieras deciden cómo comparten la información               este aviso?                 minoristas de Citibank, N.A., el banco que emite su tarjeta de crédito.
                          personal de usted. La ley federal les otorga a los consumidores el
                          derecho de limitar una parte, pero no la totalidad, de la información que    Qué hacemos
                          se comparte. La ley federal también nos exige que le informemos a usted      ¿De qué modo          A !n de proteger su información personal contra el acceso y el uso
                          cómo recopilamos, compartimos y protegemos su información personal.          Citibank protege      no autorizados, utilizamos medidas de seguridad para cumplir con la
                          Por favor, lea este aviso con detenimiento para entender lo que hacemos.     mi información        ley federal. Estas medidas incluyen resguardos para computadoras, y
                                                                                                       personal?             archivos y edi!cios protegidos.
     ¿Qué?                Los tipos de información personal que recopilamos y compartimos              ¿De qué modo          Recopilamos su información personal, por ejemplo, cuando usted
                          dependen del producto o servicio que le proporcionemos. Esta información     Citibank recopila     • proporciona información sobre su cuenta o nos proporciona su
                          puede incluir:                                                               mi información           información de contacto
                                                                                                       personal?             • proporciona información sobre su empleo o solicita un préstamo
                          • Número de Seguro Social e ingresos
                          • saldos de sus cuentas e información sobre su empleo                                              • utiliza su tarjeta de crédito o de débito
                          • historial de crédito e historial de transacciones                                                También recopilamos su información personal de terceros, como
                                                                                                                             agencias de informes de crédito, a!liadas u otras compañías.
                                                                                                       ¿Por qué no puedo     La ley federal le otorga el derecho de limitar únicamente
     ¿Cómo?               Todas las compañías !nancieras necesitan compartir la información            limitar totalmente la • que se comparta información a los !nes de las actividades
                          personal de sus clientes para llevar a cabo sus actividades comerciales      información que se
                          diarias. En la sección a continuación, enumeramos las razones por                                     comerciales diarias de las a!liadas – información sobre su solvencia
                                                                                                       comparte?                crediticia
                          las cuales las compañías !nancieras pueden compartir la información                                • que las a!liadas utilicen su información para ofrecerle sus productos
                          personal de sus clientes; las razones por las cuales Citibank decide                                  y servicios a usted
                          compartirla; y si usted puede limitar que se comparta.                                             • que las compañías no a!liadas le ofrezcan sus productos
                                                                                                                                y servicios.
     Razones por las cuales podemos compartir                        ¿Citibank  ¿Puede usted                                 Las leyes estatales y las compañías individuales pueden ofrecerle
     su información personal                                         comparte     limitar la                                 derechos adicionales para limitar la información que se comparte.
                                                                   información? información                                  Consulte a continuación para obtener más detalles sobre sus derechos
                                                                                    que se                                   en virtud de la ley estatal.
                                                                                 comparte?             ¿Qué sucede cuando Sus opciones se aplicarán a todas las personas en su cuenta.
                                                                                                       limito la información
     A los !nes de nuestras actividades comerciales                                                    que se comparte
     diarias – tales como procesar sus transacciones,                                                  para una cuenta
     administrar su(s) cuenta(s), responder órdenes judiciales e          Sí                No         que tengo en forma
     investigaciones legales, o informar a agencias de informes                                        conjunta con otra
     de crédito                                                                                        persona?
     Para nuestros !nes de mercadeo – con el objetivo de                  Sí                No
     ofrecerle nuestros productos y servicios a usted                                                  De!niciones
     Con !nes de mercadeo conjunto con otras                                                           A!liadas                    Compañías relacionadas por medio de propiedad o control común.
     compañías !nancieras                                                 Sí                No                                     Pueden ser compañías !nancieras y no !nancieras.
                                                                                                                                   • Nuestras afiliadas incluyen compañías como Citigroup Global Markets Inc.
     A los !nes de las actividades comerciales diarias de
     nuestras a!liadas – información sobre sus transacciones              Sí                No         No a!liadas                 Compañías no relacionadas por medio de propiedad o control común.
     y experiencias                                                                                                                Pueden ser compañías !nancieras y no !nancieras.
                                                                                                                                   • Las compañías no a!liadas con las que compartimos información
     A los !nes de las actividades comerciales diarias                                                                               pueden incluir compañías que participan en actividades de mercadeo
     de nuestras a!liadas – información sobre su solvencia                Sí                Sí                                       directo y en la venta de productos y servicios para el consumidor.
     crediticia                                                                                        Mercadeo conjunto           Un acuerdo formal entre compañías !nancieras no a!liadas que
     Para que nuestras a!liadas le ofrezcan sus                           Sí                Sí                                     comercializan en conjunto productos y servicios !nancieros para usted.
     productos y servicios                                                                                                         • Nuestros socios de mercadeo conjunto incluyen compañías de seguros
     Para que las compañías no a!liadas le ofrezcan sus                                                                              y otras compañías !nancieras.
     productos y servicios                                                Sí                Sí
                                                                                                       Otra información importante
     Para limitar la Llame al 1-877-491-0607 – nuestro menú le orientará a través de su(s)             Para los residentes de Vermont: No divulgaremos información sobre su solvencia crediticia a
     información que opción (opciones). (TTY: Use el 711 u otro servicio de relé).                     nuestras a!liadas y no divulgaremos su información personal, información !nanciera, informe de crédito
     se comparte                                                                                       o información de salud a terceros no a!liados para que comercialicen con usted, salvo que lo permita la
                     Tenga en cuenta lo siguiente:                                                     ley de Vermont, a menos que usted nos autorice a hacerlo. Si desea obtener información adicional en
                     Si usted es un cliente nuevo, podemos comenzar a compartir su                     relación con nuestras políticas de privacidad, llame al 1-877-491-0607. Para clientes con de!ciencias
                     información 30 días después de la fecha en que se envió este aviso.               auditivas y del habla TTY: Use el 711 u otro servicio de relé.
                     Cuando usted deje de ser nuestro cliente, continuaremos compartiendo              Para los residentes de California: No compartiremos la información personal que recopilamos
                     su información según lo descrito en este aviso.                                   sobre usted con terceros no a!liados, excepto según lo permitido por la ley de California, como por
                     Sin embargo, puede comunicarse con nosotros en cualquier momento                  ejemplo, para procesar sus transacciones o administrar su cuenta.
                     para limitar la información que compartimos.
                                                                                                       Podemos compartir su información personal, según lo permitido por ley, con el comercio cuyo
     ¿Tiene               Llame al 1-877-491-0607 o al número de Servicio al Cliente que se            nombre aparece en su tarjeta y con las compañías relacionadas con el comercio. Usted no puede
     preguntas?           encuentra al dorso de su tarjeta de crédito o en su estado de facturación.   limitar que compartamos esta información.
                          (TTY: Use el 711 u otro servicio de relé).                                   Citi adquiere y utiliza servicios proporcionados por terceros que recopilan y analizan datos de clientes.
                                                                                                       Esta información puede utilizarse para administrar sus cuentas y para !nes de mercadeo. Para
                                                                                                       obtener información adicional sobre nuestras prácticas de privacidad, visite www.citi.com/Privacy.
                                                                                                                               Información importante sobre Informes de Crédito
                                                                                                       Podremos reportar información sobre su cuenta a agencias de informes de crédito. Es posible que
                                                                                                       los pagos con demora, los pagos no efectuados u otros incumplimientos en su cuenta se re!ejen
                                                                                                       en su informe de crédito.
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                             Para Obtener Más Información                                 Una vez que !nalicemos nuestra investigación, sucederá una de dos cosas:
       Para obtener más información, llámenos sin cargo. Llame sin cargo al número         • Si hemos cometido un error: Usted no tendrá la obligación de pagar el
       de teléfono de Servicio al Cliente que !gura en el estado de facturación o al         monto en cuestión ni ningún tipo de intereses u otros cargos relacionados
       dorso de su tarjeta. También puede llamar localmente o sin cargo a la Asistencia      con dicho monto.
       de Directorio para obtener nuestro número de teléfono.                              • Si consideramos que no se ha producido un error: Usted tendrá la obligación
                               Sus Derechos de Facturación:                                  de pagar el monto en cuestión, junto con los intereses y cargos aplicables.
                        Conserve este Documento para Uso Futuro                              Le enviaremos un estado de cuenta del monto que usted adeuda y la fecha
       Este aviso le informa sobre sus derechos y nuestras responsabilidades conforme        de vencimiento de pago. Posteriormente podremos reportarle a usted como
       a la Ley de Facturación Justa de Crédito “Fair Credit Billing Act”.                   deudor moroso si usted no paga el monto que consideramos que adeuda.
           Qué Hacer Si Usted Encuentra un Error en Su Estado de Cuenta                   Si usted recibe nuestra explicación pero igualmente considera que su factura es
                                                                                          errónea, deberá escribirnos en un plazo de 10 días para indicarnos que continúa
       Si usted considera que existe un error en su estado de cuenta, escríbanos a la
                                                                                          negándose a pagar. En ese caso, no podremos reportarle como deudor moroso
       dirección para consultas sobre facturación y correspondencia que se indica en
                                                                                          sin reportar también que usted cuestiona su factura. Deberemos informarle a
       el frente de su estado de cuenta.
                                                                                          usted el nombre de cualquier persona o entidad a la cual le reportemos a usted
       En su carta, proporciónenos la siguiente información:                              como deudor moroso, y deberemos informarles a dichas entidades cuando el
        • Información de la cuenta: Su nombre y número de cuenta.                         asunto se haya solucionado entre nosotros.
        • Monto en dólares: El monto en dólares del presunto error.                       Si no cumplimos con todas las reglas que se indican arriba, usted no tendrá la
        • Descripción del problema: Si usted considera que existe un error en su          obligación de pagar los primeros $50 del monto que usted cuestione, aunque
          factura, describa lo que usted considera erróneo y el motivo por el cual        su factura sea correcta.
          considera que se trata de un error.                                                             Sus derechos si usted no está satisfecho
       Usted deberá comunicarse con nosotros:                                                              con sus compras con tarjeta de crédito
        • En un plazo de 60 días a partir de la fecha en que el error haya aparecido      Si usted no está satisfecho con los productos o servicios que ha comprado con
          en su estado de cuenta.                                                         su tarjeta de crédito, y ha intentado de buena fe corregir el problema con el
                                                                                          comerciante, podría tener el derecho de no pagar el monto restante adeudado
        • Como mínimo 3 días hábiles antes de la fecha en que se encuentre
                                                                                          sobre la compra.
          programado un pago automatizado si usted desea suspender el pago del
          monto que considere erróneo.                                                    Para utilizar este derecho, deberán cumplirse los siguientes requisitos:
       Deberá noti!carnos de cualquier posible error por escrito. Podrá llamarnos por      1. La compra deberá haberse realizado en el estado donde usted resida o en
       teléfono, pero en ese caso no tendremos la obligación de investigar ningún             un radio de 100 millas de su dirección postal actual, y el precio de la compra
       posible error y usted podría quedar obligado a pagar el monto en cuestión.             deberá haber sido superior a $50. (Nota: Ninguno de estos requisitos será
                                                                                              necesario si su compra se realizó sobre la base de un anuncio que nosotros
                    Qué Sucederá Después de que Recibamos Su Carta                            le enviamos a usted por correo postal, o si la compañía que le vendió a
       Cuando recibamos su carta, deberemos hacer dos cosas:                                  usted los productos o servicios es de nuestra propiedad).
        1. En un plazo de 30 días a partir de la recepción de su carta, deberemos          2. Usted deberá haber utilizado su tarjeta de crédito para la compra. No son
           informarle que recibimos su carta. También le informaremos si ya hemos             elegibles las compras efectuadas con adelantos en efectivo a través de
           corregido el error.                                                                un cajero automático o mediante un cheque que acceda a su cuenta de
        2. En un plazo de 90 días a partir de la recepción de su carta, deberemos             tarjeta de crédito.
           corregir el error o explicarle a usted por qué consideramos que la factura      3. Usted no deberá haber pagado aún la totalidad de la compra.
           es correcta.                                                                   Si se cumplen todos los criterios que se indican arriba y usted continúa
       Mientras investigamos si se ha producido o no un error:                            insatisfecho con la compra, comuníquese con nosotros por escrito a la dirección
        • No podremos intentar cobrar el monto en cuestión, ni reportarle a usted         para consultas sobre facturación y correspondencia que se indica en el frente
          como deudor moroso sobre dicho monto.                                           de su estado de facturación.
        • El cargo en cuestión podrá permanecer en su estado de cuenta, y podemos         Durante nuestra investigación, se aplican al monto en disputa las mismas
          continuar cobrándole intereses sobre dicho monto.                               reglas que se indican arriba. Una vez que !nalicemos nuestra investigación, le
                                                                                          informaremos nuestra decisión. En ese momento, si consideramos que usted
        • Si bien usted no tendrá la obligación de pagar el monto en cuestión, será
                                                                                          adeuda un monto y usted no efectúa el pago, podremos reportarle como deudor
          responsable del resto de su saldo.
                                                                                          moroso.
        • Podremos aplicar cualquier monto sin pagar contra su límite de crédito.
                                                                                          © 2022 Citibank, N.A.
                                                                                                                                                               72100 0622
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                                Cómo Funciona el Arbitraje                                                                El Laudo De!nitivo
       • El arbitraje será llevado a cabo por la Asociación Americana de Arbitraje          • Cualquier laudo otorgado por un árbitro es de!nitivo, a menos que una de las
         (American Arbitration Association, AAA) de acuerdo con esta disposición              partes lo apele por escrito ante la AAA dentro de los 30 días posteriores a
         sobre arbitraje y las correspondientes reglas de arbitraje de la AAA vigentes        la noti!cación del laudo. La apelación del arbitraje será determinada por un
         en el momento en que se presente el reclamo (“Reglas de la AAA”), excepto            panel de 3 árbitros. El panel volverá a considerar todos los hechos y cuestiones
         en los casos en que dichas reglas entren en con!icto con esta disposición            legales desde el principio sobre la base de la misma evidencia presentada en el
         sobre arbitraje. Usted podrá obtener copias de las Reglas de la AAA en el            arbitraje anterior, y tomará decisiones sobre la base de un voto mayoritario. Los
         website de la AAA (www.adr.org) o llamando al 800-778-7879 (TTY: Use                 cargos por arbitraje correspondientes a la apelación del arbitraje se asignarán
         el 711 u otro servicio de relé). Usted o nosotros podremos optar por tener           de acuerdo con las correspondientes Reglas de la AAA. El laudo otorgado por
         una audiencia, presentarnos en cualquier audiencia por teléfono o por otros          un panel de apelación es de!nitivo. Un laudo de!nitivo está sujeto a revisión
         medios electrónicos, y/o ser representados por un asesor legal. Cualquier            judicial según lo dispuesto por la ley aplicable.
         audiencia en persona se realizará en la misma ciudad correspondiente al
                                                                                                              Validez y Divisibilidad de los Términos
         Tribunal de Distrito de EE. UU. más cercano a su dirección de facturación.
                                                                                            Esta disposición sobre arbitraje seguirá siendo válida aun después de que se
       • El arbitraje se podrá solicitar en cualquier momento, incluso en los casos en
                                                                                            hagan modi!caciones en este Contrato y de la cancelación de la cuenta o de
         que exista una acción judicial pendiente, a menos que ya haya comenzado
                                                                                            la relación entre usted y nosotros, lo cual incluye la quiebra de cualquiera de las
         un juicio o que se haya emitido un fallo de!nitivo. Ni usted ni nosotros
                                                                                            partes y cualquier venta de su cuenta, o montos adeudados en su cuenta, a otra
         renunciamos al derecho de arbitraje al presentar o noti!car una demanda,
                                                                                            persona o entidad. Si se determina que alguna de las partes de esta disposición
         respuesta, reconvención, moción o descubrimiento de pruebas en una
                                                                                            sobre arbitraje no es válida o su cumplimiento no es exigible, los demás términos
         acción judicial. Para elegir el arbitraje, una de las partes podrá presentar una
                                                                                            continuarán en vigencia, con la excepción de que no podrá realizarse el arbitraje
         moción para imponer el arbitraje en un caso pendiente y/o iniciar un arbitraje
                                                                                            de un Reclamo mediante una acción de clase o representativa. Esta disposición
         mediante la presentación de los formularios requeridos de la AAA y el pago
                                                                                            sobre arbitraje no se podrá enmendar, separar ni eximir a excepción de lo
         a la AAA de los cargos de presentación requeridos.
                                                                                            dispuesto en este Contrato o en un acuerdo por escrito entre usted y nosotros.
       • El arbitraje será llevado a cabo por un solo árbitro de conformidad con esta
         disposición sobre arbitraje y las Reglas de la AAA, que pueden limitar el                   Reglas para Rechazar esta Disposición sobre Arbitraje
         descubrimiento de pruebas. El árbitro no aplicará ninguna regla federal o          Usted puede rechazar esta disposición sobre arbitraje enviándonos una
         estatal de procedimiento civil para el descubrimiento de pruebas, pero el          noti!cación de rechazo por escrito a: P.O. Box 790340, St. Louis, MO 63179.
         árbitro hará lugar a reclamos de privilegio reconocidos por la ley y tomará        Su noti!cación de rechazo debe enviarse por correo postal en un plazo de 45
         medidas razonables para proteger información sobre cuentas y otro tipo de          días desde la fecha de apertura de la cuenta. Su noti!cación de rechazo debe
         información con!dencial de cualquiera de las partes si así se lo solicita. El      indicar que usted rechaza la disposición sobre arbitraje e incluir su nombre,
         árbitro aplicará la ley sustantiva aplicable conforme a la FAA y a los estatutos   dirección, número de cuenta y !rma personal. Ninguna otra persona puede
         de limitaciones aplicables, y tendrá el poder de otorgar compensación por          !rmar la noti!cación de rechazo. Su noti!cación de rechazo no se aplicará a
         daños y perjuicios o compensación de otro tipo en virtud de la ley aplicable.      la(s) disposición (disposiciones) sobre arbitraje que rija(n) cualquier otra cuenta
       • El árbitro efectuará cualquier laudo por escrito y, si usted o nosotros se lo      que tenga o haya tenido con nosotros. El rechazo de esta disposición sobre
         solicitamos, podrá suministrar una breve declaración de los motivos de dicho       arbitraje no afectará sus demás derechos o responsabilidades en virtud de este
         laudo. El laudo de un arbitraje determinará los derechos y las obligaciones        Contrato, lo cual incluye el uso de la cuenta.
         únicamente de las partes mencionadas en el arbitraje, y no tendrá ninguna                        Ley Aplicable y Ejercicio de Nuestros Derechos
         relación con ninguna otra persona o disputa.                                       Ley Aplicable. Los términos y el cumplimiento de este Contrato están regidos
                             Pago de los Cargos de Arbitraje                                por las leyes federales y las leyes de South Dakota, donde estamos ubicados.
       • Pagaremos la parte del cargo por arbitraje que le corresponda a usted por          Cumplimiento de este Contrato. La demora u omisión por parte nuestra en
         un arbitraje de Reclamos de $75,000 o menos si no se relacionan con el             el ejercicio de nuestros derechos de conformidad con este Contrato no implica
         cobro de deudas. De lo contrario, los cargos de arbitraje se asignarán de          que perdamos dichos derechos.
         acuerdo con las Reglas de la AAA correspondientes. Si el arbitraje resulta a       Costos por Gestión de Cobro. En la medida en que lo permita la ley, usted
         favor nuestro, no podremos recuperar nuestros cargos por arbitraje a menos         será responsable ante nosotros por nuestros costos legales si derivamos el
         que el árbitro decida que su Reclamo era infundado. Todas las partes serán         cobro de su cuenta a un abogado que no sea empleado asalariado nuestro.
         responsables de sus propios honorarios de abogados, honorarios de peritos          Estos costos podrán incluir honorarios razonables de abogados. También
         y cualquier otro gasto, a menos que el árbitro le otorgue a usted o a nosotros     podrán incluir los costos y gastos de cualquier acción legal.
         dichos cargos o gastos de acuerdo con la ley aplicable.                            Cesión. Podremos ceder a un tercero la totalidad o cualquiera de nuestros
                                                                                            derechos y obligaciones de conformidad con este Contrato.
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       contribuir con nuestra investigación. Podremos solicitarle que suministre esta     SON MÁS SENCILLOS Y MÁS LIMITADOS QUE EN UN TRIBUNAL. ESTA
       información por escrito. Por ejemplo, podremos solicitarle que identi!que todos    DISPOSICIÓN SOBRE ARBITRAJE ESTÁ REGIDA POR LA LEY FEDERAL DE
       los cargos que no hayan sido realizados por usted ni por ninguna persona           ARBITRAJE “FEDERAL ARBITRATION ACT” (FAA), Y SE INTERPRETARÁ
       autorizada por usted. También podremos solicitarle que con!rme no haber            EN EL SENTIDO MÁS AMPLIO QUE PERMITA LA LEY.
       recibido bene!cio de dichos cargos.
                                                                                                                       Reclamos Cubiertos
       Cierre de Su Cuenta. Usted podrá cerrar su cuenta noti!cándonos por escrito
                                                                                          • Usted o nosotros podemos someter a arbitraje cualquier reclamo, disputa o
       o por teléfono. Si usted cierra su cuenta, de todos modos deberá pagar el saldo
                                                                                            controversia entre usted y nosotros que surja de o se relacione con su cuenta, una
       total de conformidad con este Contrato. También podremos cerrar su cuenta
                                                                                            cuenta relacionada anterior o nuestra relación (denominados los “Reclamos”).
       o suspender los privilegios de la cuenta en cualquier momento y por cualquier
       motivo. Podremos hacerlo sin suministrarle a usted un aviso previo. También        • Si cualquiera de las partes elige la opción de arbitraje, ni usted
       podremos volver a emitir una tarjeta diferente en cualquier momento. Usted           ni nosotros tendremos el derecho de litigar dicho Reclamo en un
       deberá devolvernos cualquier tarjeta a pedido nuestro.                               tribunal o tener un juicio por jurado sobre dicho Reclamo.
                                                                                          A excepción de lo que se indica a continuación, todos los Reclamos estarán
                          Protecciones para los miembros en
                                                                                          sujetos a arbitraje, sin importar cuál es la teoría legal en la que se basen ni qué
                          servicio activo y sus dependientes
                                                                                          tipo de recurso (daños y perjuicios, o interdicto o sentencia declaratoria) procuren
       Protecciones. La ley federal brinda protecciones importantes a los miembros        obtener, lo cual incluye Reclamos basados en contratos, extracontractuales
       de las Fuerzas Armadas y a sus dependientes en relación con el otorgamiento de     (incluida la culpa extracontractual intencional), fraude, representación de
       crédito para el consumidor. En general, el costo del crédito para el consumidor    agencia, negligencia por parte suya o nuestra, disposiciones estatutarias o
       para un miembro de las Fuerzas Armadas y su dependiente no puede superar           regulatorias o cualquier otra fuente de derecho; Reclamos efectuados como
       una tasa de porcentaje anual del 36 por ciento. Esta tasa debe incluir, según      reconvenciones, contrademandas, reclamos de terceros, interpelaciones o de
       corresponda a la cuenta o la transacción de crédito, lo siguiente: Los costos      otro modo; Reclamos efectuados con respecto a conductas pasadas, presentes
       asociados con las primas del seguro de crédito; los cargos por productos           o futuras; y Reclamos efectuados en forma independiente o con otros reclamos.
       complementarios que se vendan en relación con la transacción de crédito;           Esto también incluye Reclamos efectuados por o contra cualquier persona
       cualquier cargo por solicitud cobrado (salvo determinados cargos por solicitud     conectada con nosotros o con usted, o que reclame a través de nosotros o de
       para cuentas o transacciones de crédito especi!cadas); y cualquier cargo por       usted, o por alguien que efectúe un reclamo a través de nosotros o de usted,
       participación cobrado (salvo determinados cargos por participación para una        como por ejemplo un co-solicitante, un usuario autorizado, un empleado, un
       cuenta de tarjeta de crédito). Usted tiene derecho a estas protecciones si es un   agente, un representante o una compañía a!liada/matriz/subsidiaria.
       Prestatario Cubierto, según se de!ne a continuación.
                                                                                                                       Límites del Arbitraje
       Prestatario Cubierto. Usted es un Prestatario Cubierto si, en relación con la
       apertura de su cuenta, determinamos que es un miembro en servicio activo           • Los Reclamos individuales presentados en un tribunal para casos de cuantía
       de las Fuerzas Armadas (incluido el servicio activo en la Guardia y la Reserva)      menor no están sujetos a arbitraje, siempre y cuando el caso permanezca en
       o un dependiente de un miembro en servicio activo. Usted dejará de ser un            dicho tribunal para casos de cuantía menor.
       Prestatario Cubierto si determinamos que ya no es un miembro en servicio           • No iniciaremos un arbitraje para cobrarle a usted una deuda a menos que
       activo de las Fuerzas Armadas (incluido el servicio activo en la Guardia y la        usted decida someter a arbitraje o presentar un Reclamo contra nosotros.
       Reserva) o un dependiente de un miembro en servicio activo.                          Si usted presenta un Reclamo contra nosotros, podremos decidir someterlo
       Divulgaciones Verbales. Si usted es un Prestatario Cubierto, podrá obtener           a arbitraje, lo cual incluye acciones para cobrarle a usted una deuda. Usted
       información relacionada con su cuenta, incluida información sobre estas              podrá someter a arbitraje en forma individual Reclamos presentados en
       protecciones y su obligación de pago, llamando al 1-877-625-6379 (TTY: Use           contra de usted, lo cual incluye Reclamos para el cobro de una deuda.
       el 711 u otro servicio de relé).                                                   • Los Reclamos presentados como parte de una acción de clase, procurador
       Arbitraje. La sección del Contrato de Tarjeta titulada “ARBITRAJE”                   general privado u otra acción representativa podrán someterse al arbitraje
       no se aplica si usted es un Prestatario Cubierto en el momento de la                 únicamente en forma individual. El árbitro no tiene autoridad para arbitrar
       apertura de su cuenta.                                                               ningún reclamo sobre la base de acción de clase o representativa y podrá
                                                                                            otorgar compensación únicamente en forma individual. Si cualquiera de
                                        ARBITRAJE                                           las partes elige la opción de arbitraje, ni usted ni nosotros podremos llevar
       POR FAVOR, LEA CON DETENIMIENTO ESTA DISPOSICIÓN DEL CONTRATO.                       adelante un Reclamo como parte de una acción de clase u otra acción
       ESTA SECCIÓN ESTABLECE QUE LAS DISPUTAS PODRÁN RESOLVERSE                            representativa. Los Reclamos de 2 o más personas no podrán combinarse
       POR MEDIO DE ARBITRAJE VINCULANTE. EL ARBITRAJE REEMPLAZA                            en el mismo arbitraje. Sin embargo, los solicitantes, co-solicitantes, usuarios
       EL DERECHO DE RECURRIR A UN TRIBUNAL, DE TENER UN JUICIO POR                         autorizados en una misma cuenta y/o cuentas relacionadas, o a!liados
       JURADO, O DE INICIAR O PARTICIPAR EN UNA ACCIÓN DE CLASE. EN                         corporativos se consideran aquí como una sola persona.
       UN ARBITRAJE, LAS DISPUTAS SON RESUELTAS POR UN ÁRBITRO, NO
       POR UN JUEZ O UN JURADO. LOS PROCEDIMIENTOS DE ARBITRAJE
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       de facturación daría lugar al pago del saldo promocional antes de la !nalización   Si usted considera que hemos suministrado información incorrecta a una
       del período promocional.                                                           agencia de informes de crédito, escríbanos a la dirección postal de Servicio
       El Pago Mínimo Adeudado puede re!ejar ajustes al Nuevo Saldo. El Pago Mínimo       al Cliente que se indica en el estado de facturación. Investigaremos el asunto.
       Adeudado nunca es superior al Nuevo Saldo Calculado más dos montos. El             Luego le comunicaremos si estamos de acuerdo o en desacuerdo con usted.
       primero es cualquier monto requerido por una oferta promocional. El segundo        Si estamos de acuerdo con usted, nos comunicaremos con cada agencia de
       es cualquier monto requerido por el Cálculo de la Promoción.                       informes de crédito a la que hayamos suministrado informes y solicitaremos una
                                                                                          corrección. Si estamos en desacuerdo con usted, se lo informaremos.
       Aplicación de Pagos. Los pagos que excedan el Pago Mínimo Adeudado se
       aplican de conformidad con la ley. Esto signi!ca que generalmente aplicaremos                              Intercambio de Información
       los pagos que excedan el Pago Mínimo Adeudado primero a los saldos con             Usted nos autoriza a compartir información sobre su persona según lo permitido
       tasas APR más altas. Sin embargo, los pagos excedentes recibidos antes del         por la ley. Esto incluye información suministrada por usted y por terceros.
       vencimiento de una promoción de intereses diferidos se aplican primero al saldo    También incluye información sobre sus transacciones con nosotros. Por favor,
       promocional de intereses diferidos en los últimos dos ciclos de facturación del    consulte nuestro Aviso de Privacidad para conocer los detalles sobre nuestras
       período promocional. Además, si la fecha de vencimiento de una promoción           prácticas de intercambio de información.
       de intereses diferidos es anterior a la fecha de vencimiento de pago del ciclo
       de facturación en el cual venza la promoción de intereses diferidos, los pagos                           Modi!caciones a este Contrato
       excedentes recibidos antes del vencimiento de la promoción de intereses            Podremos modi!car las tasas, los cargos y los términos de este Contrato
       diferidos se aplican primero al saldo promocional de intereses diferidos en los    ocasionalmente según lo permitido por la ley. Las modi!caciones
       últimos tres ciclos de facturación del período promocional. Los pagos que sean     podrán agregar, reemplazar o eliminar disposiciones de este Contrato.
       menores o iguales al Pago Mínimo Adeudado y los créditos se aplican a nuestro      Le suministraremos a usted en forma anticipada un aviso por escrito
       criterio y usted nos autoriza a aplicar pagos y créditos de la manera que nos      con respecto a las modi!caciones y al derecho de exclusión en la
       resulte más favorable o conveniente. Esto puede incluir la aplicación de dichos    medida en que lo exija la ley.
       pagos y créditos en primer lugar a los saldos con tasas APR más bajas.                                            Incumplimiento
       Instrucciones de Pago. Acreditamos sus pagos de conformidad con nuestras           Usted incurrirá en incumplimiento de este Contrato si no efectúa el Pago Mínimo
       instrucciones de pago que se indican en el estado de facturación. Usted deberá     Adeudado en o antes de la fecha de vencimiento; si excede su límite de crédito;
       pagarnos en dólares estadounidenses. Para hacerlo, deberá usar un cheque,          si paga mediante un cheque o instrumento similar que no sea aceptado o que
       instrumento similar o débito electrónico librado y aceptado por un banco en        nosotros debamos devolver porque no puede ser procesado; si paga mediante
       Estados Unidos. No envíe dinero en efectivo. Podremos aceptar pagos con            un débito electrónico que se devuelva sin pagar; si se declara en quiebra; o si no
       demora o parciales, o pagos que re!ejen endosos de “pagado en su totalidad”        cumple con los términos de este Contrato. Si usted incurre en incumplimiento,
       u otro tipo de endosos restrictivos, sin perder nuestros derechos. También nos
                                                                                          podremos cerrar su cuenta y, en la medida en que lo permita la ley, exigir el
       reservamos el derecho de aceptar pagos realizados en moneda extranjera e           pago inmediato del saldo total.
       instrumentos librados sobre fondos en depósito fuera de EE. UU. Si lo hacemos,
       seleccionaremos la tasa de conversión de moneda. Luego acreditaremos su                           Denegación de la Tarjeta, Cuentas Cerradas
       cuenta en dólares después de deducir los costos incurridos en el procesamiento                          y Disposiciones Relacionadas
       de su pago. O bien, podremos facturarle dichos costos en forma separada.           Denegación de la Tarjeta. No garantizamos la aprobación de las
       Servicio Opcional de Pago por Teléfono (Pay by Phone). Usted puede                 transacciones. No asumiremos ninguna responsabilidad por las transacciones
       utilizar nuestro Servicio opcional de Pago por Teléfono (Pay by Phone) para        que no sean aprobadas. Esto se aplicará aunque usted tenga crédito su!ciente.
       efectuar sus pagos por teléfono. Para hacerlo, llámenos a !n de solicitar el       Podremos limitar el número de transacciones aprobadas en un mismo día.
       servicio. Usted acepta pagarnos el cargo correspondiente al Pago por Teléfono      Si detectamos actividad inusual o sospechosa, podremos suspender sus
       (Pay by Phone) que se indica en la sección titulada Pago por Teléfono (Pay by      privilegios de crédito.
       Phone) que !gura al dorso del estado de facturación cuando un representante        Cargos Previamente Autorizados. Podremos suspender cualquier cargo
       nuestro ayude a acelerar su pago. Nuestros representantes están capacitados        automático u otro cargo de tarjeta previamente autorizado que usted disponga
       para informarle de este monto cuando usted utilice este servicio.                  con un tercero. Podremos hacer esto si usted incurre en incumplimiento; si se
                                   Informes de Crédito                                    pierde o le roban la tarjeta; o si modi!camos su cuenta por cualquier motivo. Si
                                                                                          lo hacemos, usted será responsable de pagarle al tercero directamente si así lo
       Podremos reportar información sobre su cuenta a agencias de informes de            desea. Usted también será responsable de restablecer los cargos previamente
       crédito. Es posible que los pagos con demora, los pagos no efectuados u otros      autorizados si así lo desea y si lo permitimos.
       incumplimientos en su cuenta se re!ejen en su informe de crédito. Podremos
       proporcionar información de la cuenta en su nombre y en nombre de usuarios         Pérdida o Robo de Tarjetas o Números de Cuenta. Usted deberá llamarnos
       autorizados. También podemos obtener informes de crédito de seguimiento            en caso de pérdida o robo de cualquier tarjeta o número de cuenta. También
       sobre su persona.                                                                  deberá llamarnos si cree que alguien los ha utilizado o podría utilizarlos sin
                                                                                          permiso. Cuando llame, podremos solicitarle que suministre información para
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       vencimiento de pago en cada ciclo de facturación. Si no lo hace, no obtendrá           Saldo Sujeto a Tasa de Interés. Su estado de cuenta indica un Saldo Sujeto
       un período de gracia hasta que pague el Nuevo Saldo durante dos ciclos de              a Tasa de Interés. Indica esto para cada saldo diferente. El Saldo Sujeto a Tasa
       facturación consecutivos.                                                              de Interés es el promedio de los saldos diarios durante el ciclo de facturación.
       Si usted tiene un saldo sujeto a una promoción de intereses diferidos y dicha          Un ciclo de facturación comienza el día posterior a la Fecha de Cierre del Estado
       promoción no vence antes de la fecha de vencimiento de pago, ese saldo (un             de Cuenta del ciclo de facturación anterior. Incluye la Fecha de Cierre del Estado
       “saldo excluido”) queda excluido del monto que usted debe pagar en su totalidad        de Cuenta del ciclo de facturación actual.
       para obtener un período de gracia sobre un saldo de compras, que no sea un                                                 Cargos
       saldo excluido. Sin embargo, de todos modos deberá efectuar cualquier pago
                                                                                              Cargo por Demora. Podremos agregar un cargo por demora por cada ciclo de
       requerido por separado sobre el saldo promocional excluido. En los ciclos de
                                                                                              facturación en el que usted tenga un pago vencido. A los !nes del cargo por
       facturación en los cuales los pagos se asignan primero a los saldos de intereses
                                                                                              demora, usted tendrá un pago vencido toda vez que no efectúe el Pago Mínimo
       diferidos, el saldo de intereses diferidos se reducirá antes que cualquier otro
                                                                                              Adeudado en o antes de la fecha de vencimiento de pago. El cargo será de $29,
       saldo en la cuenta. No obstante, usted seguirá obteniendo un período de
                                                                                              o de $40 por cualquier pago vencido adicional durante los siguientes seis ciclos
       gracia para compras, que no sea un saldo excluido, siempre y cuando pague
                                                                                              de facturación posteriores a un pago vencido. Sin embargo, el cargo no superará
       el Nuevo Saldo menos cualquier saldo excluido, más cualquier pago requerido
                                                                                              el monto permitido por ley. Sumamos este cargo al saldo de compras regulares.
       por separado sobre un saldo excluido, en su totalidad en o antes de la fecha de
       vencimiento de pago en cada ciclo de facturación.                                                                           Pagos
       Además, algunas ofertas promocionales podrán eliminar el período de gracia             Cómo Efectuar Pagos. Usted puede pagar la totalidad o una parte del saldo
       para compras. Otras ofertas promocionales que no se describen arriba también           de su cuenta en cualquier momento. Sin embargo, en cada ciclo de facturación,
       podrán permitirle obtener un período de gracia para compras sin tener que pagar        usted debe pagar al menos el Pago Mínimo Adeudado en o antes de la fecha de
       la totalidad o parte del saldo promocional en o antes de la fecha de vencimiento de    vencimiento de pago. Cuanto antes pague el Nuevo Saldo, menos deberá pagar
       pago. En cualquiera de los dos casos, la oferta promocional describirá los detalles.   en cargos por intereses.
       Cálculo de Cargos por Intereses: Método de Saldo Diario (Incluidas las                 Calculamos el Pago Mínimo Adeudado de la siguiente manera. Comenzamos con
       Transacciones Actuales). Calculamos los cargos por intereses en cada ciclo             cualquier monto vencido. Sumamos cualquier monto especi!cado en una oferta
       de facturación. Para hacerlo:                                                          promocional. Sumamos cualquier monto requerido por el Cálculo de la Promoción.
        • Comenzamos con cada uno de sus saldos diferentes. Estos saldos incluyen,            También sumamos una de las siguientes opciones, la que sea mayor:
          por ejemplo, compras regulares y diferentes saldos promocionales.                    • El Nuevo Saldo Calculado, si es inferior a $29;
          (Cuando calculamos los cargos por intereses, consideramos por separado               • $29 si el Nuevo Saldo Calculado es de $29 como mínimo; o bien
          cada transacción con intereses diferidos, incluso si tiene los mismos
                                                                                               • El 1% del Nuevo Saldo Calculado más el monto de sus cargos por intereses
          términos que otra transacción con intereses diferidos).
                                                                                                 facturados sobre dicho saldo, todo cargo mínimo por intereses asignado a
        • Calculamos el saldo diario para cada uno de sus saldos diferentes. Para                dicho saldo y todos los cargos por demora correspondientes. (El resultado
          obtener un saldo diario, comenzamos con el saldo a partir de la !nalización            se redondea hacia arriba hasta el dólar más cercano). Sin embargo,
          del día anterior. Sumamos todos los cargos por intereses al saldo del día              restamos los cargos por intereses que se hayan acumulado durante
          anterior. (Esto da como resultado la capitalización diaria de los cargos por           ciclos de facturación anteriores sobre un saldo de intereses diferidos que
          intereses). Sumamos todos los cargos nuevos. Luego restamos todos los                  haya !nalizado durante el ciclo de facturación cubierto por el estado de
          créditos o pagos nuevos.                                                               facturación.
        • Multiplicamos cada saldo diario por la tasa periódica diaria que se le aplica.      El Nuevo Saldo Calculado es equivalente al Nuevo Saldo que se indica en el
          Hacemos esto para cada día del ciclo de facturación. Esto nos da los cargos         estado de facturación menos cualquier saldo sujeto al Cálculo de la Promoción
          por intereses diarios correspondientes a cada uno de sus saldos diferentes.         y menos cualquier saldo sujeto a cualquiera de los dos tipos de términos
        • Sumamos todos los cargos por intereses diarios. La suma es el cargo total           promocionales. El primer tipo corresponde a términos que no requieren un
          por intereses correspondiente al ciclo de facturación.                              pago mínimo. El segundo tipo corresponde a términos que requieren un monto
        • Usted nos autoriza a redondear los cargos por intereses al centavo más              adicional como parte del Pago Mínimo Adeudado.
          cercano.                                                                            Si usted tiene un saldo de una transacción con intereses diferidos sujeto al
       Cuando calculamos saldos diarios, agregamos una compra en la Fecha de Transacción.     Cálculo de la Promoción, el Cálculo de la Promoción será equivalente al 1% de
       La Fecha de Transacción se indica en el estado de facturación. Restamos un pago        este saldo durante el período promocional. (El resultado se redondea hacia arriba
       o un crédito el día en que se acredita a la cuenta y luego realizamos otros ajustes.   hasta el centavo más cercano). Después del período promocional, cualquier
       Consideramos un saldo acreedor o a favor como saldo de cero.                           saldo promocional restante se incluirá en el Nuevo Saldo Calculado. El Cálculo
                                                                                              de la Promoción se aplicará si, sobre la base del monto de la transacción según
       Cargo mínimo por intereses. Si le cobramos a usted intereses, el cargo
                                                                                              se indica en el primer estado de cuenta donde aparece la transacción y el monto
       no será inferior a $2. Sumamos el cargo al saldo de compras regulares o lo             en dólares en el cálculo del Pago Mínimo Adeudado vigente en el momento de
       distribuimos entre uno o más de los saldos que acumulen intereses.                     la transacción, determinamos que pagar dicho monto en dólares en cada ciclo
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                                         De!niciones                                         Estado de Facturación. Su estado de facturación indica el Nuevo Saldo. Este
       Cuenta signi!ca la relación establecida entre usted y nosotros mediante este          es el monto total que usted nos adeuda en la Fecha de Cierre del Estado de
       Contrato.                                                                             Cuenta. Para determinar el Nuevo Saldo, comenzamos con el saldo total al
                                                                                             comienzo del ciclo de facturación. Sumamos todas las compras. Restamos
       APR signi!ca una tasa de porcentaje anual.
                                                                                             todos los créditos o pagos. Luego sumamos todos los cargos por intereses u
       Usuario Autorizado signi!ca cualquier persona a quien usted le permita                otros cargos y realizamos otros ajustes.
       utilizar su cuenta.
                                                                                             Su estado de facturación también indica sus transacciones, el Pago Mínimo
       Tarjeta signi!ca una o más tarjetas u otros instrumentos de acceso que                Adeudado y la fecha de vencimiento de pago, su límite de crédito y sus cargos
       nosotros le proporcionemos a usted para obtener crédito en virtud de este             por intereses y otros cargos. En el estado de facturación, un saldo de compras
       Contrato. Esto incluye los números de cuenta.                                         regulares aparecerá bajo el título “plan de crédito rotativo regular”.
       Nosotros, nos y nuestro(a) o nuestros(as) hacen referencia a Citibank, N.A.,          Entregamos un estado de facturación a una sola dirección. Usted deberá
       el emisor de su cuenta. Citibank, N.A. está ubicado en Sioux Falls, SD.               noti!car cualquier cambio de dirección a Servicio al Cliente. Podremos dejar
       usted, su(s) y suyo(a) o suyos(as) hacen referencia a la persona que solicite         de enviarle estados de cuenta si consideramos su cuenta como incobrable
       la apertura de la cuenta. También hacen referencia a cualquier otra persona           o iniciamos procedimientos de cobro, pero podremos continuar agregando
       responsable de cumplir con este Contrato.                                             intereses y cargos según lo permita la ley.
                                          Su Cuenta                                                                Tasas de Porcentaje Anual (APR)
       Usted acepta utilizar su cuenta de conformidad con este Contrato. Usted               Tasa APR para Compras Regulares. Ver la impresión.
       deberá pagarnos todos los montos adeudados en su cuenta. Este Contrato es             Efecto de los Aumentos de la Tasa APR. Si aumenta una tasa APR,
       vinculante para usted, a menos que usted cierre su cuenta en un plazo de 30           aumentan los cargos por intereses. Su pago mínimo también podría aumentar.
       días después de recibir la tarjeta y que no haya utilizado ni autorizado el uso de
       la tarjeta. Su cuenta deberá utilizarse únicamente para transacciones legales.                                         Promociones
       Usuarios Autorizados. Usted podrá solicitar tarjetas para usuarios                    Podremos ofrecer términos de tiempo promocionales para la totalidad o parte de
       autorizados. Usted deberá pagarnos los cargos que ellos generen aunque no             cualquier saldo. Todos los términos promocionales podrán aplicarse durante un
       haya tenido la intención de ser responsable de dichos cargos. Usted acepta            período limitado. Dichos términos promocionales se regirán por los términos de
       que ellos podrán recibir información sobre la cuenta, con sujeción a cualquier        la oferta promocional y de este Contrato. Sus términos promocionales !nalizarán
       limitación que nosotros impongamos. Deberá informarnos si ya no desea que             cuando venza el período promocional, o bien en la medida en que lo permita la
       ellos utilicen su cuenta.                                                             ley, si usted efectúa un pago con demora. La oferta promocional le informará en
                                                                                             caso de que exijamos un pago mínimo por separado sobre el saldo promocional.
       Cuentas Conjuntas. Si ésta es una cuenta conjunta, cada uno de ustedes es
       responsable en forma individual y conjunta de todos los montos adeudados.             Si una oferta promocional es una oferta de intereses diferidos, no se impondrán
       Cada uno de ustedes es responsable aunque la cuenta sea utilizada por uno solo        cargos por intereses sobre el saldo de intereses diferidos si usted paga el
       de ustedes. Usted continuará siendo responsable de la totalidad del saldo de la       saldo en su totalidad en o antes de la !nalización del período promocional
       cuenta, aun si un tribunal le ordena a su co-solicitante que nos pague. Usted         correspondiente a dicho saldo de intereses diferidos. Impondremos cargos por
       continuará siendo responsable ante nosotros si su co-solicitante no paga según        intereses sobre el saldo de intereses diferidos a la tasa APR para compras
       lo ordenado por el tribunal. El estatus de su cuenta continuará siendo reportado      regulares desde la fecha de compra si usted no paga el saldo en su totalidad en
       a la agencia de informes de crédito con cada uno de los nombres de ustedes.           o antes de la !nalización del período promocional.
       La entrega de avisos o estados de facturación a cualquiera de ustedes sirve                          Cargos por Intereses Basados en Tasas APR
       como entrega a cada uno de ustedes. Podremos basarnos en instrucciones
                                                                                             Cargos por Intereses. Imponemos cargos por intereses cuando aplicamos
       suministradas por cualquiera de ustedes. No seremos responsables ante
                                                                                             tasas APR a los saldos de su cuenta. Lo hacemos todos los días usando una
       ninguno de ustedes por ampararnos en dichas instrucciones.                            tasa periódica diaria. Para obtener una tasa periódica diaria, dividimos la tasa
       Límite de Crédito. Su límite de crédito inicial se indica en la copia impresa.        APR por 365.
       Posteriormente, su límite de crédito aparece en su estado de facturación. El
                                                                                             Cuándo Comienzan los Cargos por Intereses. Comenzamos a imponer cargos
       monto total de su límite de crédito está disponible para utilizarlo donde se acepte
                                                                                             por intereses el primer día en que agregamos un cargo a un saldo diario. Los cargos
       la tarjeta. Podremos reducir o aumentar su límite de crédito en cualquier momento     que agregamos a un saldo diario incluyen compras, cargos por intereses y otros
       y por cualquier razón, según lo permita la ley. Le noti!caremos a usted sobre         cargos. Continuamos imponiendo cargos por intereses hasta que acreditamos a su
       cualquier cambio, pero éste podría entrar en vigencia antes de que reciba el aviso.
                                                                                             cuenta el pago completo del monto total que usted nos adeuda.
       Usted deberá mantener siempre su saldo total por debajo del límite de crédito. Sin
       embargo, si el saldo total excede su límite de crédito, aun así deberá pagarnos. Si   Período de Gracia para Compras. Usted puede evitar los cargos por
       su cuenta tiene un saldo acreedor o a favor, podremos reducir el saldo acreedor       intereses sobre las compras. Esto se denomina período de gracia para compras.
       o a favor en la cantidad de cualquier nuevo cargo en su cuenta. Usted no podrá        El período de gracia es de por lo menos 25 días. Para obtener un período de
       mantener un saldo acreedor o a favor que exceda su límite de crédito.                 gracia para compras, deberá pagar el Nuevo Saldo en o antes de la fecha de
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                                                                                                    DIVULGACIONES DE LA TARJETA DE CRÉDITO THE HOME DEPOT PARA EL CONSUMIDOR                                                                                         •   Usted nos autoriza a compartir con The Home Depot y sus a!liadas, su
                                                                                                                                                                                                                                                                         información de experiencia y de transacciones con nosotros.
                                                                                              Tasas de interés y Cargos por intereses                                                                                                                                •   Por favor vea el Contrato de la Tarjeta para información importante.
                                                                                              Tasa de Porcentaje Anual
                                                                                              (APR) para compras
                                                                                                                                                 17.99%, 21.99%, 25.99%, ó 26.99%,                                                                                   •   Noti!cación a los Residentes de Ohio: Las leyes del estado de Ohio
                                                                                                                                                                                                                                                                         en contra del discrimen requieren que todo acreedor haga disponible el
                                                                                                                                                 según su solvencia crediticia. Consulte el pase provisorio para cargos                                                  crédito equitativamente a favor de todo cliente solvente, y que las agencias
                                                                                                                                                 para conocer la tasa APR sobre compras para su cuenta.                                                                  de crédito mantengan historiales de crédito separados sobre cada individuo
                                                                                                                                                                                                                                                                         según solicitado. La Comisión para los Derechos Civiles del Estado de Ohio
                                                                                              Cómo evitar el pago de                             Su fecha de vencimiento es como mínimo 25 días después del cierre                                                       (“Ohio Civil Rights Commission”) vela por el cumplimiento de esta ley.
                                                                                              intereses sobre las compras                        de cada ciclo de facturación. No le cobraremos intereses sobre                                                      •   Noti!cación a los Residentes de Wisconsin: Ningún acuerdo de
                                                                                                                                                 compras si usted paga la totalidad de su saldo en o antes de la                                                         propiedad matrimonial, declaración unilateral o decisión de la corte afectará
                                                                                                                                                                                                                                                                         adversamente nuestros derechos, a menos que usted nos provea copia de
                                                                                                                                                 fecha de vencimiento cada mes.                                                                                          dicho acuerdo, declaración u orden de la corte antes de que le brindemos el
                                                                                              Cargo mínimo por intereses                         Si le cobran intereses, el cargo mínimo no será inferior a $2.00.                                                       crédito, o de que tengamos conocimiento de sus términos antes de que su
                                                                                                                                                                                                                                                                         cuenta sea abierta.
                                                                                              Para orientación sobre tarjetas                    Para obtener más información sobre los factores que deben
                                                                                                                                                                                                                                                                                          TÉRMINOS DE LA PROMOCIÓN
                                                                                              de crédito de la Oficina de                        considerarse al solicitar o utilizar una tarjeta de crédito, visite el                                              SIN INTERESES SI LA TOTALIDAD DEL PAGO SE EFECTÚA DENTRO DEL
                                                                                              Protección Financiera para                         website de la Oficina de Protección Financiera para el Consumidor                                                   PERÍODO PROMOCIONAL* en compras elegibles. Se cargarán a su cuenta
                                                                                              el Consumidor                                      ingresando en http://www.consumerfinance.gov/learnmore                                                              intereses a partir de la fecha de la compra si el saldo de compras no se paga
                                                                                                                                                                                                                                                                     en su totalidad dentro del periodo promocional.
                                                                                              Cargos                                                                                                                                                                  *Con aprobación de crédito para compras elegibles realizadas con la Tarjeta de
                                                                                              Cuota anual                                        Ninguna                                                                                                              Crédito The Home Depot para el Consumidor. Tasa APR: desde 17.99% hasta
                                                                                                                                                                                                                                                                      26.99%. Cargo mínimo por intereses: $2. Vea más detalles en el contrato de
                                                                                              Cargos por penalidad                                                                                                                                                    tarjeta, incluida la tasa APR aplicable a usted. Oferta válida para cuentas del
                                                                                               • Pago con demora                                 Hasta $40                                                                                                            consumidor en buenos términos; la oferta de crédito de todos los días de 6 meses
                                                                                                                                                                                                                                                                      está sujeta a cambio sin previo aviso; consulte detalles en la tienda.
                                                                                          Cómo calcularemos su saldo: Utilizamos un método denominado “saldo diario (incluidas las transacciones
                                                                                                                                                                                                                                                                     © 2022 Citibank, N.A.
                                                                                          actuales)”. Consulte el Contrato de la Tarjeta para obtener más detalles.
                                                                                          Derechos de facturación: El Contrato de la Tarjeta proporciona información sobre sus derechos a disputar
                                                                                          transacciones y cómo ejercer dichos derechos.                                                                                                                                   Información Promocional de Intereses Diferidos
                                                                                          Para obtener más información llame a Citibank, N.A. al 1-800-677-0232 (TTY: Use el 711 u otro servicio de                                                                  Ocasionalmente, por ser tarjetahabiente de la Tarjeta de Crédito The Home
                                                                                                                                                                                                                                                                     Depot para el Consumidor, podemos ofrecerle ofertas promocionales de
                                                                                          relé). Los residentes de Nueva York podrán comunicarse con el Departamento de Servicios Financieros del                                                                    intereses diferidos especiales solo por tiempo limitado.
                                                                                          Estado de Nueva York por teléfono al 1-800-342-3736 (TTY: Use el 711 u otro servicio de relé) o visitar su                                                                 Las ofertas promocionales de intereses diferidos incluyen los siguientes tipos
                                                                                          website, www.dfs.ny.gov, para obtener sin cargo información sobre comparación de tasas, cargos y períodos                                                                  de ofertas:
                                                                                          de gracia de tarjetas de crédito.                                                                                                                                          • Sin intereses si la totalidad del pago se efectúa en un plazo de 6 meses
                                                                                                                                                                                                                                                                     • Sin intereses si la totalidad del pago se efectúa en un plazo de 12 meses
                                                                                          Protecciones para los miembros en servicio activo y sus dependientes: Consulte la sección del Contrato de                                                                  • Sin intereses si la totalidad del pago se efectúa en un plazo de 18 meses
                                                                                          Tarjeta titulada “Protecciones para los miembros en servicio activo y sus dependientes”.                                                                                   • Sin intereses si la totalidad del pago se efectúa en un plazo de 24 meses
                                                                                                                                                                                                                                                                     Si el saldo no se paga en su totalidad en o antes de la !nalización del período
                                                                                          CITIBANK, N.A. OTORGA TODO CRÉDITO Y ES PROPIETARIO DE LAS CUENTAS. ESTA OFERTA ESTÁ                                                                                       promocional, se impondrán cargos por intereses a partir de la fecha de la compra
                                                                                                                                                                                                                                                                     a la tasa para compras indicada en las Divulgaciones de la Tarjeta de Crédito The
                                                                                          SUJETA A UNA REVISIÓN FINAL Y, EN ALGUNOS CASOS, ES POSIBLE QUE CITIBANK NO ABRA UNA                                                                                       Home Depot para el Consumidor que se le proporcionarán si recibe la aprobación
                                                                                          CUENTA A SU NOMBRE.                                                                                                                                                        para una cuenta.
                                                                                                                                                   TÉRMINOS Y CONDICIONES DE LA OFERTA                                                                               Estas ofertas no se encuentran disponibles todo el tiempo y pueden limitarse
                                                                                                                                                                                                                                                                     a mercancías especí!cas y/o pueden tener requisitos de compra y de pago
                                                                                          •   Esta oferta es válida para cuentas nuevas únicamente. Debe tener por lo menos 18 años de edad (21 años, si es en Puerto Rico). Si está casado, puede solicitar
                                                                                                                                                                                                                                                                     mínimo que se divulgarán en la oferta.
                                                                                              una cuenta separada. Citibank, N.A. (“nosotros” o “nos”) es el emisor de su cuenta de la Tarjeta de Crédito The Home Depot para el Consumidor. Citibank, N.A.
                                                                                              está localizado en Sioux Falls, SD. Las ofertas de tarjeta de crédito están destinadas para los residentes de los Estados Unidos y sus territorios, y esto no es una   Su contrato de tarjeta, los términos de la oferta y la ley aplicable rigen estas
                                                                                              oferta de la tarjeta de crédito para personas afuera de estos.                                                                                                         transacciones, incluidos los aumentos de las tasas APR y los cargos, así como
                                                                                                                                                                                                                                                                     también la !nalización del período promocional.
                                                                                          •   Para ayudar al gobierno a combatir el !nanciamiento del terrorismo y las actividades de lavado de dinero, las leyes federales exigen a todas las instituciones
                                                                                              !nancieras obtener, veri!car y registrar la información que identi!ca a cada persona que abre una cuenta. Esto signi!ca que le pediremos su nombre, dirección,         © 2022 Citibank, N.A.
                                                                                              fecha de nacimiento y otra información que nos permitirá identi!carle cuando abra una cuenta. También podremos pedirle ver su licencia de conducir u otros                                       Contrato de Tarjeta
                                                                                              documentos que permitan su identi!cación, y obtener información de identi!cación acerca de usted o de cualquier usuario autorizado que agregue a su cuenta.
                                                                                          •   Podemos recopilar información sobre usted, incluyendo de su empleador, su banco, agencias de crédito, y otros, para veri!car su identidad y determinar su              Este Contrato de Tarjeta constituye su contrato con nosotros. Rige el uso de
                                                                                              elegibilidad para obtener crédito, renovación de crédito y extensiones futuras de crédito. Si nos pregunta, le informaremos si hemos solicitado o no un informe de     su tarjeta y de su cuenta. The Home Depot para el Consumidor y el Pase
                                                                                              las agencias de crédito, y los nombres y direcciones de cualquier agencia de crédito que nos proveyera con dichos informes.                                            Provisional para Cargos (“impresión”) forman parte de este Contrato. Lea estos
                                                                                          •   Para recibir una Tarjeta de Crédito The Home Depot para el Consumidor, usted deberá cumplir con nuestros criterios de solvencia crediticia. Su límite de crédito se    documentos con atención. Conserve estos documentos para sus registros.
                                                                                              determinará mediante los ingresos que suministró y una revisión de su deuda, incluida la deuda indicada en su informe de crédito. Se le informará el monto de su
                                                                                              límite de crédito cuando reciba la tarjeta. Algunos límites de crédito podrán ser de tan solo $300.
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                                                                                            MANERAS FÁCILES
                                                                                            DE PRESENTAR                                      LA TARJETA DE CRÉDITO
                                                                                            LA SOLICITUD                                      THE HOME DEPOT PARA
                                                                                                                                                EL CONSUMIDOR ES
                                                                                                       EN LA TIENDA                                ACEPTADA EN:
                                                                                                       Pregunte los detalles a un Asociado.
                                                                                                       POR INTERNET
                                                                                                       homedepot.com/credit
                                                                                                       POR DISPOSITIVO MÓVIL
                                                                                                       homedepot.com/credit
                                                                                                                                                 homedecorators.com
   6/6/22 1:43 PM                                                                                                             72100 0622 (RPL) vf.indd 38-39
         Financiamiento                                          Obtenga la tarjeta
         disponible para sus                                     y reciba:
         proyectos de todos los                                                  FINANCIAMIENTO HASTA
                                                                                 24 MESES* DURANTE LAS
         días y para compras                                                     PROMOCIONES ESPECIALES
                                                                                 Cuanto más gaste, más tiempo
                                                                                 podrá tener para pagarnos.
         inesperadas
                                                                                 1 AÑO DE DEVOLUCIONES
                                                                                 SIN COMPLICACIONES
                                                                                 que se acreditan a su tarjeta Home
                    DISPONIBLE TODOS LOS DÍAS                                    Depot.† Eso equivale a 4 veces más
                    Sin intereses si la totalidad del pago                       tiempo para hacer devoluciones, por
                    se efectúa en un plazo de 6 meses*                           el solo hecho de ser tarjetahabiente.
                    en compras de $299 o más. Se cargarán                        COMPRE EN LA
                    a su cuenta intereses a partir de la fecha                   TIENDA SIN SU TARJETA
                    de la compra si el saldo de compras no                       Con una identi!cación válida,
                    se paga en su totalidad en un plazo de                       podemos buscar la información
                                                                                 de su cuenta en la línea de cajas.
                    6 meses.
                                                                                 ADMINISTRE SU CUENTA
                                                                                 A SU MANERA
                                                                                 Vea, administre y pague su
                                                                                 cuenta por Internet.
                                                                                 PROTECCIÓN CONTRA
                                                                                 FRAUDE GARANTIZADA
                                                                                 $0 de responsabilidad en
                                                                                 compras no autorizadas.
                                                                                 AHORRE HASTA $100**
                                                                                 en su compra elegible cuando
                                                                                 abra una nueva cuenta de tarjeta
                                                                                 de crédito con The Home Depot.
                                                                                 Oferta por tiempo limitado.
                                                                 *Consulte en el interior los Términos de la Promoción. †Sujeto a la Política de Devoluciones
                                                                 de The Home Depot. **La oferta es para cuentas nuevas que se abran en la tienda,
                                                                 está sujeta a aprobación de crédito y es válida por tiempo limitado. Esta oferta es
                                                                 canjeable en una compra de un solo recibo por un descuento de $25 en una compra de
                                                                 $25 hasta $299; por un descuento de $50 en una compra de $300 hasta $999; o por un
                                                                 descuento de $100 en una compra de $1,000 o mas dentro de los 30 dias posteriores
                                                                 a la fecha de apertura de su cuenta realizada en tiendas al detalle The Home Depot o
                                                                 en homedepot.com con su Tarjeta de Credito The Home Depot para el Consumidor, la
                                                                 Tarjeta The Home Depot Home Improver, la Tarjeta de Crédito de Pro Xtra, o la Cuenta
                                                                 Comercial The Home Depot. Válida en EE. UU., las Islas Vírgenes de EE. UU., Puerto
                                                                 Rico y Guam. La oferta no se aplica a compras anteriores, a Tarjetas de Regalo de The
                                                                 Home Depot, a Tarjetas o Certi!cados de Regalo de terceros, a productos o servicios de
                                                                 instalación adquiridos en el hogar, a Alquiler de Herramientas, ni a productos y estilos
                                                                 de comercialización Weber®, Bona®, Simplehuman®, Dacor®, Viking®, Fisher & Paykel®,
                                                                 Sharp Insight™, Delonghi®, Buckhaven, Lynx®, Alfresco™, OCI, Marvel®, Bertazzoni, Aga,
                                                                 Vent-A-Hood®, Samsung Chef Collection, Bosch Benchmark® Series, Liebherr, Zephyr,
                                                                 Miele, Signature Kitchen Suite, Jenn-Air®, Thermador®, JELD-WEN® Door Systems y
                                                                 Monogram. No se puede combinar con otros descuentos; pregunte los detalles a un
                                                                 Asociado.
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                             72100 0622




                                             hoy mismo!
                                             ¡Obtenga la tarjeta




                              TODOS LOS DÍAS
                              DISPONIBLE
                              FINANCIAMIENTO
                             para el Consumidor
                             Folleto de Crédito

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                            Exhibit “3”
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                            Exhibit “4”
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